      Case 3:23-cv-04597-EMC Document 96 Filed 08/19/24 Page 1 of 125




Ashley M. Gjovik, JD
In Propria Persona
2108 N St. Ste. 4553
Sacramento, CA, 95816
(408) 883-4428
legal@ashleygjovik.com




             United States District Court
             Northern District of California




                                          Case No. 3:23-CV-04597-EMC


Ashley M. Gjovik , an individual,         Plaintiff’s Notice of New
                                          9 t h Circuit Precedent &
      Plaintiff,                          Request for Judidical
                                          Notice
    vs.
                                          In Support of Plaintiff ’s
Apple Inc., a corporation,                Opposition to Defendant’s
                                          Motions to Dismiss & to Strike
      Defendant.
                                          Motion Hearing & Case
                                          Management Conference:
                                          Dept: Cour troom 5 (Zoom)
                                          Judge Edwa rd M. Chen
                                          Date: Augus t 28, 2024
                                          Time: 9 :30 AM PT
            Case 3:23-cv-04597-EMC Document 96 Filed 08/19/24 Page 2 of 125




1
         I. Notice & Judicial Notice
2
3
            Plaintiff Ashley Gjovik respectfully provides notice of new 9 t h Circuit legal
4
5    precedent and US District Court persuasive authority established over the last

6    three months (9 t h Circuit on July 25 2024; District Court in May 2024). The
7
     precedent is material and directly relevant to the instant lawsuit ; specifically,
8
     Plaintiff ’s IIED (Outrage), Cal. Labor Code ( §§ 1102.5, 6310, 98.6), and Tamney
9
10   claims and sub -claims.

11          The 9 t h Circuit case denied a Motion for Summary Judgement and the US
12
     District Court of Vermont case denied a Motion to Dismiss, finding sufficient
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     claims for adverse employment actions based on coworker /manager harassment
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15   that occurred through social media (Instagram and Facebook, respectively).

16          -   Exhibit 1: Okonowsky v. Garland, No. 23-55404 (9th Cir. Jul. 25, 2024) .
17
            -   Exhibit 2: Su v. Bevins & Son, Inc . , 2:23-cv-560 (D. Vt. May. 7, 2024) .
18
     The 9 t h Circuit decision is the first federal appellate decision to reference the new
19
20   US EEOC Guidance on Harassment in the Workplace released on April 29 2024

21   with guidance on social media harassment and coworker harassment. ( link to
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23
            -   Exhibit 3: (Analysis) Expert Insights —when Social Media Posts Become
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25              Workplace Harassment, Wolters Kluwer Employment Law Daily, August

26              5 2024, WL 3644805.
27
28
                                                      — 1 —
      Pl .’ s Re q . f or Ju d . No t. in S up p. o f Pl .’s Op p. | C as e No . 3: 23 - C V-0 45 9 7- E M C
            Case 3:23-cv-04597-EMC Document 96 Filed 08/19/24 Page 3 of 125




1           In addition, Plaintiff Ashley Gjovik respectfully requests, pursuant to Fed.

2    R. Civ. E. 201, that the court take Judicial Notice of court filings on matters
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6           The attached court records in “Exhibit W” (continuing from the prior two

7    requests for judicial notice) are from:
8
            -   Gjovik v. State of Washington, 2:22-cv-00807-R A J-BAT (W.D. Wash. Jun.
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11   After Plaintiff was subjected to the retaliatory gag -order in March 2022, and it

12   became illegal for her to draft appellate pleadings on the matter (she was forbidden
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            Case 3:23-cv-04597-EMC Document 96 Filed 08/19/24 Page 4 of 125




1    at the state Court of Limited Jurisdiction). Plaintiff requests judicial notice of the

2    fact that certain documents were filed on certain dates, those documents included
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                    o February        7   2022 “Evidence            Report”      memo      excerpt      filed
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16                      6/23/2022 to Gjovik v State, Docket No. 15 (43 pages).

17                          ▪   Note: this document was a primary focus of the litigation
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            Case 3:23-cv-04597-EMC Document 96 Filed 08/19/24 Page 5 of 125




1                   o January 31 2022 Petition for Order of Protection excerpt filed

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6    referenced there if desired.

7           I verified the authenticity of each of these documents as described. A true
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10
11
12
     Dated: August 19, 2024.
13
     Signature:
14
15
16
17
18
19   /s/ Ashley M. Gjovik
20   Pro Se Plaintiff
21
22   Email: lega l@ashleygj ovik.com
     Physical Address :
23
     Boston, Massachusetts
24   Mailing Address:
25   2108 N St. Ste. 4553 Sacramento, CA, 95816
     Phone: (408) 883 -4428
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                                      Appendix III: Exhibits

FYI: Notice of New Precedent


 EXHIBIT        RECORD                  ASSOCIATED
                                                                 KEY POINTS FOR GJOVIK V APPLE
   NO.        DESCRIPTION                 CLAIMS


                                                           -   Triable issues of fact for hostile work
                                                               environment claim based on a coworker’s
           Okonowsky v. Garland ,                              Instagram posts about the plaintiff.
           No. 23-55404 (9th C ir .     IIED (Outrage),
                                                           -   Key factors included: coworkers following the
               Jul. 25, 2024).          Cal. Labor Code
                                                               account; coworkers ‘liking’ the posts; the
                                       (§§ 1102.5, 6310,
   FYI                                                         coworker making the posts worked in a
              Case: Title VII              98.6), and
 EXHIBIT                                                       security function; the employer knew about
                                         Tamney claims
    1                                                          the posts and did not stop the misconduct.
                 Question:              and sub-claims.
                Hostile Work                               -   Approved to move forward even though:
                Environme nt                                   Instagram account used an anonymous alias
                                                               modeled after a workplace inside joke and did
                                                               not identify the coworker; the posts about the
                                                               plaintiff did not identify her by name.
               Case 3:23-cv-04597-EMC Document 96 Filed 08/19/24 Page 11 of 125




EXHIBIT        RECORD                ASSOCIATED
                                                               KEY POINTS FOR GJOVIK V APPLE
  NO.        DESCRIPTION               CLAIMS


                                                        -   Motion to Dismiss a FLSA retaliation claim
                                                            was denied. Sufficient claim of adverse
                                                            employment action found based on the
           Su v. Bevins & Son,                              employer posting negative comments about
          Inc., 2:23-cv-560 (D.                             the ex-employee complainant on Facebook.
                                     IIED (Outrage),
           Vt. May. 7, 2024).                           -   Key factors included: employer’s Facebook
                                     Cal. Labor Code
  FYI                                                       posts incited viewers to investigate the
                                    (§§ 1102.5, 6310,
EXHIBIT   Case: FSLA (US DOL)                               complainant; employer revealed
                                        98.6), and
   2                                                        complainant’s criminal history; managers
               Question:              Tamney claims
                                                            “liking” posts; employer’s retaliatory posts
          Adverse Employment         and sub-claims.
                                                            directly referenced the FLSA case.
                Action
                                                        -   Approved to move forward even though:
                                                            harassment occurred after employee no longer
                                                            worked at the company; employee was not
                                                            directly notified of the Facebook posts.


          Expert Insights — whe n
  FYI
           Social Media Posts                           -   Note: 2024 EEOC Guidance on Harassment in
EXHIBIT                                   n/a
            Become Workplace                                the Workplace (Link)
   3
              Harassme nt .
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Request for Judicial Notice


 EXHIBIT     RECORD              ASSOCIATED                            FACTS TO BE NOTICED
   NO.     DESCRIPTION             CLAIMS


                                                      -   The fact of what complaints Pla intiff made a gains t
                                                          Apple & employees in the Februar y 7 2022 “Evidence
                                                          Report” & “C onspiracy & Animus” memos filed
                                                          6/23/2022 to Dock. 15.
                                IIED (Outrage),
                                                      -   The fact those compla ints were public as part of the
                              Cal. Labor Code (§§
                                                          lawsuit doc ket no later than June 23 2022.
                              1102.5, 6310, 98.6),    -   The fact the p etition agains t Plaintiff inc lud ed a link
                             and Tamney claims and        to a document p osted on Scribd titled “US-NLRB-
           Court records           sub-claims.            Ashley-Gjovik-Inc-Jan -10-2022-Charge-Draft-1”
           f rom Gjovik v
                                                          under “Describe other inc idents of ha rassment or
           the State of
 EXHIBIT                      Supports theories of        stalking.”
           Washington,
   W                          at least: Knowledge;    -   The fact the d ocument in the URL (the evidence
           2:22-cv-00807-
                              Negligence; Agency;         report) was public in Januar y 2022 ( per the URL title
           RAJ-BAT
                              Vicarious Liability;        and 1/31/22 petition).
           (2022).
                                   Ratification;      -   The fact that if App le’s lawyers request ed a c opy of
                                                          this case file that they would have s een the p etition
                             Retaliation; Accepting
                                                          and the repeated mentions of Gjovik’s NLRB charge
                             Benefits; Outrageous
                                                          against App le as the p rimar y basis for the petition.
                                    Conduct.          -   The fact that on Marc h 2 2022 web.com notified
                                                          Plaintiff of a compla int filed abou t a document on her
                                                          website, the document URL matches the Evidence
                                                          Report and the “Subject” of the c omplaint.
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                                    Exhibits




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                                    Exhibit 1


                   Okonowsky v. Garland, No. 23-55404
                        (9th Cir. Jul. 25, 2024).

                                  Decision & Order


                              New Precedent (FYI)




Pl .’ s Re q . f or Ju d . No t. in S up p. o f Pl .’s Op p. | C as e No . 3: 23 - C V-0 45 9 7- E M C
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Okonowsky v. Garland, --- F.4th ---- (2024)
2024 Daily Journal D.A.R. 7021

                                                               [5] fact issue existed as to whether coworker's decision to
                     2024 WL 3530231                           delete his social media account was motivated by BOP's
       United States Court of Appeals, Ninth Circuit.          “investigative efforts.”


  Lindsay OKONOWSKY, Plaintiff-Appellant,                      Reversed and remanded.
                      v.
       Merrick B. GARLAND, Attorney
        General, United States Attorney                         West Headnotes (26)
         General, Defendant-Appellee.
                                                                [1]    Federal Courts        Summary judgment
                     No. 23-55404
                                                                       Court of Appeals reviews a district court's order
                            |
                                                                       granting summary judgment de novo.
  Argued and Submitted May 8, 2024 Pasadena, California
                            |
                  Filed July 25, 2024
                                                                [2]    Federal Courts        Summary judgment
Synopsis                                                               Federal Courts        Summary judgment
Background: Female employee of Bureau of Prisons (BOP)                 In reviewing de novo district court's grant of
brought action against the United States Attorney General              summary judgment, viewing the evidence in the
asserting Title VII claim for discrimination on the basis              light most favorable to the non-moving party,
of sex. The United States District Court for the Central               Court of Appeals must decide whether there are
District of California, Virginia A. Phillips, J., 2023 WL              any genuine issues of material fact and whether
3219534, granted summary judgment in favor of government.              the district court correctly applied the relevant
Employee appealed.                                                     substantive law.



Holdings: The Court of Appeals, Wardlaw, Circuit Judge,         [3]    Federal Courts        Summary judgment
held that:                                                             In reviewing de novo district court's grant of
                                                                       summary judgment, Court of Appeals may not
[1] coworker's social media posts that “occurred” outside              weigh the evidence or determine the truth of any
of work could be considered in totality of circumstances               matter.
surrounding employee's Title VII claim for hostile work
environment;
                                                                [4]    Summary Judgment          Employment
[2] fact issue existed as to whether work environment was
                                                                       Practices; Discrimination
objectively hostile;
                                                                       In a Title VII case involving a hostile work
[3] fact issue existed as to whether BOP's initial response            environment claim, what is required to defeat
to coworker's harassment reinforced, rather than remediated,           summary judgment is simply evidence such that
harassment;                                                            a reasonable juror drawing all inferences in favor
                                                                       of the respondent could return a verdict in the
[4] fact issue existed as to whether BOP's response to                 respondent's favor. Civil Rights Act of 1964 §
coworker's harassing conduct was sufficiently prompt or                703, 42 U.S.C.A. § 2000e-2(a)(1).
adequate to remedy hostile work environment; and

                                                                [5]    Civil Rights      Hostile environment;
                                                                       severity, pervasiveness, and frequency



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Okonowsky v. Garland, --- F.4th ---- (2024)
2024 Daily Journal D.A.R. 7021

        To determine whether employee was subjected
        to sexually hostile work environment under Title    [9]    Civil Rights      Hostile environment;
        VII, court examines three factors: (1) whether             severity, pervasiveness, and frequency
        employee was subjected to verbal or physical               In analyzing objective hostility of working
        conduct of sexual nature; (2) whether conduct              environment, for purposes of Title VII hostile
        was unwelcome; and (3) whether conduct                     work environment claim, courts must consider
        was sufficiently severe or pervasive to alter              that the required level of severity or seriousness
        conditions of employment and create abusive                varies inversely with the pervasiveness or
        working environment. Civil Rights Act of 1964              frequency of the conduct, and the cumulative
        § 703, 42 U.S.C.A. § 2000e-2(a)(1).                        effect of conduct over time. Civil Rights Act of
                                                                   1964 § 703, 42 U.S.C.A. § 2000e-2(a)(1).


 [6]    Civil Rights      Hostile environment;
        severity, pervasiveness, and frequency              [10]   Civil Rights      Hostile environment;
        Demonstrating that conduct was sufficiently                severity, pervasiveness, and frequency
        severe or pervasive to alter the conditions of             Simple teasing, offhand comments, and isolated
        employment and create an abusive working                   incidents, unless extremely serious, will not
        environment, as element of Title VII sexually              trigger Title VII's protections, for purposes of
        hostile work environment claim, requires that              hostile work environment claim. Civil Rights Act
        employee show that her work environment was                of 1964 § 703, 42 U.S.C.A. § 2000e-2(a)(1).
        both subjectively and objectively hostile. Civil
        Rights Act of 1964 § 703, 42 U.S.C.A. §
        2000e-2(a)(1).                                      [11]   Civil Rights       Admissibility of evidence;
                                                                   statistical evidence
                                                                   Coworker's social media posts that “occurred”
 [7]    Civil Rights      Hostile environment;                     outside of work could be considered in totality
        severity, pervasiveness, and frequency                     of circumstances surrounding female Bureau
        In analyzing objective hostility of working                of Prisons (BOP) employee's Title VII claim
        environment, for purposes of Title VII hostile             for sexually hostile work environment arising
        work environment claim, court must look to                 from posts directed at employee that contained
        totality of circumstances surrounding plaintiff's          sexually offensive content, where BOP's threat
        claim. Civil Rights Act of 1964 § 703, 42                  assessment team and leadership determined
        U.S.C.A. § 2000e-2(a)(1).                                  that coworker's supposedly “offsite” behavior
                                                                   violated its anti-harassment policy and its
                                                                   standards of employee conduct, which applied
 [8]    Civil Rights      Hostile environment;                     to conduct both within and outside of work, and
        severity, pervasiveness, and frequency                     memorandum by Department of Justice (DOJ)
                                                                   explained that government-wide standards of
        In analyzing objective hostility of working
                                                                   conduct applied to online communications at all
        environment, for purposes of Title VII
                                                                   times, regardless of whether they were at work,
        hostile work environment claim, court must
                                                                   outside office, or using government equipment.
        assess frequency of discriminatory conduct, its
                                                                   Civil Rights Act of 1964 § 703, 42 U.S.C.A. §
        severity, whether it was physically threatening
                                                                   2000e-2(a)(1).
        or humiliating, or mere offensive utterance,
        and whether it unreasonably interfered with
        employee's work performance. Civil Rights Act
        of 1964 § 703, 42 U.S.C.A. § 2000e-2(a)(1).         [12]   Civil Rights       Admissibility of evidence;
                                                                   statistical evidence




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Okonowsky v. Garland, --- F.4th ---- (2024)
2024 Daily Journal D.A.R. 7021

        Even if discriminatory or intimidating conduct             page was a custody officer in prison's special
        occurs wholly offsite, it remains relevant to              housing unit (SHU) based on page's content, and
        the extent it affects the employee's working               employee was psychologist assigned to the SHU,
        environment, for purposes of Title VII hostile             responsible for all of the duties of psychology
        work environment claim. Civil Rights Act of                department in the SHU. Civil Rights Act of 1964
        1964 § 703, 42 U.S.C.A. § 2000e-2(a)(1).                   § 703, 42 U.S.C.A. § 2000e-2(a)(1).



 [13]   Civil Rights      Questions of law or fact          [16]   Civil Rights      Questions of law or fact
        Summary Judgment           Public employment               Summary Judgment            Public employment
        Genuine issue of material fact as to whether               Genuine issue of material fact as to whether
        Bureau of Prisons' (BOP) failure to take                   coworker's social media posts about female
        reasonably prompt and effective steps to address           Bureau of Prisons (BOP) employee were
        coworker's conduct, namely, making social                  intended to, and had the effect of, harassing
        media posts including but not limited to jokes             employee on basis of her sex, humiliating and
        regarding inmate suicide, that plainly violated            degrading her, and intimidating her in an effort to
        numerous BOP and Department of Justice                     shape her behavior in workplace and discourage
        (DOJ) policies, signaled to female employee that           future complaints about coworker's conduct,
        BOP had no intention of protecting her from                such that work environment was objectively
        coworker's harassing conduct and that he could             hostile from perspective of a reasonable woman,
        act with impunity precluded summary judgment               precluded summary judgment in favor of
        in favor of government on employee's Title VII             government on employee's Title VII claim for
        claim for sexually hostile work environment.               sexually hostile work environment. Civil Rights
        Civil Rights Act of 1964 § 703, 42 U.S.C.A. §              Act of 1964 § 703, 42 U.S.C.A. § 2000e-2(a)(1).
        2000e-2(a)(1).


                                                            [17]   Civil Rights      Questions of law or fact
 [14]   Civil Rights      Hostile environment;                     Summary Judgment            Public employment
        severity, pervasiveness, and frequency
                                                                   Genuine issue of material fact as to whether
        Totality of the circumstances surrounding a Title          cumulative effect of three months of coworker's
        VII hostile work environment claim includes                social media posts that targeted female Bureau
        offensive or retaliatory conduct which would               of Prisons (BOP) employee, intimidated her,
        not, in isolation, violate Title VII, as well as           joked about sexually assaulting and shooting her,
        discriminatory conduct not specifically directed           and endorsed sexual harassment and/or violence
        at the plaintiff. Civil Rights Act of 1964 § 703,          toward women co-workers generally, reactions
        42 U.S.C.A. § 2000e-2(a)(1).                               of management-level officials who endorsed
                                                                   coworker's conduct even as employee expressed
                                                                   her concerns, and refusal of prison officials
 [15]   Summary Judgment           Public employment               to respond to or update employee on status
        District court failed to draw all reasonable               of investigation constituted work environment
        inferences in female Bureau of Prisons (BOP)               that was objectively hostile, precluded summary
        employee's favor, as required on government's              judgment in favor of government on employee's
        motion for summary judgment in employee's                  Title VII claim for sexually hostile work
        Title VII action alleging sexually hostile work            environment. Civil Rights Act of 1964 § 703, 42
        environment, when it determined that coworker's            U.S.C.A. § 2000e-2(a)(1).
        posts about prison's psychology department did
        not target employee specifically; staff members
        at prison understood that creator of social media


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                                                                     in response to coworker's harassment of female
 [18]   Civil Rights      Hostile environment;                       employee through social media posts, namely,
        severity, pervasiveness, and frequency                       failing to respond to complaints, slow-walking
        Just as employer's reaction to single serious                investigation, and transferring employee to
        episode of sexual harassment may form basis for              area where she continued to see coworker,
        Title VII hostile work environment claim, so too             reinforced, rather than remediated, harassment,
        may employer's response to more frequent but                 and were ineffectual to stop coworker's conduct
        less severe conduct. Civil Rights Act of 1964 §              or managers' endorsement of it, precluded
        703, 42 U.S.C.A. § 2000e-2(a)(1).                            summary judgment in favor of government on
                                                                     employee's Title VII claim for sexually hostile
                                                                     work environment. Civil Rights Act of 1964 §
 [19]   Civil Rights     Knowledge or notice;                        703, 42 U.S.C.A. § 2000e-2(a)(1).
        preventive or remedial measures
        Employer is liable for Title VII hostile work
        environment by failing to take immediate and          [23]   Civil Rights     Knowledge or notice;
        corrective action in response to co-worker's or              preventive or remedial measures
        third party's sexual harassment that employer                In addition to reviewing temporary steps
        knew or should have known about. Civil Rights                employer takes to deal with sexually harassing
        Act of 1964 § 703, 42 U.S.C.A. § 2000e-2(a)(1).              conduct, for purposes of Title VII hostile work
                                                                     environment claim, court must also look at
                                                                     permanent remedial steps employer takes once it
 [20]   Civil Rights     Knowledge or notice;                        has completed its investigation. Civil Rights Act
        preventive or remedial measures                              of 1964 § 703, 42 U.S.C.A. § 2000e-2(a)(1).
        Reasonableness of an employer's remedy to
        harassment, for purposes of Title VII sexually
        hostile work environment claim, will depend on        [24]   Civil Rights     Knowledge or notice;
        its ability to stop harassment by the person who             preventive or remedial measures
        engaged in harassment; if the remedy attempted               Remedial action taken by employer in response
        is ineffectual, liability will attach. Civil Rights          to sexually harassing conduct, for purposes of
        Act of 1964 § 703, 42 U.S.C.A. § 2000e-2(a)(1).              Title VII hostile work environment claim, must
                                                                     include some form of disciplinary measures;
                                                                     remedial measures must also be effective. Civil
 [21]   Civil Rights     Knowledge or notice;                        Rights Act of 1964 § 703, 42 U.S.C.A. §
        preventive or remedial measures                              2000e-2(a)(1).
        In evaluating the adequacy of the remedy in
        response to sexual harassment, for purposes
        of Title VII hostile work environment claim,          [25]   Civil Rights      Questions of law or fact
        court may take into account remedy's ability                 Summary Judgment           Public employment
        to persuade potential harassers to refrain from              Genuine issue of material fact as to whether
        unlawful conduct. Civil Rights Act of 1964 §                 Bureau of Prisons' (BOP) completion of
        703, 42 U.S.C.A. § 2000e-2(a)(1).                            investigation into coworker's social media posts
                                                                     targeting female employee and issuance of cease-
                                                                     and-desist letter to coworker was sufficiently
 [22]   Civil Rights      Questions of law or fact                   prompt or adequate to remedy hostile work
        Summary Judgment            Public employment                environment, given that BOP continued to
        Genuine issue of material fact as to whether                 tolerate coworker's harassing conduct for more
        initial steps taken by Bureau of Prisons (BOP)               than a month following letter and failed to
                                                                     investigate conduct of management-level or


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        investigatory employees who subscribed to and/
        or endorsed or condoned coworker's conduct,             WARDLAW, Circuit Judge:
        precluded summary judgment in favor of
                                                                Lindsay Okonowsky, a staff psychologist in a federal prison,
        government on employee's Title VII claim for
                                                                discovered that a corrections Lieutenant with whom she
        sexually hostile work environment. Civil Rights
                                                                worked, and who was responsible for overseeing the safety
        Act of 1964 § 703, 42 U.S.C.A. § 2000e-2(a)(1).
                                                                of guards, prison staff, and inmates in the unit where she
                                                                worked, operated an Instagram account, which was followed
                                                                by more than one hundred prison employees. She learned that
 [26]   Civil Rights      Questions of law or fact              the Lieutenant had posted sexually offensive content about
        Summary Judgment           Public employment            work, and that she was a personal target. When Okonowsky
        Genuine issue of material fact as to whether            complained about the page to prison leadership, management
        coworker's decision to delete his social media          told her the page was “funny”; the investigator whom the
        account, from which he made posts targeting             prison appointed to investigate Okonowsky's complaint told
        female Bureau of Prisons (BOP) employee that            her the page's content was not “a problem”; and the Lieutenant
        contained sexually offensive content, was in fact       began to increasingly target her with his posts in what
        motivated by reasons other than fear of BOP's           Okonowsky reasonably perceived to be an effort to intimidate
        “investigative efforts” to remedy hostile work          her and discourage her from making further complaints.
        environment, precluded summary judgment in              Two months after Okonowsky first reported the Lieutenant's
        favor of government on employee's Title VII             behavior, the prison directed the Lieutenant to cease acting
        claim for sexually hostile work environment.            in violation of the prison's Anti-Harassment Policy. The
        Civil Rights Act of 1964 § 703, 42 U.S.C.A. §           Lieutenant continued posting sexually hostile conduct for
        2000e-2(a)(1).                                          another month with no action by the prison. The Lieutenant's
                                                                conduct and the prison's lack of a curative response to it
                                                                ultimately drove Okonowsky to leave the prison in search of
                                                                a different job.

Appeal from the United States District Court for the Central    Okonowsky sued the Bureau of Prisons under Title VII of the
District of California Virginia, A. Phillips, District Judge,   Civil Rights Act of 1964, claiming that the Bureau failed to
Presiding, D.C. No. 2:21-cv-07581-VAP-AS                        take adequate measures to address a hostile work environment
                                                                at the prison. The district court granted the government's
Attorneys and Law Firms                                         motion for summary judgment, and Okonowsky appealed.

Andrew S. Pletcher (argued), Pletcher Law APC, Westlake
                                                                 *2 We reverse and remand. The district court erred
Village, CA; Cory H. Hurwitz and Lindsay L. Bowden,
                                                                by considering only some of the evidence, and by
Brock & Gonzales LLP, Los Angeles, California; for Plaintiff-
                                                                applying incorrect legal standards that circumscribed the law
Appellant.
                                                                concerning hostile work environment claims. We take this
Zakariya K. Varshovi (argued), Assistant United States          occasion to reaffirm that the totality of the circumstances in
Attorney; David M. Harris, Assistant United States Attorney,    a Title VII sexually hostile work environment claim includes
Chief, Civil Division; E. Martin Estrada, United States         evidence of sexually harassing conduct, even if it does not
Attorney; United States Department of Justice, Los Angeles,     expressly target the plaintiff, as well as evidence of non-
California; for Defendant-Appellee.                             sexual conduct directed at the plaintiff that a jury could find
                                                                retaliatory or intimidating. We also reject the notion that only
Before: Kim McLane Wardlaw, Morgan Christen, and Mark           conduct that occurs inside the physical workplace can be
J. Bennett, Circuit Judges.                                     actionable, especially in light of the ubiquity of social media
                                                                and the ready use of it to harass and bully both inside and
                                                                outside of the physical workplace.
OPINION




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                                                                 Around January 2020, Hellman and Okonowsky had apparent
I. BACKGROUND
                                                                 disagreements over how to manage “difficult inmates” in the
                                                                 SHU. Hellman also became frustrated when Okonowsky was
A. Factual Background                                            granted access to an office in the SHU. Hellman believed that
                                                                 Okonowsky's use of the office made it “impossible” for him
We begin by describing the events leading to this lawsuit,       and other corrections officers “to do their job” in the SHU.
assuming the version of the facts most favorable to the non-
moving party, here Okonowsky. See Little v. Windermere           During this time, on January 6, 2020, Hellman created an
Relocation, Inc., 301 F.3d 958, 964 (9th Cir. 2002).
                                                                 Instagram page titled “8_and_hitthe_gate.”1 The page did
                                                                 not name or identify its creator. On February 16, 2020,
Okonowsky began working as a psychologist at the Bureau of
                                                                 Okonowsky became aware of the “8_and_hitthe_gate” page
Prison's (“Bureau” or “BOP”) Federal Correctional Complex
                                                                 when Instagram “suggested” that Okonowsky view and
Lompoc (“Lompoc” or “prison”) in Lompoc, California in
                                                                 follow the page from her personal Instagram account. Despite
September 2018. When she arrived at Lompoc, Okonowsky
                                                                 the page's relatively recent creation, the page contained
was assigned as the psychologist for the Special Housing Unit
                                                                 hundreds of posts, many of which were overtly sexist,
(“SHU”), meaning she was responsible for all of the duties of
                                                                 racist, anti-Semitic, homophobic, and transphobic memes that
the prison's psychology department in the SHU.
                                                                 explicitly or impliedly referred to the Bureau of Prisons,
                                                                 Lompoc staff, and Lompoc inmates. The page was followed
As the SHU psychologist, Okonowsky worked with custody
                                                                 by more than one hundred Lompoc employees, including
staff to determine where inmates would be housed within the
                                                                 the Human Resources Manager, the Union President, and
SHU so as to avoid conflict and violence among the inmates
in the Unit. Okonowsky relied on SHU custody officers to         a member of the prison's Special Investigative Services.2
take incarcerated individuals from their cells and transport     Approximately half or more of the followers of the page were
them to their clinical appointments with her. She also           Lompoc employees.
conducted suicide risk assessments of incarcerated persons. If
Okonowsky determined that a SHU inmate was at risk of self-       *3 Posts or comments on Hellman's page occasionally
harm, she could direct that the inmate be placed on suicide      referred to interactions between the SHU custody team,
watch. Suicide watch requires continuous, around-the-clock       the SHU psychologist, and/or SHU inmates or inmates
observation of the individual by custody staff, and can only     on suicide watch, strongly suggesting that the person
be terminated upon an assessment and recommendation of the       who ran the page worked in the SHU at Lompoc. As
clinical team. See generally 28 C.F.R. §§ 552.40–552.42; Fed.    the SHU psychologist, Okonowsky understood that certain
Bureau of Prisons, Program Statement: Suicide Prevention         Instagram posts referring to the psychology department or
Program, U.S. Dep't of Just. 1, 9 (Apr. 5, 2007) (last visited   “the psychologist,” including some posts that referred to
May 27, 2024), https://perma.cc/A8UK-VDAZ; Fed. R. Evid.         previous conversations Okonowsky had with staff in the SHU
201(b)(2), (c)(1), (d).                                          and/or posts containing derogatory images resembling her
                                                                 likeness, referred to Okonowsky specifically.
Steven Hellman, a corrections Lieutenant who also worked
in the SHU at Lompoc, supervised custody staff in the SHU.       Some of the posts Okonowsky witnessed on the page
He was also a member of the Bureau's Special Investigative       displayed or suggested violence against and/or sexual
Services, responsible for investigating suspected violations     contacts with women co-workers, or violence against women
of law and prison policy by both inmates and staff. Hellman      generally. These posts were graphic, suggestive of rape and
was not Okonowsky's direct supervisor, as Hellman was a          physical harassment, and depicted scenes of violence against
corrections Lieutenant and Okonowsky a staff psychologist.       women in general, but also against “the SHU psychologist” in
But as a corrections Lieutenant, Hellman was responsible         particular. Posts ridiculed the “Psychologist” in a coarse and
for the safety of inmates and staff, including staff members     degrading manner simply for doing her job, such as one crude
like Okonowsky, and he oversaw the corrections officers          joke depicting a cowboy figure holding two guns pointing in
who worked in the SHU with Okonowsky. Hellman and                opposite directions, with text suggesting he would shoot both
Okonowsky's jobs occasionally required them to collaborate       the SHU psychologist and a particular inmate.
or, at a minimum, to work side-by-side in the SHU.


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Most of the posts are too graphic and disturbing to             sexually debasing her, and denigrating a well-known woman
republish here, but we will recount one that particularly       in public leadership, with the captions, “when you get [ ]hurt
disturbed Okonowsky. Prior to discovering the Instagram         by memes” and “Tomorrow's forecast: hot enough to melt
page, Okonowsky had invited members of the SHU custody          a snowflake.” The post included a sexually obscene hashtag
staff to an end-of-the-quarter celebration at her home. When    referring to someone who could not take a joke. It was clear
Okonowsky found Hellman's Instagram page, she discovered        from the post that someone had alerted Lieutenant Hellman
that he had made a post joking that the all-male custody        to Okonowsky's complaint. Okonowsky found the post to
officers would “gang bang” Okonowsky at her home during         be “menacing” and intended to intimidate her from further
the party. That a supervisor openly joked about his law         complaining about the page. Because of the post, Okonowsky
enforcement subordinates “gang banging” Okonowsky at her        no longer felt safe at work. She decided not to go to work the
home on a platform followed by more than one hundred            next day.
co-workers including upper-level prison management—and
that the post was openly “liked” and thereby endorsed by         *4 Okonowsky sent Warden Engleman a copy of the
staff members—upset Okonowsky to such an extent that she        menacing post the following day, asking the Warden for a
cancelled the gathering.                                        phone call. The Warden never responded to or contacted
                                                                Okonowsky. Instead, he forwarded her email to Special
After discovering the page, Okonowsky forwarded images          Investigative Agent Gonzales. Gonzales called Okonowsky
from the page to her supervisor, Chief Psychologist Carl        that day to set up an initial meeting to discuss the
Clegg, the very next day—February 17, 2020. Okonowsky           Instagram account. During their phone conversation, he told
also messaged the prison's Acting Safety Manager, Robert        Okonowsky that he had reviewed the Instagram page and
Grice, on Instagram to express her concern that he was          didn't “really see anything that's a problem” with it.
following the page, “liking” posts, and commenting on
posts. Manager Grice responded to her on Instagram, telling     Okonowsky returned to work and reported to the low security
Okonowsky that the posts were funny, that he was “Sorry, not    facility, where she had been reassigned. On her first day
sorry,” and that Okonowsky needed to toughen up or get a        back at work, she ran into Lieutenant Hellman. Believing that
sense of humor.                                                 Hellman likely was behind the “8_and_hitthe_gate” account,
                                                                Okonowsky emailed Associate Warden Gutierrez asking for
The following day, on February 18, 2020, Okonowsky met          information about why Hellman was at the low security
with Supervisor Clegg to discuss the page. Recognizing that     facility when he typically worked in the SHU at the medium
the operator of the Instagram page was likely a corrections     security facility. Associate Warden Gutierrez never responded
officer in the SHU, Clegg suggested that Okonowsky transfer     to Okonowsky. He later told Clegg, Okonowsky's supervisor,
to a different facility within Lompoc. After the meeting,       that Okonowsky should stop emailing him with her concerns.
Clegg, with Okonowsky's assent, reassigned Okonowsky
from Lompoc's medium security facility, where the SHU           Agent Gonzales, who had been directed to investigate
is located, to Lompoc's low security facility. That same        Okonowsky's complaint, arranged to meet with Okonowsky
day, Okonowsky also met with the prison's Acting Complex        on February 26, 2020, to discuss the page. When it was
Warden, James Engleman, regarding the Instagram page.           time for their meeting, Gonzales summoned Okonowsky over
Warden Engleman told Okonowsky that he would direct             the staff-wide radio system, which others could hear. The
Special Investigative Agent Victor Gonzales, who was            meeting took place while other prison staff were nearby, and
Hellman's supervisor, to investigate the issue and refer the    during the meeting Gonzales had copies of Hellman's memes
matter to the Bureau's Office of Internal Affairs.              printed at a public printer in the office. The meeting made
                                                                Okonowsky feel uncomfortable about Gonzales's ability to
Later that day, Safety Manager Grice, whose spouse worked       maintain her confidentiality, and she perceived that Gonzales
at the prison as Engleman's secretary and was also a follower   was not taking her complaint seriously.
of the “8_and_hitthe_gate” page, sent Okonowsky a message
on Instagram asking if Okonowsky was angry with him.            As time passed, Okonowsky felt less and less safe at
Okonowsky responded by reiterating her concern to Grice         work. Hellman continued to post disturbing content on his
about Hellman's page. In a matter of hours, a post appeared     Instagram page, including multiple posts that appear to
on the “8_and_hitthe_gate” page threatening Okonowsky,          have been intended to target and intimidate Okonowsky for



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reporting Hellman to prison management, such as a sexually        On March 10, 2020, Okonowsky and her supervisor, Clegg,
suggestive meme of a group of men staring at a woman              met with Associate Warden Gutierrez to discuss Hellman's
wearing a short skirt, with the text “Walking back to your        conduct. Clegg expressed his concern for Okonowsky's safety
area after you just got done telling” and “The Walk of            and suggested that the prison convene a workplace violence
Shame.” Okonowsky witnessed her colleagues discussing the         Threat Assessment Team. Later that day, Gutierrez informed
content of the page at work. When she raised the issue of         Clegg and Okonowsky that Warden Engleman decided that a
Hellman's page with Human Resources Manager Taulbee               Threat Assessment was not warranted.
McGinnis, who was an active follower of the page, the
Human Resources Manager told Okonowsky that he thought            On March 11, 2020, Okonowsky sent a memorandum to
the memes were “funny.” McGinnis also confirmed that he           Associate Warden Gutierrez in which she named Hellman
knew who ran the page: Lieutenant Hellman. Okonowsky              as the creator and operator of “8_and_hitthe_gate” based
felt ostracized at work and concerned that she could be in        on information she received from the Human Resources
danger in her physical workspace. She worried that if she         Manager. Gutierrez never responded to Okonowsky's memo.
were attacked by an inmate, the guards who openly derided         According to Warden Engleman, Hellman “was assigned to
her, her physical appearance, and her sex online would not        a different facility at FCC Lompoc” on March 11, 2020,
assist her in an emergency because they saw her as a “female      “as a result of Ms. Okonowsky's allegation in her memo
joke.” Okonowsky's productivity suffered, and she had to          as to the identity of the Page's creator.”4 Although the
work harder to get the same tasks completed.                      prison transferred Hellman to a different part of Lompoc,
                                                                  Hellman continued to post sexist material containing sexually
On the morning of March 7, 2020, during the working               explicit language and suggesting sexual relations with or
hours of the weekend suicide watch shift, Hellman used a          violence against women co-workers, especially new co-
feature on Instagram to block Okonowsky from being able           workers, which many Lompoc employees continued to “like.”
to view his Instagram page. Okonowsky quickly created a
new Instagram account that would permit her to continue to        On March 25, 2020, more than a month after Okonowsky first
monitor Hellman's page for posts that targeted her, before an     made her complaint about Hellman's conduct, Okonowsky
audience of more than one hundred colleagues, and continued       met with Agent Gonzales and a union representative to
or escalated to a potentially unsafe situation. Indeed, shortly   ask about the prison's investigation. Okonowsky raised the
after Hellman blocked Okonowsky, he posted a photo of             concern that Gonzales may have a conflict of interest
a woman in short shorts whom Okonowsky described as               in investigating Hellman because Hellman was Gonzales's
sharing her likeness. The post ridiculed Okonowsky for            subordinate. Gonzales told Okonowsky that he saw no
thinking that she's “cute” and for putting inmates on suicide     conflict of interest, left without finishing the meeting, and
watch. A number of Lompoc employees “liked” the post and          later that day told a co-worker of Okonowsky's that he did not
two Lompoc employees commented on the post.3                      see anything wrong with Hellman's Instagram posts.

 *5 Okonowsky emailed a copy of the post to Warden                Two days later, Okonowsky copied Warden Engleman on
Engleman, asking for an update on the investigation               a memo addressed “to whom it may concern,” describing
and stating that she was “growing increasingly more               her meeting with Gonzales, providing examples of Hellman's
uncomfortable” due to Hellman's persistent targeting of           recent Instagram posts, and stating her belief that the prison
her. Warden Engleman did not reply to Okonowsky.                  was not properly investigating or addressing Hellman's
The following day, on March 8, 2020, Gonzales called              conduct. The memo recounted that “Warden Engleman and
Okonowsky. During the phone call, Agent Gonzales informed         Associate Warden Gutierrez have not responded to my
Okonowsky that, although nearly three weeks had passed            emails”; “my request for a threat assessment and workplace
since he had been directed by Warden Engleman to refer the        violence committee meeting was denied, without any follow-
matter to the BOP's Office of Internal Affairs, Gonzales had      up contact”; the prison “failed to provide interim relief to
yet to do so because he “had other things going on” and “could    ensure future misconduct does not occur”; and the prison did
not figure out how to print the memes.” Gonzales submitted        “not maintain[ ] confidentiality of my complaint.” Engleman
the referral the following day, on March 9, 2020.                 forwarded Okonowsky's memorandum to Gonzales; he did
                                                                  not reply to Okonowsky.




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Later that day, Hellman posted on Instagram with an image        of the Bureau's Anti-Harassment Policy and Standards of
referring to Okonowsky's likeness accompanied by a sexually      Employee Conduct.
vulgar and profanity-ridden diatribe against “the one staff
member” for “relentlessly tell[ing] on staff.” Several Lompoc    On April 16, 2020, the prison issued Hellman a cease-and-
employees, including the prison's Safety Manager, “liked”        desist letter stating that his posts on social media appeared
the post. Okonowsky sent an email to Warden Engleman that        to have violated the Bureau's Anti-Harassment Policy. The
night with a picture of the post, asking whether anything        letter ordered Hellman to cease such conduct immediately and
could “be done to curb this behavior as the investigation        stated that any failure to comply with the letter would not be
takes place,” stating that the behavior had gone “too far,”      tolerated and could result in removal.
that she felt “targeted” and “discouraged.” Engleman never
replied to Okonowsky's email. Engleman later admitted at         The letter did not stop Hellman. For at least three weeks
his deposition that, although he was the Acting Warden           after receiving the letter, Hellman continued to make near-
throughout this period, he had no involvement in the             daily posts on his Instagram page, including posts mocking
investigation into Okonowsky's complaint and took no action      the prison psychology department and the Threat Assessment
other than referring the matter to Agent Gonzales.               Team and posts suggesting sexual relations with and/
                                                                 or sexually harassing behavior toward female co-workers.
 *6 In early April 2020, two months after Okonowsky              Hellman's conduct elicited no response from the prison—
first complained of Hellman's conduct, a new warden,             at least none in the record before us. His conduct made
Barbara Von Blanckensee, arrived at Lompoc. On April             Okonowsky exceptionally concerned and scared at work,
13, 2020, Warden Von Blanckensee convened a six-member           because it meant that Hellman was flouting the prison's
Threat Assessment Team, which included Engleman, to              workplace policies.
investigate Okonowsky's complaint. The Threat Assessment
Team interviewed Okonowsky that day, and it interviewed          As directed by the Threat Assessment Team, Okonowsky
Hellman two days later, on April 15, 2020. The Threat            alerted prison management to Hellman's continued conduct in
Assessment Team issued its report and recommendation to          a letter on April 27, 2020. The prison never responded, and
Warden Von Blanckensee the following day, on April 16,           Hellman's conduct continued. He made an additional three
2020.                                                            posts mocking the Threat Assessment Team, one of which
                                                                 called for the support of his “soldiers” at the prison. And he
During their interview with Okonowsky, members of the            continued to make sexually overt posts targeting female co-
Threat Assessment Team advised Okonowsky not to look             workers, including one that depicted a line of pink panthers
at Hellman's page anymore. The Team simultaneously told          with erections and a caption that described male staff standing
Okonowsky that it lacked the resources to monitor Hellman's      in line and looking at women staffers as they walked into
page, and, contradictorily, directed that Okonowsky should       work.
inform the prison's leadership if Hellman's posts continued.
                                                                 On May 12, 2020, Okonowsky again informed prison
In its report, the Threat Assessment Team concluded that         leadership of Hellman's continued posts, as she had been
“numerous FCC Lompoc employees appear to be well                 directed to do by the Threat Assessment Team. The record
aware that [Hellman] is [the Instagram page's] owner,”           does not reflect that Okonowsky received any reply. At some
and it found Hellman's denial that he directed any posts         point after Okonowsky sent her May 12, 2020, memoranda
at Okonowsky “unconvincing[ ].” The Team concluded               —that is, one month or more after Hellman had been
that Hellman's conduct constituted impermissible “harassing      informed that continued violations would “not be tolerated,”
conduct” within the Bureau of Prisons' definition and that       and nearly three months after Okonowsky first lodged her
Hellman's conduct likely violated the BOP's standards of         complaint—Hellman took down his Instagram page for
conduct for supervisors and law enforcement officers. The        reasons unexplained in the record.
Team recommended that management take a variety of
responsive actions, including maintaining the separation of       *7 The Threat Assessment Team in its April 2020 report to
Hellman and Okonowsky, and issuing a letter to Hellman           Warden Von Blanckensee had indicated that “an investigation
from his supervisor ordering him to cease posting in violation   into Hellman's actions” would need to be “completed, and
                                                                 if misconduct [were] sustained, any resulting discipline



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[be] implemented.” The record does not reflect that any
investigation was ever completed by the prison or the BOP's      Okonowsky timely appealed.
Office of Internal Affairs. As late as September 2020,
Hellman told investigators that he believed an investigation
by the prison may have been ongoing but that he had “not
                                                                 II. STANDARD OF REVIEW
been interviewed.”
                                                                  [1] [2] [3] [4] We review a district court's order granting
On January 24, 2021, because of the harassment she               summary judgment de novo. Desire, LLC v. Manna Textiles,
experienced at Lompoc, Okonowsky transferred to a BOP            Inc., 986 F.3d 1253, 1259 (9th Cir. 2021), cert. denied,
facility in Texas.                                               ––– U.S. ––––, 142 S. Ct. 343, 211 L.Ed.2d 183 (2021).
                                                                 “[V]iewing the evidence in the light most favorable to the
                                                                 non-moving party,” we must decide “whether there are any
B. Procedural History                                            genuine issues of material fact and whether the district
                                                                 court correctly applied the relevant substantive law.” Far
Okonowsky filed this action on September 22, 2021, asserting     Out Productions, Inc. v. Oskar, 247 F.3d 986, 992 (9th Cir.
a single claim under Title VII of the Civil Rights Act of        2001). We may not weigh the evidence or determine the truth
1964 for discrimination on the basis of sex. After the parties   of any matter. See Balint v. Carson City, 180 F.3d 1047,
engaged in discovery, the government filed a motion for          1054 (9th Cir. 1999). “[I]n a case involving a hostile work
summary judgment, which the district court granted.              environment claim ... ‘what is required to defeat summary
                                                                 judgment is simply evidence such that a reasonable juror
The district court limited its consideration of the evidence     drawing all inferences in favor of the respondent could return
to just five posts made on the “8_and_hitthe_gate” account       a verdict in the respondent's favor.’ ” Fuller v. Idaho Dep't
that, in the district court's view, (1) targeted Okonowsky       of Corrections, 865 F.3d 1154, 1161 (9th Cir. 2017) (quoting
specifically and (2) did so because of her sex. The district     Zetwick v. County of Yolo, 850 F.3d 436, 441 (9th Cir. 2017)),
court concluded that the five posts “occurred entirely outside   cert. denied, 584 U.S. 904, 138 S.Ct. 1345, 200 L.Ed.2d 514
of the workplace” because the posts were made on a staff         (2018).
member's personal Instagram page and none of the five posts
was ever sent to Okonowsky, displayed in the workplace,
shown to Okonowsky in the workplace, or discussed with
                                                                 III. DISCUSSION
Okonowsky in the workplace without her consent. Because
in its view the five posts did not amount to severe or            *8 Title VII of the Civil Rights Act of 1964 prohibits
frequent harassment in the physical workplace, the district      employers from discriminating on the basis of sex
court concluded that there was no triable issue as to whether    regarding “compensation, terms, conditions, or privileges
Okonowsky's work environment was objectively hostile.            of employment.” 42 U.S.C. § 2000e-2(a)(1). To defeat the
                                                                 government's motion for summary judgment on her hostile
The district court found, in the alternative, that there         work environment claim, Okonowsky must adduce evidence
was no genuine dispute that the Bureau took reasonable,          from which a reasonable juror could conclude that (1) she was
prompt, and corrective steps to end the harassment. Cabining     subjected to a sexually hostile work environment; and (2) the
its analysis to the undisputed facts and the same five           government is liable for the harassment that caused the hostile
posts—all made prior to the cease-and-desist letter—the          work environment to exist. See Fried v. Wynn Las Vegas, LLC,
district court concluded that the Bureau took “reasonable        18 F.4th 643, 647 (9th Cir. 2021); Little, 301 F.3d at 966. We
remedial actions sufficient to defeat [Okonowsky's] hostile      address each element in turn.
work environment claim.” These remedial actions included
investigating Okonowsky's claim with “a methodical, albeit
relatively lengthy” investigation, reassigning Hellman to a
different part of Lompoc, convening the Threat Assessment        A. Hostile Work Environment
Team, and issuing the cease-and-desist letter, which the
                                                                  [5] [6] To determine whether Okonowsky was subjected
district court characterized as successfully resulting in the
                                                                 to a sexually hostile work environment, we examine three
cessation of Hellman's conduct.5                                 factors: 1) whether Okonowsky was subjected to verbal


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or physical conduct of a sexual nature; 2) whether the           We begin by considering the scope of the evidence relevant
conduct was unwelcome; and 3) whether the conduct was            to Okonowsky's claim. The government contends that
“sufficiently severe or pervasive to alter the conditions of     Okonowsky has failed to establish an objectively hostile work
employment and create an abusive working environment.”           environment because the only relevant conduct at issue—
Fried, 18 F.4th at 647. The third factor requires that           the five Instagram posts identified by the district court—all
Okonowsky “show that her work environment was both               “occurred entirely outside of the workplace.” This argument
subjectively and objectively hostile.” Dominguez-Curry v.        is grounded on legally and factually erroneous assumptions.
Nev. Transp. Dep't, 424 F.3d 1027, 1034 (9th Cir. 2005).
The parties do not dispute that Okonowsky was subjected
to unwanted verbal conduct based on her sex, or that
                                                                 a. The Physical Workplace
Okonowsky subjectively perceived her work environment to
be hostile. We thus focus only on part of the third factor       *9 The government relies on our unpublished decision in
—whether Okonowsky adduced evidence of sufficiently             Fuller v. Idaho Department of Corrections (Fuller II), 694
severe or pervasive sexually offensive conduct from which       F. App'x 590, 591 & n.1 (9th Cir. 2017), cert. denied, 584
a reasonable juror could conclude that Okonowsky's work         U.S. 904, 138 S.Ct. 1345, 200 L.Ed.2d 514 (2018), to argue
environment was objectively hostile from the perspective of     that evidence of conduct occurring entirely separate from and
a reasonable woman. See Little, 301 F.3d at 966.                unrelated to the workplace cannot, standing alone, suffice
                                                                to preclude summary judgment in favor of the employer
 [7] [8] [9] [10] In analyzing the objective hostility of
                                                                on a hostile work environment claim.6 Whether or not the
a working environment, we must look to the totality of the
                                                                unprecedential decision in Fuller II stands for that principle,
circumstances surrounding the plaintiff's claim. Clark Cnty.
                                                                and whether or not that principle is correct, that “principle”
Sch. Dist. v. Breeden, 532 U.S. 268, 270–71, 121 S.Ct. 1508,
                                                                has no application to this case.
149 L.Ed.2d 509 (2001) (per curiam). That includes assessing
the “frequency of the discriminatory conduct; its severity;
                                                                For one, it makes little sense to describe a social media page
whether it [was] physically threatening or humiliating, or
                                                                that includes overt comments about a specific workplace,
a mere offensive utterance; and whether it unreasonably
                                                                like Hellman's, as “occurring” in only a discrete location, as
interfere[d] with an employee's work performance.” Id.
                                                                the district court did below and the government now asserts
(citation omitted). “No single factor” in this non-exhaustive
                                                                on appeal. Social media posts are permanently and infinitely
list “is required.” Davis v. Team Elec. Co., 520 F.3d 1080,
                                                                viewable and re-viewable by any person with access to the
1095 (9th Cir. 2008) (alteration omitted) (quoting Harris
                                                                page or site on which the posts appear. No matter where
v. Forklift Sys., Inc., 510 U.S. 17, 23, 114 S.Ct. 367, 126
                                                                Hellman was or what he was doing when he made his posts,
L.Ed.2d 295 (1993)). Courts also must consider that the
                                                                Lompoc employees who followed the page were free to,
“required level of severity or seriousness varies inversely
                                                                and did, view, “like,” comment, share, screenshot, print, and
with the pervasiveness or frequency of the conduct,” id.
                                                                otherwise engage with or perceive his abusive posts from
(quoting Nichols v. Azteca Rest. Enters., Inc., 256 F.3d 864,
                                                                anywhere. The Instagram page also served as a record of
872 (9th Cir. 2001)), and the cumulative effect of conduct over
                                                                which co-workers subscribed to the page and commented on
time, see Zetwick, 850 F.3d at 444; Fried, 18 F.4th at 652;
                                                                posts, showed their comments and their “likes,” and could
see also Clark Cnty. Sch. Dist., 532 U.S. at 270, 121 S.Ct.
                                                                be seen at any time from any place—including from the
1508 (“Workplace conduct is not measured in isolation.”). In
all cases, “simple teasing, offhand comments, and isolated      workplace.7
incidents (unless extremely serious)” will not trigger Title
VII's protections. Faragher v. City of Boca Raton, 524 U.S.     For another, we have held that conduct that took place outside
775, 778, 118 S.Ct. 2275, 141 L.Ed.2d 662 (1998) (citation      of the physical work environment is part of the totality of
omitted).                                                       the circumstances we evaluate when considering a hostile
                                                                work environment claim. Little, 301 F.3d at 966–68. In Little,
                                                                the rape occurred outside of the physical workplace but the
                                                                reaction of the plaintiff's employer “would have made a
1. The Totality of the Circumstances                            reasonable woman feel that her work environment had been
                                                                altered” so as to defeat summary judgment for the employer.
                                                                Id. at 966–67. Moreover, the Supreme Court has instructed


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us to consider a non-exhaustive list of the circumstances           [11]     [12] Thus, even if discriminatory or intimidating
and characteristics of alleged harassment which does not           conduct occurs wholly offsite, it remains relevant to the
distinguish between conduct occurring on or off the physical       extent it affects the employee's working environment. Here,
or digital worksite. See Clark Cnty. Sch. Dist., 532 U.S. at       Okonowsky has adduced ample evidence that Hellman's
270–71, 121 S.Ct. 1508. The relevant standard requires us to       sexually discriminatory conduct “ma[de] it more difficult
assess whether harassing conduct had an unreasonable effect        for her to do her job, to take pride in her work, and to
on the working environment and, if so, to consider whether         desire to stay in her position.” Fuller, 865 F.3d at 1162
and how the employer responded to that effect. See id.; see        (quoting Reynaga v. Roseburg Forest Prods., 847 F.3d 678,
also Fried, 18 F.4th at 650 (“Several circuit courts, including    687 (9th Cir. 2017)). The prison itself concluded as much
our own, have recognized that an employer's response to a          when its Threat Assessment Team and leadership determined
third party's unwelcome sexual advances toward an employee         that Hellman's supposedly “offsite” behavior violated the
can independently create a hostile work environment.”)             Bureau's Anti-Harassment Policy. That violation, the prison
(emphasis omitted).                                                believed, authorized it to take employment action against
                                                                   Hellman precisely because of his conduct's damaging effect
 *10 Applying that standard, we have concluded that offsite        on Okonowsky's working environment.
and third-party conduct can have the effect of altering the
working environment in an objectively severe or pervasive          The Threat Assessment Team also found, and the prison
manner. See, e.g., Galdamez v. Potter, 415 F.3d 1015,              stated in its cease-and-desist letter, that Hellman violated
1023–24 (9th Cir. 2005) (concluding that a reasonable              the Bureau's Standards of Employee Conduct, which apply
juror could find racially hostile comments made by third           to conduct both within and outside of work. The Bureau's
parties, including comments outside of the workplace,              standards require employees to “conduct themselves in such
“both subjectively and objectively severe or pervasive”).          a manner that their activities both on and off duty do not
And we have found that evidence of management-level,               discredit the agency,” but instead “foster[ ] respect for the
intra-workplace ratification of or acquiescence to offsite         Bureau of Prisons, the Department of Justice, and the U.S.
conduct by employees, customers, or third parties can be           Government.” Bureau of Prisons, Standards of Employee
particularly relevant to both the hostile work environment         Conduct, U.S. Dep't of Just. 5 (Dec. 6, 2013) (last visited July
and employer liability elements of a Title VII claim. See,         9, 2024), https://perma.cc/Z6G3-VWSZ (emphasis added).
e.g., Fuller, 865 F.3d at 1162–63 (vacating grant of summary       In a March 24, 2014, memorandum titled “Guidance on the
judgment for employer based on evidence that the employer          Personal Use of Social Media by Department Employees,”
“punish[ed] the [plaintiff]” for taking leave after she was        the U.S. Department of Justice explained that “government-
raped twice outside of work and the employer “both vocally         wide standards of conduct ... apply to online communications
and financially support[ed] her rapist” after the fact); Little,   at all times, regardless of whether they are at work, outside the
301 F.3d at 967–69 (reversing grant of summary judgment            office, or using government equipment.” The memorandum
for employer based on evidence that employer “ratified” a          emphasizes that “Department employees do not surrender
business client's off-site rape of the plaintiff “by failing to    their First Amendment rights as a result of their employment;
take immediate and effective corrective action” to protect         however, the Supreme Court and lower courts have held that
the employee); Fried, 18 F.4th at 651–53 (reversing grant of       the Government may restrict the speech of its employees
summary judgment for employer where plaintiff presented            when employees are not speaking as private citizens on
evidence that the employer condoned “a customer's overt            matters of public concern or when the Government's interest
sexual proposition” of the plaintiff in the workplace and          in the efficient provision of public services outweighs its
directed the employee to continue to serve the customer). In       employees' interest in the speech.” It explains that “[t]he
cases where the plaintiff has experienced offensive conduct        line between public and private, personal and professional,
from a non-employee (as in Galdamez, Little, and Fried),           is often blurred, especially when an employee using social
or harassment outside of and unrelated to the workplace            media ... comments on matters related to his or her work,
(as in Fuller) that had a foreseeable, adverse impact on the       or the work of the Department.” And it urges employees to
plaintiff's working conditions, our “focus” in assessing the       “exercise extreme care” when making “comments that can
Title VII claim has centered on “the employer's response to        be perceived as showing prejudice based on race, gender,
the [offensive] conduct.” Fried, 18 F.4th at 650.                  sexual orientation, or any other protected basis,” as such
                                                                   communications “implicate the Department's core mission



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of administering justice in a fair, effective, and even-handed     which would not, in isolation, violate Title VII, Fuller, 865
manner.”                                                           F.3d at 1163 & n.9, as well as discriminatory conduct not
                                                                   specifically directed at the plaintiff, see Reynaga, 847 F.3d
 *11 [13] Lompoc's Threat Assessment Team found that               at 687 (“We have held that ... hostility need not be directly
Hellman made numerous posts, including but not limited             targeted at the plaintiff to be relevant to his or her hostile
to “jokes on social media regarding inmate suicide,” such          work environment claim.”); e.g., Dominguez-Curry, 424 F.3d
as a post mocking the suicide of Jeffery Epstein in BOP            at 1036, 1038 (finding that the district court “erroneously
custody, that “are highly inappropriate and reflect poorly         disregarded evidence of discriminatory comments that [the
upon the BOP—especially when coming from supervisory-              harasser] directed to other women in the division”).
level employees who work in [the] SHU.” Prison leaders
agreed, informing Hellman in the cease-and-desist letter that       [15] Second, the district court failed to draw all reasonable
he “posted memes/information on social media that appear           inferences in Okonowsky's favor when it determined that
to violate Agency policy, including Program Statement              Hellman's posts about the prison's psychology department did
3420.11, Standards of Employee Conduct, and Program                not target Okonowsky specifically. The record shows that
Statement 3713.26, Bureau of Prisons Anti-Harassment               staff members at the prison understood that the creator of the
Policy.” Okonowsky has adduced ample evidence showing              “8_and_hitthe_gate” page was a custody officer in the SHU
that prison leaders were well aware of such posts long before      based on the page's content. Because Okonowsky was the
the prison convened the Threat Assessment Team. Construing         psychologist assigned to the SHU, responsible for all of the
all inferences in Okonowsky's favor, a reasonable juror could      duties of the department in the SHU, a reasonable juror could
conclude that the Bureau's failure to take reasonably prompt       infer—just as Hellman's followers and the prison's Threat
and effective steps to address conduct that plainly violated       Assessment Team did—that Hellman's posts targeting “the
numerous Bureau and Department of Justice policies signaled        psychologist” and the psychology department were aimed at
to Okonowsky that the Bureau had no intention of protecting        Okonowsky specifically. Okonowsky was entitled to have this
her from Hellman's harassing conduct and that Hellman could        inference drawn in her favor. See Dominguez-Curry, 424 F.3d
act with impunity.                                                 at 1035.

A reasonable juror could also conclude that the Bureau's           ***
lackluster response to Okonowsky's complaint “reinforced
rather than remediated” Hellman's sexually harassing               In sum, the evidentiary record in support of Okonowsky's
conduct, cementing the discriminatory effect of his behavior       claim includes, but is not limited to, evidence that employees
within the workplace. Little, 301 F.3d at 967–68. For all          holding management-level positions and those who were
of these reasons, the government's argument that Hellman's         charged with investigating violations of workplace policy
social media posts “occurred” outside of work, and thus            condoned, acquiesced to, or otherwise reinforced Hellman's
could not be considered in the totality of the circumstances       conduct in the workplace. It also includes posts made by
surrounding Okonowsky's Title VII claim, rings hollow.             Hellman (as well as associated comments and “likes” by
                                                                   Lompoc employees) that endorsed or made light of violence
                                                                   against and/or sexually discriminatory views toward women;
                                                                   targeted Okonowsky based on her appearance; targeted
b. Limited Consideration of Hellman's Harassing Instagram
                                                                   Okonowsky as the SHU psychologist; reasonably appear to
Posts
                                                                   have been intended to intimidate or discourage Okonowsky
The district court limited its consideration of the evidence to    against further complaints; and flaunted the prison's Threat
the five posts it believed were both (1) directed at Okonowsky     Assessment Team and workplace policies.
personally, and (2) made based on Okonowsky's sex. The
district court erred in two ways by so constricting the universe
of the evidence relevant to Okonowsky's claim.                     2. The Bureau of Prisons is not entitled to summary judgment.

 [14] First, the district court disregarded the well-established    *12 Viewing the evidence in the light most favorable
principle that the totality of the circumstances surrounding       to Okonowsky, we conclude that Okonowsky has raised
a Title VII claim includes offensive or retaliatory conduct



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triable issues of fact as to the existence of a hostile work        1033–35. Although Hellman was not Okonowsky's direct
environment.                                                        supervisor as was the case in Dominguez-Curry, his role
                                                                    as a high-ranking law enforcement officer charged with
                                                                    protecting Okonowsky's safety and enforcing workplace
                                                                    policy enhanced the objective severity and pervasiveness
a. Hellman's Conduct
                                                                    of his harassing conduct. See Zetwick, 850 F.3d at 445
 [16] Hellman made hundreds of posts on his Instagram               (“[T]he Court has recognized that ‘a supervisor's power
account over a five-month period, often posting multiple            and authority invests his or her harassing conduct with
times per day. Many of his posts about women in                     a particular threatening character.’ ”) (quoting Burlington
the workplace were denigrating, suggestive of violence,             Indus., Inc. v. Ellerth, 524 U.S. 742, 763, 118 S.Ct. 2257,
and encouraged or at the very least made light of                   141 L.Ed.2d 633 (1998)); see also Fuller, 865 F.3d at 1163.
sexual harassment in the workplace. Hellman posted about            A reasonable juror could credit Okonowsky's testimony that,
Okonowsky's all-male co-workers “gang banging” her; he              because Hellman supervised the corrections officers tasked
described her in vulgar sexual terms; he humiliated and             with protecting Okonowsky within the prison, and within
intimidated her for reporting his conduct to management;            the SHU in particular, she found certain of his posts to
and he called for his “soldiers” to rally in support                be particularly “threatening,” Little, 301 F.3d at 966 (citing
of him after Okonowsky complained to management. A                  Breeden, 532 U.S. at 270–71, 121 S.Ct. 1508), and menacing;
reasonable factfinder could conclude, just as the Lompoc            she did not feel safe at work; and she worried that she could
Threat Assessment Team and leadership ultimately did,               not trust Hellman and his direct reports to protect her if
that numerous of Hellman's posts about Okonowsky were               an emergency arose. A juror could also credit Okonowsky's
intended to, and had the effect of, harassing Okonowsky             testimony that Hellman's actions made it more difficult for
on the basis of her sex, humiliating and degrading her, and         her to complete basic tasks and ultimately drove her to
intimidating her in an effort to shape her behavior in the          leave Lompoc. See Reynaga, 847 F.3d at 687 (explaining
workplace and discourage future complaints about Hellman's          that unwanted discriminatory conduct that “make[s] it more
                                                                    difficult for [the plaintiff] to do her job, to take pride in
conduct.8
                                                                    her work, and to desire to stay in her position” is “enough”
                                                                    to “create an actionable claim under Title VII”). These
The government analogizes Okonowsky's case to Kortan v.
                                                                    facts alone raise a genuine dispute as to whether the work
California Youth Authority, 217 F.3d 1104 (9th Cir. 2000),
                                                                    environment was sufficiently hostile to implicate Title VII.
in which we found no triable issue as to harassment because
                                                                    See Davis, 520 F.3d at 1096 (“[Even] where the severity of
“the plaintiff alleged [only] that a supervisor referred ‘once or
                                                                    frequent abuse is questionable, it is more appropriate to leave
twice’ to another female as a ‘castrating bitch,’ ‘Madonna,’
                                                                    the assessment to the fact-finder than for the court to decide
and a ‘regina,’ ” and the “plaintiff herself did not regard this
                                                                    the case on summary judgment.”).
as harassing, and the supervisor never directed a sexual insult
at plaintiff.” Arizona ex rel. Horne v. Geo Grp., Inc., 816 F.3d
1189, 1207 (9th Cir. 2016) (emphases added) (citing Kortan,
217 F.3d at 1106–07, 1110–11). Given the government's               b. The Conduct of Management and Other Co-workers
concessions that Okonowsky subjectively viewed Hellman's
conduct as harassing and that Hellman directed at least five         *13 As we have already explained, Okonowsky's evidence
sexually discriminatory posts at Okonowsky specifically, we         does not start and end with Hellman's conduct. Both
fail to see how Kortan is on point.                                 management and Okonowsky's co-workers contributed to
                                                                    the altered workplace. Many employees at Lompoc “liked”
We find more guidance in our opinion in Dominguez-                  Hellman's posts and commented favorably upon them.
Curry. There, we concluded that evidence of a supervisor            Okonowsky witnessed co-workers discussing and laughing
making “numerous demeaning comments about women in the              about Hellman's posts at work. And managers and staff
workplace” that were similar in both severity and frequency         members in charge of enforcing workplace policy and
to the comments made by Hellman, including comments                 investigating Okonowsky's complaint acquiesced to and
directed at the plaintiff, was “more than sufficient” to preclude   at times even endorsed Hellman's conduct. The Human
summary judgment to the employer on the hostile work                Resources Manager, the Union President, and the prison's
environment element of a Title VII claim. 424 F.3d at               Safety Manager subscribed to Hellman's page despite its



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offensive content. The Safety Manager and Human Resources
Manager both told Okonowsky the page was “funny,” even
                                                                B. The Bureau's Remedial Measures
as Okonowsky expressed her concerns about being targeted
and harassed. The Special Investigative Agent tasked with        [19] [20] [21] Considering all the evidence in the light
investigating Okonowsky's complaint told her that he did not    most favorable to Okonowsky, a reasonable juror could
“see anything that's a problem” with Hellman's page despite     also conclude that the Bureau's response to Okonowsky's
recent posts targeting Okonowsky and joking about the           harassment was neither reasonably immediate nor effective,
SHU officers sexually assaulting her. Prison officials made     triggering liability under Title VII. “All federal circuits are
no apparent effort to protect Okonowsky's confidentiality       in accord” that an employer is liable for a hostile work
after she made her complaint. The investigating officer told    environment “by failing to take immediate and corrective
Okonowsky that he failed to refer her complaint to the          action in response to a co-worker's or third party's sexual
Bureau's Office of Internal Affairs for three weeks because     harassment ... [that] the employer knew or should have known
he “had other things going on” and “could not figure out        about.” Fried, 18 F.4th at 647. “[T]he reasonableness of
how to print the memes.” The warden testified that he           an employer's remedy will depend on its ability to stop
“took no action” on Okonowsky's complaint for at least          harassment by the person who engaged in harassment.” Little,
two months, and the Lompoc prison apparently tolerated          301 F.3d at 968 (quoting Ellison v. Brady, 924 F.2d 872,
Hellman's harassing conduct for another month after telling     882 (9th Cir. 1991)). If “the remedy attempted is ineffectual,
him that any further harassment would “not be tolerated.”       liability will attach.” Id. (quoting Fuller v. City of Oakland
                                                                (Fuller Oakland), 47 F.3d 1522, 1528–29 (9th Cir. 1995)). “In
                                                                evaluating the adequacy of the remedy, the court may also
c. The Cumulative Effect of the Discriminatory Conduct          take into account the remedy's ability to persuade potential
                                                                harassers to refrain from unlawful conduct.” Id. (quoting
 [17] We must also consider “the cumulative effect of the       Ellison, 924 F.2d at 882).
conduct at issue.” Zetwick, 850 F.3d at 444 (emphasis
omitted). That includes three months of posts targeting         The district court concluded based on “undisputed facts”
Okonowsky, intimidating her, joking about “gang bang[ing]”      that the Bureau “engaged [in] a methodical, albeit relatively
her, possibly shooting her, as well as myriad posts endorsing   lengthy, investigative and disciplinary process.” Examining
sexual harassment and/or violence toward women co-workers       only five posts made by Hellman prior to the issuance
or women generally. It includes the reactions of management-    of the cease-and-desist letter, the district court concluded
level officials who endorsed Hellman's conduct even as          that Hellman's conduct “posting memes of a sexual nature
Okonowsky expressed her concerns, and the refusal of prison     potentially directed to [Okonowsky]” stopped “because
officials to respond to or update Okonowsky on the status of    of [the Bureau's] investigative efforts.” This conclusion
the investigation even as Okonowsky expressed that she no       is unsupported and applies the wrong legal standard.
longer felt safe at work.                                       The facts viewed most favorably to Okonowsky lead to
                                                                the opposite finding. Moreover, the district court was
 [18] Just as an “employer's reaction to a single serious       required to determine whether Okonowsky adduced sufficient
episode” of sexual harassment “may form the basis for           evidence for a reasonable juror to conclude that the prison's
a hostile work environment claim,” Little, 301 F.3d at          investigation was, in fact, not methodical or effective—not to
968, so too may an employer's response to more frequent         make its own findings of fact. See Fuller, 865 F.3d at 1165
but less severe conduct, see Fuller, 865 F.3d at 1163–64        (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255,
(distinguishing Brooks v. City of San Mateo, 229 F.3d 917,      106 S.Ct. 2505, 91 L.Ed.2d 202 (1986)).
921–22, 924, 926 (9th Cir. 2000), in which an employer
“took no actions which could be perceived as supportive of
the harasser”). Based on the record as we must view it, we
                                                                1. Management's Initial Response
hold that a reasonable juror could find Okonowsky's work
environment objectively hostile.                                 *14 [22] Okonowsky has adduced ample evidence that
                                                                the Bureau's response to Hellman's harassing conduct and
                                                                management figures' endorsement of it was “equivocal at
                                                                best.” Little, 301 F.3d at 968. On the one hand, Warden


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Engleman met with Okonowsky the day she requested
a meeting and immediately directed Agent Gonzales to
                                                                 2. Management's Permanent Remedial Steps
investigate Okonowsky's complaint and make a referral to the
Office of Internal Affairs. The prison transferred Okonowsky      [23] [24] In addition to reviewing “the temporary steps the
to the low security facility with her consent that same          employer takes to deal with the situation,” we must also look
day. Eventually, Gonzales made a referral to the Office of       at “the permanent remedial steps the employer takes once it
Internal Affairs as directed. And the prison convened a Threat   has completed its investigation.” Swenson v. Potter, 271 F.3d
Assessment Team which, within a matter of days, determined       1184, 1192 (9th Cir. 2001). “Remedial action must include
that Hellman's conduct likely violated the Bureau's Anti-        some form of disciplinary measures.” Reynaga, 847 F.3d at
Harassment Policy and recommended issuing a cease-and-           689 (citing Yamaguchi v. U.S. Dep't of the Air Force, 109 F.3d
desist letter, which the prison promptly did.                    1475, 1482 (9th Cir. 1997)). The remedial measures must also
                                                                 be effective. Id. at 690.
On the other hand, Warden Engleman testified that he had
“no involvement” at any time with Okonowsky's complaint           [25] The district court appears to have concluded that
while he was the Acting Warden, which was a period of            the Threat Assessment Team's report ended the prison's
over two months after she complained to him. At most, he         investigation and that the cease-and-desist letter was a
referred her complaint to Gonzales, who then did almost          “disciplinary measure” for the purposes of Title VII. In
nothing to resolve the situation, telling Okonowsky from         so concluding, the district court overlooked evidence that
the get-go that he believed there was nothing wrong with         the Threat Assessment Team's report was not a completed
Hellman's behavior. Consistent with that view, Gonzales          investigation into Hellman's conduct. The Threat Assessment
slow-walked the investigation and demonstrated a lack            Team noted in its report that “an investigation into Hellman's
of care for Okonowsky's confidentiality and safety. The          actions” was yet to be “completed,” and any discipline would
prison's Safety Manager and Human Resources Manager              need to be “implemented” “if misconduct is sustained.” Five
both told Okonowsky that they found Hellman's page to            months later, Hellman told Bureau authorities that he believed
be “funny,” and each continued to subscribe to Hellman's         an investigation was ongoing but that he had “not been
page on Instagram after Okonowsky made her complaint,            interviewed” and “ha[d] no idea” who was investigating.
even as Hellman posted harassing content that increasingly       To the extent the Bureau's investigation continued after the
targeted Okonowsky. Prison officials immediately suggested       Threat Assessment Team made its recommendations to the
transferring Okonowsky, and ultimately did so with her           Warden, the record is silent as to whether the Bureau ever
consent, but Okonowsky continued to see Hellman at work,         completed that investigation or whether it made any final
and he continued to make discriminatory and retaliatory          determination as to discipline.
posts. Despite the fact that numerous Lompoc employees,
including the Human Resources Manager, were well aware            *15 Even if the Threat Assessment Team report were a
that Hellman operated the page, it was not until Okonowsky       “completed [ ] investigation,” Swenson, 271 F.3d at 1192,
herself identified Hellman as the creator of the page that       and the cease-and-desist letter a “disciplinary measure[ ]”
the prison transferred Hellman to a different part of the        for the purposes of Title VII, Reynaga, 847 F.3d at 689, a
facility—more than three weeks after Okonowsky initially         reasonable juror could conclude that neither was sufficiently
made her complaint.9 In whole, three months passed after         prompt or adequate to remedy Okonowsky's hostile work
Okonowsky made her complaint before Hellman's harassing          environment. Neither actually stopped Hellman from posting.
conduct ceased. Such “equivocal” evidence—particularly           The Threat Assessment Team did not investigate the
evidence that some of the initial steps taken by the prison      conduct of management-level or investigatory employees
“reinforced rather than remediated the harassment,” Little,      who subscribed to and/or endorsed or condoned Hellman's
301 F.3d at 967, and were “ineffectual” to stop Hellman's        conduct. And the Bureau's statement to Hellman that further
conduct or managers' endorsement of it, Fuller Oakland, 47       harassing conduct would “not be tolerated” was belied
F.3d at 1528–29—precludes granting summary judgment to           by the prison's continued tolerance of Hellman's harassing
the prison.                                                      conduct for more than a month following the cease-and-
                                                                 desist letter. Hellman's behavior and the facial endorsement of
                                                                 that behavior by high-level managers in charge of enforcing
                                                                 the prison policies which the Bureau believed Hellman



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                                                                   For all of these reasons, a reasonable juror could conclude
violated, demonstrates that the remedies undertaken by the
                                                                   that the prison “failed to take prompt and effective remedial
Bureau likely would not deter potential harassers from similar
                                                                   action” to address Okonowsky's hostile work environment.
conduct in the future. See Reynaga, 847 F.3d at 690 (finding a
                                                                   Reynaga, 847 F.3d at 689.
genuine dispute of fact as to whether the employer's response
was effective when the harassing conduct continued “even
after meeting with management”).
                                                                   IV. CONCLUSION
 [26] Finally, the district court relied upon an impermissible
inference when it concluded that Hellman deleted his               Okonowsky has raised triable issues of fact as to whether
Instagram page “because of [the Bureau's] investigative            she experienced a hostile work environment and whether
efforts.” (Emphasis added). The record is silent with respect      the Bureau of Prisons failed to take prompt and effective
to Hellman's motive for deleting his Instagram page after four     remedial action to address it. Accordingly, we reverse the
months of publishing multiple hundreds of posts. Because           district court's grant of the government's motion for summary
Hellman continued posting harassing content, including             judgment and remand for proceedings consistent with this
content targeting Okonowsky, for approximately one month           opinion.
after receiving the cease-and-desist letter with no apparent
penalty, acknowledgement by prison officials, or signs of any      REVERSED and REMANDED.
continuing investigation, a triable issue exists as to whether
Hellman's decision to delete his Instagram account was in
                                                                   All Citations
fact motivated by reasons other than fear of the prison's
“investigative efforts.”                                           --- F.4th ----, 2024 WL 3530231, 2024 Daily Journal D.A.R.
                                                                   7021


Footnotes
1      “Eight and hit the gate” refers to putting in eight hours at work and then leaving, an expression well known among prison
       employees. See Dasha Lisitsina, ‘Prison guards can never be weak’: the hidden PTSD crisis in America's jails, The
       Guardian (May 20, 2015, 3:15 PM EDT) (last visited July 12, 2024), https://perma.cc/H6TC-BUTB.

2      The government contends that Okonowsky's assertion that more than one hundred employees followed the page,
       which is supported by Okonowsky's declaration based on her personal knowledge, is “disputed” because Okonowsky's
       declaration does not specifically name the more than one hundred employees that Okonowsky identified as “followers.”
       The government offers no evidence that would negate Okonowsky's assertion or place it in dispute, and the government
       articulates no specific evidentiary objection to the statement in Okonowsky's declaration. We therefore consider the
       statement as an assumed fact for the purposes of this appeal. See Fed. R. Civ. P. 56(c)(2), (e)(2).

3      The record does not reflect the content of the comments.

4      The district court overruled Okonowsky's evidentiary objection to this paragraph of Engleman's declaration. Okonowsky
       does not argue on appeal that this was an abuse of discretion.

5      The district court rejected Okonowsky's alternative argument that the Bureau is strictly and vicariously liable for Hellman's
       conduct because Hellman was a supervisor. Okonowsky has not appealed the district court's conclusion with respect to
       this issue, so we do not address it.

6      In Fuller, the plaintiff adduced evidence that she was raped twice outside of work by a person who was both her co-
       worker and romantic partner. 694 F. App'x at 590–91. At the time of the rapes, the co-worker was on administrative leave
       pending a criminal investigation of him for another alleged rape.

7      In point of fact, here, a reasonable factfinder could infer that Hellman posted to his account, and his co-workers viewed
       and engaged with his content, while at work. Approximately half of Hellman's 235 followers were Lompoc employees
       who subscribed to Hellman's near daily posts about the prison where he and Okonowsky were co-workers. His posts



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       referred to individual Lompoc staff members and inmates, as well as timely events that only Lompoc employees would
       recognize or understand. Okonowsky witnessed co-workers discussing Hellman's page at work. And Hellman appears
       to have posted from work on at least one occasion. Given that many employees in today's world occasionally use or view
       personal social media from work, a factfinder could infer from the record that Hellman's harassing conduct did not “occur”
       entirely outside of the prison walls. As the non-moving party, Okonowsky was entitled to have such an inference drawn in
       her favor at summary judgment. See Dominguez-Curry, 424 F.3d at 1035. But, even so, as we explain above, the crucial
       inquiry is not whether Hellman posted from work or his co-workers interacted with his page while at work, but whether
       his and his co-workers' discriminatory conduct had an unreasonable effect on Okonowsky's work environment.

8      Okonowsky presses us to consider additional discriminatory posts made by Hellman, such as the many racist,
       homophobic, and anti-Semitic posts. We need not address this argument, because the posts we do consider are more
       than sufficient to create a triable issue as to whether Okonowsky experienced objectively severe and/or pervasive
       harassment on the basis of sex that altered the terms or conditions of her employment.

9      Warden Engleman suggests in his declaration that Hellman was transferred to a different facility as soon as Okonowsky,
       in a memo dated March 11, 2020, identified Hellman as the likely operator of the Instagram account. But Okonowsky
       stated in her March 11, 2020, memo that her information came from McGinnis, the head of Human Resources, indicating
       that prison leadership knew Hellman was responsible for the page before Okonowsky did.



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                                    Exhibit 2



               Su v. Bevins & Son, Inc ., 2:23-cv-560
                      (D. Vt. May. 7, 2024).

                                  Decision & Order


                              New Precedent (FYI)




Pl .’ s Re q . f or Ju d . No t. in S up p. o f Pl .’s Op p. | C as e No . 3: 23 - C V-0 45 9 7- E M C
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                   2024 WL 2059333                              Riley Bockus, an alleged victim of Bevins & Son's retaliation,
      Only the Westlaw citation is currently available.         began working for the company in March of 2021. ECF Id.
        United States District Court, D. Vermont.               DOL asserts that Bockus “was an employee of Bevins &
                                                                Son, as defined by” 29 U.S.C. § 203(e) for the duration of
                                                                his employment. Id. He “sometimes” worked more than 40
     Julie A. SU, Acting Secretary of Labor,
                                                                hours per week while employed at Bevins & Son, entitling
   United States Department of Labor, Plaintiff,                him to overtime pay under the FLSA. Bryan Bevins allegedly
                       v.                                       took issue with how Bockus calculated his time worked, and
     BEVINS & SON, INC., Tiffany Creamer,                       “on or about September 26, 2022,” omitted “one and one-
                                                                half overtime hours” from Bockus’ paycheck. Id. at 7. Bockus
       and Bryan A. Bevins, Defendants.                         and Bevins then had a text exchange about the missing hours,
                                                                during which Bockus stated “[i]if you don't want to be fair
                    Case No. 2:23-cv-560
                                                                and pay my hours working I will call the labor board.” Id. at 8.
                              |
                     Signed May 7, 2024
                                                                Later that same day, Bockus and Bevins had a face-to-
                                                                face conversation about these overtime hours. During that
Attorneys and Law Firms
                                                                conversation, Bevins “expressed displeasure with Bockus's
Mark A. Pedulla, Joseph J. Michalakes, United States            prior statements that Bockus would call the ‘labor board’
Department of Labor, Boston, MA, for Plaintiff.                 or the Department of Labor.” Id. Bevins then fired Bockus,
                                                                who promptly filed a complaint with DOL's Wage and Hour
Thomas C. Nuovo, Bauer Gravel Farnham, Colchester, VT,          Division (“WHD”) concerning Bevins & Son's pay and
for Defendants Bevins & Son, Inc., Tiffany Creamer, Bryan       employment practices. Id. at 8-9.
A. Bevins.
                                                                On September 27, 2022, following Bockus’ complaint, WHD
                                                                “initiated an investigation into Bevins & Son's compliance
OPINION AND ORDER                                               with the FLSA.” Id. at 9. Over the course of that investigation,
                                                                WHD gathered information from Bockus and several
William K. Sessions III, United States District Judge           other employees including text message communications
                                                                with Bevins and general information regarding Bevins &
 *1 Plaintiff Julie A. Su, acting Secretary of the United
                                                                Son's typical practices. Id. Bevins conducted an interview
States Department of Labor (“DOL”), filed this action against
                                                                with WHD and allegedly admitted “being aware prior
Bevins & Son, Inc., Tiffany Creamer, and Bryan Bevins
                                                                to discharging Bockus that Bockus had mentioned the
(“Defendants”), alleging that they unlawfully retaliated
                                                                possibility of calling [DOL] concerning Bevins & Son's pay
against employees who received back wages after reaching
                                                                practices.” Id. at 10. Bevins also apparently admitted that he
a settlement with DOL. ECF No. 1 at 1. Defendants filed a
                                                                felt “sick of Bockus threatening to call” DOL. Id. (cleaned
motion to dismiss, ECF No. 7, and DOL filed a motion to
                                                                up).
amend its complaint. ECF No. 16. For the following reasons,
Defendants’ motion to dismiss is denied. DOL's motion to
                                                                This investigation led to a settlement agreement. Bevins &
amend is also denied.
                                                                Son agreed to pay 17 employees – including Bockus and Tyler
                                                                Andersen – roughly $17,000 in back wages and liquidated
                                                                damages. Id. It also paid Bockus an additional $3,310 in
FACTUAL AND PROCEDURAL BACKGROUND                               back pay and $25,000 in punitive damages as compensation
                                                                for his allegedly unlawful discharge. Id. The settlement
  A. Factual Background                                         agreement also contained a provision in which Bevins &
Defendant Bevins & Son is a Vermont construction and            Son promised not to “discriminate against or discharge any
excavation business “with a principal business address” in      employee for participating in any proceeding or asserting any
Milton, Vermont. ECF No. 1 at 4. Tiffany Creamer is Bevins      rights guaranteed” to an employee under the FLSA. Id. at 11.
& Son's secretary and treasurer, and Bryan Bevins is its
president. Id.


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 *2 On May 31, 2023, DOL issued a press release stating              Bevins wanted to upset Bockus.” Id. at 15. It states that
that Bevins & Son terminated a worker (unnamed in the                Bevins knew that his comment was public, and that Bevins
release) for “asking to be paid in compliance with the FLSA.”        was Facebook friends with multiple employees that received
Id. It also “generally described the terms of the Settlement         money as a result of the settlement. Id. DOL also submits
Agreement, including the amounts paid to employees,”                 that Bevins believed Bockus had spoken to WCAX about the
without naming any employees. Id. at 12. The press release           WHD investigation and settlement. Id.
was picked up by local news station WCAX-TV, which aired
a TV news segment and published an online story concerning           Finally, DOL seeks to amend its complaint, adding allegations
DOL's investigation. WCAX summarized the press release               that Defendants’ online conduct towards Tyler Andersen –
without using the names of any employees. Id. at 12.                 another former employee – also evinces retaliation. Andersen
                                                                     worked at Bevins & Son until June of 2021. ECF No. 16-1
Defendant Creamer then posted the following on Facebook:             at 11. He received back wages for unpaid overtime in the
                                                                     WHD settlement. Id. at 12. After WCAX published its story
   To anyone who saw and watched the WCAX news cast                  about the settlement, Andersen's spouse allegedly shared a
   on our business. All we are going to say is please google         link to the story on Facebook. “Within the hour, Defendant
   the disgruntled employee whom was fired and contributed           Creamer responded on Facebook” to Andersen's spouse's
   to the story Riley Bockus (his word and character will be         post, apparently saying “[g]ood share ... Hold on while I
   seen). That's not the whole story & that's not what the           share and repost all the stories about your family killing
   findings were... WCAX did NOT and has not reached out             chickens and dogs along with all the other articles.” Id. at
   to us in regards to the bullshit story they just aired. Lawyers   15. Andersen's spouse replied that they were not seeking
   are involved... All that know Bevins & Sons knows what            “drama,” and Creamer stated “you were looking for drama by
   kind of business we run and what we stand for! Thank you          sharing it – give me a break! I'm not looking for drama either
   for supporting us.... We are still hiring [emoji] & ALWAYS        as I post all the stuff about your husband and you that others
   do your do diligence when hiring someone.                         have posted. So please don't take it personally ... hold on a sec
ECF No. 1-3 at 2. Multiple people responded to Creamer's             as I find it.” Id. at 15-16 (cleaned up). Andersen's spouse then
Facebook post, including one comment that included a                 deleted the original post linking to the WCAX piece. Id. at 16.
screenshot of a Google search showing that Bockus had
engaged in criminal activity. Defendant Creamer responded
“point made” to this comment. ECF No. 1-4 at 2. Several                 B. Procedural Background
other comments also alleged that Bockus engaged in criminal           *3 DOL filed this action on October 26, 2023. ECF No. 1.
activity. Defendants Bevins and Creamer “liked” several of           The initial complaint focused solely on Defendants’ allegedly
those comments. ECF No. 1 at 13. DOL also alleges that               retaliatory actions against Bockus. Defendants filed a motion
several individuals “shared Defendant Creamer's public post          to dismiss on December 28, 2023, ECF No. 7, and DOL
targeting Bockus on their own Facebook accounts.” Id. at 14.         responded on February 16, 2024. ECF No. 13. On March
                                                                     8, 2024, DOL moved to amend its Complaint, seeking
Plaintiffs also state that one individual commented on a post        to add facts about the allegedly retaliatory actions against
sharing the WCAX story inquiring whether the employees               Andersen in support of its sole count seeking injunctive
who received the $17,000 were “wrong.” ECF No. 1 at 14.              relief, punitive damages, and litigation costs stemming from
Defendant Bevins allegedly replied to this comment with the          Defendants’ claimed retaliation. ECF No. 16. Defendants
following:                                                           responded on March 22, 2024, arguing that the Proposed
                                                                     Amended Complaint failed to state a claim. ECF No. 18.
   [T]rue story, I did have to pay that $17,000. And all those       Defendants’ motion to dismiss and DOL's motion to amend
   employees were already paid for all those hours driving a         are now ripe.
   truck. I just didn't have record of them driving. Let's just
   say that my employees are great and most of that money
   came back to me!
Id. DOL alleges that Bevins intended to “create an impression        DEFENDANTS’ MOTION TO DISMISS
that Bevins & Son's employees who received back wages
                                                                       A. Legal Standard
and liquidated damages under the Settlement Agreement ...
had returned that money to Bevins & Son because Defendant


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To withstand a motion to dismiss under Rule 12(b)(6), “a            has stated a retaliation claim, but rather generally assesses the
complaint must contain sufficient factual matter, accepted as       plausibility of Plaintiff's claim based on the facts alleged in the
true, to ‘state a claim to relief that is plausible on its face.’   Complaint.” Jian Zhong Li v. Oliver King Enterprises, Inc.,
” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell         No. 14-CV-9293 VEC, 2015 WL 4643145, at *2 (S.D.N.Y.
Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim          Aug. 4, 2015) (quoting Brundidge v. Xerox Corp., No. 12–
has facial plausibility when the plaintiff pleads factual content   CV–6157, 2014 WL 1323020(FPG), at *3 (W.D.N.Y. Mar.
that allows the court to draw the reasonable inference that the     31, 2014)). For purposes of Defendants’ motion to dismiss,
defendant is liable for the misconduct alleged.” Id. “To state a    DOL's claims may proceed if they make out a prima facie
plausible claim, the complaint's ‘[f]actual allegations must be     showing of retaliation.
enough to raise a right to relief above the speculative level.’
” Nielsen v. AECOM Tech. Corp., 762 F.3d 214, 218 (2d Cir.           *4 Defendants raise a threshold question: whether their
2014) (quoting Twombly, 550 U.S. at 555).                           speech was protected by the First Amendment. ECF No. 7
                                                                    at 5. The Court will first address that issue and will then
In deciding a motion to dismiss filed under Rule 12(b)(6),          evaluate whether the two allegedly retaliatory incidents from
a court must accept the factual allegations in the complaint        the initial Complaint – Creamer's discussion of Bockus and
as true and draw all reasonable inferences in the plaintiff's       Bevins’ statement that he was repaid the settlement money –
favor. See Chambers v. Time Warner, Inc., 282 F.3d 147,             qualify as unlawful retaliation.
152 (2d Cir. 2002). However, a court need not accept as
true “[l]egal conclusions, deductions or opinions couched as
factual allegations.” In re NYSE Specialists Sec. Litig., 503          1. First Amendment
F.3d 89, 95 (2d Cir. 2007).                                         Defendants argue that their Facebook comments “were
                                                                    an expression of [Defendants’] sentiments and grievances
                                                                    concerning” the WHD investigation and are therefore
   B. Analysis                                                      protected by the First Amendment. Few courts have addressed
The Fair Labor Standards Act (“FLSA”) authorizes the                the narrow issue of when the First Amendment protects
Secretary of Labor to seek injunctions remedying “alleged           employers’ speech from FLSA retaliation claims. The Court
violations of section 215(a)(3) ... of this title.” 29 U.S.C. §     concludes that an employer's speech is not protected by the
216(b). Section 215(a)(3), in turn, makes it unlawful for an        First Amendment if it is an adverse employment action taken
employer “to discharge or in any other manner discriminate          against an employee who engaged in conduct protected by the
against any employee because such employee has filed any            FLSA.
complaint or caused to be instituted any proceeding under or
related to this chapter.” 29 U.S.C. § 215(a)(3).                    The Supreme Court addressed a similar issue in NLRB v.
                                                                    Gissel Packing Co. (“Gissel”), 395 U.S. 575 (1969). In that
FLSA retaliation claims are analyzed under the three-step           case, the Court evaluated whether (and when) employer
burden-shifting analysis from McDonnell Douglas Corp. v.            “antiunion campaigns” were entitled to First Amendment
Green, 411 U.S. 792, 802-03 (1973). Mullins v. City of New          protection from prosecution for “unfair labor practice[s]”
York, 626 F.3d 47, 53 (2d Cir. 2010). The plaintiff must first      under the National Labor Relations Act (“NLRA”), 29 U.S.C.
establish a prima facie case of retaliation by showing “(1)         § 158(a)(1). Gissel, 395 U.S. at 616-20. The Court explained
participation in protected activity known to the defendant,         that the First Amendment protects an employers’ right to
like the filing of a FLSA lawsuit; (2) an employment action         make specific predictions about the effects of unionization
disadvantaging the plaintiff; and (3) a causal connection           on the business. Id. at 617. (“[A]n employer's free speech
between the protected activity and the adverse employment           right to communicate his views to his employees is firmly
action.” Mullins 626 F.3d at 53. If the plaintiff establishes a     established.”). But it also noted that the NLRA allowed
prima facie case, the defendant must articulate a legitimate,       employers to communicate its “general views about unionism
non-retaliatory reason for the action. Id. If the defendant         [and] specific views about a particular union, so long as the
does so, “the plaintiff must produce sufficient evidence to         communications” did not contain a “threat of reprisal or force
permit a reasonable juror to find that the defendant's proffered    or promise of benefit in violation of § 8(a)(1).” Gissel, 395
explanation was pretextual.” Id. At the pleadings stage,            U.S. at 618 (citing 29 U.S.C. § 158(c)) (quotations omitted).
though, “the Court does not specifically apply the McDonnell
Douglas burden-shifting test to determine whether Plaintiff


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In other words, the Court noted that the NLRA “merely                *5 An employer's retaliatory speech against an employee
implement[ed] the First Amendment” by establishing that             that has engaged in protected activity under the FLSA
only limited categories of speech – threats of reprisal, force,     is unprotected if that speech “discriminate[s] against any
and promise of benefit – could be prosecuted as unfair              employee because such employee has filed any complaint
labor practices. Id. It explained that in constructing such a       or caused to be instituted any proceeding under or related
framework, Congress balanced employers’ and employees’              to this chapter.” 29 U.S.C. § 215(a)(3). If the speech is
speech rights, taking into account “the economic dependence         retaliatory under the FLSA, it is not protected by the First
of the employees on their employers.” Id at 617-18. It              Amendment. This conclusion is supported by the Supreme
condoned this framework, explaining that employers may              Court's guidance in Gissel, which held that while employers
communicate general and specific views so long as they              have a First Amendment right to speak on unionism and
do not contain a “threat of reprisal or force or promise of         benefits of specific unions, they may not engage in coercive
benefit.” Id. at 618. It also explained that the employer may       or retaliatory tactics. 395 U.S. at 618. As the Second Circuit
not imply that it would act in response to unionization “solely     explained, making this determination requires consideration
on [its] own initiative for reasons unrelated to economic           of the “totality of the circumstances.” Bozzutto's Inc., 927
necessities.” Id. Such a threat of discretionary sanction would     F.3d at 684. The fact that retaliation comes in the form of
turn the statement into “a threat of retaliation based on           speech does not entitle it to special protection. However, if the
misrepresentation and coercion, and as such without the             speech does not “discriminate” against an employee because
protection of the First Amendment.” Id.                             that employee has engaged in conduct protected by the FLSA,
                                                                    the employer is entitled to the robust protections typically
Gissel reveals that employer statements designed to punish          afforded by the First Amendment. The Court will apply this
or otherwise unlawfully influence employees are generally           framework to each incident below.
not subject to First Amendment protection. See also Bill
Johnson's Restaurants, Inc. v. NLRB, 461 U.S. 731, 743
(1983) (holding that while employers have a constitutional             2. Facebook Post About Bockus
right to file counterclaims against employees, “baseless            DOL has made out a prima facie case of retaliation with
litigation is not immunized by the First Amendment right to         regard to Creamer's Facebook post stating “please google
petition”). That result is supported by case law in this Circuit.   the disgruntled employee whom was fired and contributed
First, at least one other court has held that an employer           to the story Riley Bockus (his word and character will be
“has no First Amendment right to engage in retaliatory              seen).” ECF No. 1-3 at 2. First, it has alleged that Bockus
conduct prohibited under the FLSA.” Centeno-Bernuy v.               engaged in protected activity. The Complaint states that when
Perry, 302 F. Supp. 2d 128, 139 (W.D.N.Y. 2003) (“Perry has         Bockus realized that Bevins had omitted one-and-a-half hours
no constitutional right to make baseless accusations against        of overtime from his pay, Bockus expressed his belief as
plaintiffs to government authorities for the sole purpose of        to when he formally began work, and said “[i]f you don't
retaliating against the plaintiffs for filing the Becker Farms      want to be fair and pay my hours working I will call the
litigation.”). Second, the Second Circuit recently reiterated       labor board.” ECF No. 1 at 8. The Second Circuit has held
that pursuant to Gissel, the First Amendment does not protect       that complaints to employers qualify as protected activity
an employers’ questioning of an employee if the words used          for retaliation purposes. Greathouse v. JHS Sec. Inc., 784
or the context in which they are used “suggest an element           F.3d 105, 116 (2d Cir. 2015).1 The Complaint also notes that
of coercion or interference.” Bozzuto's Inc. v. NLRB, 927           Bockus filed a complaint with the WHD, another protected
F.3d 672, 684 (2d Cir. 2019) (citing Rossmore House, 269            activity under the FLSA. Hyunmi Son v. Reina Bijoux, Inc.,
NLRB 1176, 1177 (1984)). It also noted that determination of        823 F. Supp. 2d 238, 242 (S.D.N.Y. 2011) (“[T]he filing
whether questioning is unduly coercive depends on various           of formal complaints to a government authority is protected
factors, ultimately going to the question of “whether under         under the FLSA.”). Bevins does not dispute that Bockus
all the circumstances the interrogation reasonably tends to         engaged in protected activity. See ECF No. 7 at 11.
restrain, coerce, or interfere with rights guaranteed by the
[NLRA].” Id. (quoting Rossmore House, 269 NLRB at 1178              The Second Circuit has explained that “[a]n employment
n.20).                                                              action disadvantages an employee if ‘it well might have
                                                                    dissuaded a reasonable worker from making or supporting
                                                                    similar charges.’ ” Mullins, 626 F.3d at 53 (citing Burlington



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N. & Santa Fe Ry. Co. v. White, 548 U.S. 53, 68 (2006)).         similar charges.” Mullins, 626 F.3d at 53. Drawing all
This is an objective determination, hinging on whether a         reasonable inferences in favor of DOL, public exposure
“reasonable employee” would be deterred by the employer's        might plausibly tarnish Bockus’ reputation and make it more
conduct. Burlington N., 548 U.S. at 68. Bevins does not          difficult for him to find employment. Second, Creamer's post
dispute that the FLSA's protections apply to current and         did more than simply identify Bockus: it also invited readers
former employees. See Darveau v. Detecon, Inc., 515 F.3d         to investigate his background. ECF No. 1 at 13. And when
334, 343 (4th Cir. 2008) (concluding that the FLSA's             another commenter replied with a screenshot indicating that
protections extend to former employees); Han v. Shang            Bockus “previously engaged in criminal activity,” Creamer
Noodle House, Inc., No. 20CV2266PKCVMS, 2022 WL                  responded “point made,” indicating that the “point” of the
4134223, at *7 (E.D.N.Y. Sept. 12, 2022) (“[D]istrict            post was to highlight Bockus’ criminal record. ECF No. 1 at
courts in this Circuit have” held that the term “employees”      13. DOL has, therefore, plausibly alleged that the effect of
includes former employees). However, courts in this Circuit      the post was to disparage Bockus, which qualifies as adverse
have explained that post-employment retaliation may be           employment action under the FLSA.2 See Stih, 2023 WL
found “under relatively narrow circumstances.” Porter v.         2760492, at *6; Han, 2022 WL 4134223, at *7.
MooreGroup Corp., No. 17-cv-7405 (KAM)(VMS), 2020
WL 32434, at *11 (E.D.N.Y. Jan. 2, 2020) (cleaned up).           Bevins characterizes Creamer's Facebook post as “making
                                                                 true statements about a former employee in an online
 *6 Those narrow circumstances encompass post-                   posting,” and argues that this does not qualify as an adverse
employment disparagement, as the Second Circuit explained        employment action. The adverse element of the action is
in Wanamaker v. Columbian Rope Co., 108 F.3d 462, 466            that neither the WHD press release nor the WCAX story
(2d Cir. 1997) (“The terminated employee [ ] may have            mentioned Bockus, and Creamer's Facebook post highlighted
tangible future employment objectives, for which he must         Bockus as the “disgruntled employee” associated with the
maintain a wholesome reputation. Thus, plaintiffs may be         WHD complaint. ECF No. 1 at 13. Furthermore, Creamer's
able to state a claim for retaliation, even though they          post solicited investigation of Bockus’ background without
are no longer employed by the defendant company [if]             Bockus otherwise implicated in the post. In other words,
the company ‘blacklists’ the former employee, wrongfully         Creamer called unwanted attention to Bockus that plausibly
refuses to write a recommendation to prospective employers,      sullied his reputation. The issue is not that Creamer made
or sullies the plaintiff's reputation.”) (cleaned up). Several   “true statements about a former employee in an online
district courts in the Second Circuit have reached similar       posting,” but that she did so about a former employee
conclusions in recent cases. In Stih v. Rockaway Farmers         who filed an FLSA complaint without that employee
Market, Inc., the court found that an employer's statement to    being otherwise implicated in coverage of the underlying
another former employee that the plaintiff was a “criminal”      settlement, and without that employee's criminal background
demonstrated actionable retaliation because the statement        being otherwise relevant to the settlement or news story.
had “the effect of damaging [the plaintiff's] reputation
within his industry of employment.” No. 22-CV-3228-ARR-          Further, even a true report of unlawful conduct can
RER, 2023 WL 2760492, at *6 (E.D.N.Y. Apr. 3, 2023).             be considered unlawful retaliation under the FLSA.
Similarly, in Han v. Shang Noodle House, Inc., the court held    See, e.g., Sure-Tan, Inc. v. NLRB, 467 U.S. 883, 895
that an employer's Tiktok video stating in part “[w]hoever       (1984) (employer committed an unfair labor practice by
owns restaurants in the United States, please do not hire”       reporting undocumented employees to INS in retaliation for
the plaintiff “clearly constitute[d] disadvantageous post-       participating in union activities); Aguilar v. E.C. Mgmt. Corp.,
employment conduct” because it diminished the plaintiff's        No. 12-20678-CIV, 2012 WL 12875471, at *2 (S.D. Fla.
future employment prospects. 2022 WL 4134223 at *7.              July 17, 2012) (“]R]eporting a crime when ... motivated
                                                                 by a retaliatory animus may be unlawful.”).3 This case is
Creamer's Facebook post qualifies as an adverse
                                                                 different from Palma v. NLRB, 723 F.3d 176 (2d Cir. 2013),
“employment action” for two reasons. First, public disclosure
                                                                 in which the Second Circuit held that individuals not lawfully
of Bockus’ identity and status as the FLSA complainant –
                                                                 present in the United States could not receive backpay under
especially when not otherwise revealed by public documents,
                                                                 the NLRA for their unlawful discharge when they were
such as the settlement or WCAX news story – might
                                                                 unlawfully hired in the first place, because there was nothing
“dissuade[ ] a reasonable worker from making or supporting
                                                                 unlawful about Bockus’ original employment.


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                                                                  Rule 15 of the Federal Rules of Civil Procedure provides that
 *7 DOL has plausibly alleged that the adverse action             parties shall be granted leave to amend their pleadings “when
was taken because of Bockus’ protected activity. Creamer's        justice so requires.” Fed. R. Civ. P. 15. The Supreme Court
Facebook post directly references the WCAX report, and            has explained that absent “undue delay, bad faith, or dilatory
states that “all [Bevins is] going to say is please google        motive on the part of the movant,” leave to amend should
the disgruntled employee whom was fired and contributed           be freely given. Foman v. Davis, 371 U.S. 178, 182 (1962).
to the story Riley Bockus.” ECF No. 1-3. In many ways,            A proposed amendment must plead sufficient factual content
the post speaks for itself: it acknowledges the news report       to allow a court “to draw the reasonable inference that the
(and therefore the WHD settlement) and responds by naming         defendant is liable for the misconduct alleged.” Ashcroft, 556
Bockus and soliciting investigation of his background.            U.S. at 678; see also Long v. Parry, 679 F. App'x 60, 63 (2d
DOL has satisfied the causation requirement for an FLSA           Cir. 2017). Whether to grant leave to amend is “within the
retaliation claim.                                                sound discretion of the district court.” McCarthy v. Dun &
                                                                  Bradstreet Corp., 482 F.3d 184, 200 (2d Cir. 2007).
Finally, the Court concludes that Creamer's Facebook post
about Bockus is preliminarily unprotected by the First            However, leave to amend should not be granted if amendment
Amendment pending further factual development. As noted           would be futile – in other words, if a “proposed claim could
above, an employer's free speech right to comment upon            not withstand a motion to dismiss pursuant to Rule 12(b)
matters that effect the business is firmly established. Gissel,   (6).” Dougherty v. Town of N. Hempstead Bd. Of Zoning
395 U.S. at 617. But when such commentary is “a threat            Appeals, 282 F.3d 83, 88 (2d Cir. 2002). The Second Circuit
of retaliation based on misrepresentation and coercion” it is     has explained that amendment should be allowed to preserve
“without the protection of the First Amendment.” Id. at 618.      a substantively valid claim that has been “inadequately or
DOL has plausibly alleged that Defendants’ conduct was a          inartfully pleaded.” Cuoco v. Moritsugu, 222 F.3d 99, 112
threat of retaliation based on coercion. Id. Accordingly, it is   (2d Cir. 2000). But when the defect with the claim is
plausibly unprotected.                                            “substantive” and “better pleading will not cure it,” leave
                                                                  to amend should be denied. Id. Accordingly, and because
                                                                  Defendants argue that DOL's Proposed Amended Complaint
   3. Statement of Repayment                                      fails to state a claim, the Court will evaluate the Proposed
DOL also claims that Defendants retaliated against employees      Amended Complaint to determine whether it survives the
for protected activities when Defendant Bevins commented          12(b)(6) standard.
on Facebook that he had accepted repayment of back wages
paid to employees under the settlement agreement. ECF No.
1 at 14-15. DOL asserts that this was retaliatory because            B. Analysis
“Defendant Bevins wanted to upset Bockus.” ECF No. 15.             *8 The factual allegations added in the Proposed Amended
                                                                  Complaint pertain only to Andersen, so the Court will
Defendants do not contest whether this statement was              evaluate whether those allegations state a plausible claim for
retaliatory in their motion to dismiss. See generally ECF No.     retaliation under the FLSA. Plaintiffs claim that Andersen
7 at 13. Their reply brief cursorily argues that DOL confuses     accepted back wages and liquidated damages pursuant to the
“a potential claim for interference as opposed to retaliation,”   WHD settlement and argue that this constitutes protected
ECF No. 17 at 14, but the Court will not entertain new            activity. ECF No. 16-1 at 11. The Court agrees. The
arguments raised in reply briefs. Ernst Haas Studio, Inc. v.      Second Circuit has “repeatedly affirmed that the remedial
Palm Press, Inc., 164 F.3d 110, 112 (2d Cir. 1999). Discovery     nature of the FLSA warrants an expansive interpretation of
may proceed on this set of facts. The First Amendment             its provisions so that they will have the widest possible
defense is preliminarily denied for the same reason.              impact in the national economy.” Greathouse, 784 F.3d at
                                                                  113-14. While the FLSA's retaliation provision prohibits
                                                                  discrimination against employees because they have filed
                                                                  complaints, “instituted or caused to be instituted any [FLSA]
DOL'S MOTION TO AMEND
                                                                  proceedings,” or testified in such proceedings, the Second
  A. Legal Standard                                               Circuit has explained that “[p]rotection against discrimination
                                                                  for instituting FLSA proceedings would be worthless if
                                                                  an employee could be fired for declining to give up the


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benefits he is due under the Act.” Brock v. Casey Truck             *9 However, the Court concludes that, even drawing all
Sales, Inc., 839 F.2d 872, 879 (2d Cir. 1988). Consistent          plausible inferences in favor of DOL, Creamer's comment
with this guidance, accepting FLSA settlement money –              was not caused by Andersen's protected activity under the
as well as refusing to return that money to an employer            FLSA.6 Regardless of whether the appropriate standard is
– qualifies as protected activity under the FLSA's anti-           “but-for” causation or some reduced “motivated in part
retaliation provision. See Lawrence v. Sol G. Atlas Realty         by” standard, DOL has not alleged that Creamer's actions
Co., No. 14CV3616DRHGRB, 2016 WL 7335612, at *6                    were taken in response to Andersen accepting settlement
(E.D.N.Y. Dec. 16, 2016) (“[T]he assertion that plaintiff was      money. Creamer allegedly sent the threatening message
retaliated against for cashing the overtime check received as      after Andersen's wife posted a link to the WCAX story on
a result of the DOL investigation falls within the protection      Facebook, but that message was motivated by the Facebook
of the FLSA's retaliation protection.”).                           post itself – not Andersen's acceptance of the settlement
                                                                   money. DOL concedes this. ECF No. 16-4 at 9 (“Creamer's
Andersen also suffered an adverse employment action.               threats were in response to Andersen's spouse posting a
Creamer threatened to publicly share links to stories about        link to an online news article discussing the” settlement
Andersen's family engaging in unsavory behavior. ECF No.           agreement). DOL does not allege that Creamer conducted
16-1 at 15 (Creamer allegedly stating “[h]old on while I           any threatening actions when Andersen accepted the money,
share and repost all the stories about your family killing         and instead only harassed the Andersens upon seeing the
chickens and dogs along with all the other articles.”). Again,     repost of the WCAX story. Cf. Mullins, 626 F.3d at 53 (noting
drawing all plausible inferences in favor of DOL, posting          that temporal proximity of the allegedly retaliatory action is
these stories might tarnish Andersen's reputation, making it       evidence of whether it was retaliatory). Posting the story –
difficult for him to find employment. As explained above,          not a protected activity under the FLSA – was the motivator
public dissemination of derogatory information like this could     underlying the adverse action. See ECF No. 18 at 2 (“In
plausibly “dissuade[ ] a reasonable worker from” engaging          response to [Andersen's wife's post], Ms. Creamer sent a
in the same protected activity that Andersen engaged in:           personal message to Ms. Andersen.”).
accepting money properly due under an FLSA settlement.4
Mullins, 626 F.3d at 53.                                           DOL nonetheless argues that Andersen accepting settlement
                                                                   money was a “but for” cause of the retaliation because
Defendants raise two contrary arguments. First, they submit        “Creamer would have had no reason to threaten Andersen's
that Creamer's Facebook response is not actionable because it      family on Facebook if Andersen had not ... claim[ed] the
was made to Andersen's wife, who did not engage in protected       monies” that he was owed under the settlement. ECF No. 16-4
FLSA activity. ECF No. 18 at 2-3. The Court disagrees that         at 9 (citing Bostock v. Clayton Cty., Ga., 590 U.S. 644, 656
the allegedly retaliatory action was taken against Andersen's      (2020) (“[A] but-for test directs us to change one thing at
wife. Creamer threatened to post a troubling message about         a time and see if the outcome changes. If it does, we have
the Andersen family, including Andersen himself. The fact          found a but-for cause.”)). The Proposed Amended Complaint
that Andersen's wife received the message is irrelevant.           does not support this assertion. Adopting the methodology
Regardless, the Court agrees with DOL that retaliatory action      from Bostock, even if Andersen had not accepted the money,
– including threats – against close family members can             16 others would have – and WCAX's story would have been
qualify as retaliation under the FLSA. Thompson v. N. Am.          substantially similar. Creamer likely would have threatened
Stainless, LP, 562 U.S. 170, 174 (2011) (“[A] reasonable           anyone who shared the story on Facebook, regardless of
worker might be dissuaded from engaging in protected               whether they accepted settlement money. It is impossible
activity if she knew that her fiance would be fired.”).5 Second,   to know whether Andersen's wife would have shared the
Defendants argue that Creamer's statement was made in a            WCAX story, but the Proposed Amended Complaint does
private message to Andersen's wife, not on a public Facebook       not state that she added any commentary about her husband's
post, and that it was therefore somehow less retaliatory. ECF      participation in the settlement, indicating that her post did not
No. 18 at 2. The threatened action, though, was to publicly        comment upon her husband's protected activity. Even drawing
distribute negative information about the Andersens. It does       all reasonable inferences in favor of DOL, Andersen's actions
not matter that the threat itself was made privately.              were not a but-for cause of the retaliation. Creamer's message
                                                                   reacted to the Facebook post, not the protected activity. ECF
                                                                   No. 18 at 3 (“The communication in the amended complaint



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                                                                    Creamer's nominally retaliatory actions toward Andersen and
was a request by a private person asking another private
                                                                    other allegedly retaliatory activities, not between protected
person to remove a link to a WCAX article.”).
                                                                    action (accepting the settlement money) and retaliation.
DOL argues that temporal proximity links Creamer's threat
to Andersen to the other allegedly retaliatory activities,
such as Creamer threatening Bockus and Bevins claiming              CONCLUSION
kickbacks from employees. ECF No. 16-4 at 9. In support
of this argument, DOL cites Mullins for the principle that          For the foregoing reasons, Defendants’ motion to dismiss
causal connections can be demonstrated though evidence              (ECF No. 7) is denied. DOL's motion to amend (ECF No. 16)
of retaliatory animus or by showing that “the protected             is also denied.
activity was closely followed in time by the adverse action.”
Mullins, 626 F.3d at 53 (quoting Manoharan v. Columbia
                                                                    All Citations
Univ. Coll. of Physicians & Surgeons, 842 F.2d 590, 593
(2d Cir. 1988)). But the temporal proximity here is between         Slip Copy, 2024 WL 2059333


Footnotes
1      The Second Circuit noted that “[i]n some circumstances, an employer may find it difficult to recognize an oral complaint as
       one invoking rights protected by FLSA.” Greathouse, 784 F.3d at 116. It went on to explain that “a complaint is ‘filed’ [only]
       when a reasonable, objective person would have understood the employee to have put the employer on notice that the
       employee is asserting statutory rights under the Act.” Id. (citing Kasten v. Saint-Gobain Performance Plastics Corp., 563
       U.S. 1, 14 (2011)). Drawing all reasonable inferences in favor of DOL, as the Court must at this stage of the litigation,
       Bockus’ statement that he would “call the labor board” served to put Bevins on notice that Bockus was “asserting statutory
       rights under the” FLSA. Id.

2      Defendants assert that they are insulated from liability by 47 U.S.C. § 230(c)(1), which provides that “[n]o provider or user
       of an interactive computer service shall be treated as the publisher or speaker of any information provided by another
       information content provider.” DOL's action is not based upon information provided by another content provider (e.g.,
       the commenter). It is based upon Bevins’ exposure of Bockus’ identity, solicitation of investigation, and endorsement of
       his ostensible criminal activities.

3      The Aguilar court noted that subjecting employers to civil retaliation lawsuits from reporting crimes might deter reports of
       unlawful behavior. That concern is not at play in this case, because Bevins did not report any not-yet-charged unlawful
       conduct. Instead, Bevins’ intent was simply to publicize information about Bockus’ background.

4      Defendants argue that DOL has not shown an “employment action disadvantaging the plaintiff” because Defendants
       did not “threaten anyone's employment” or post a public message. As explained above, the standard for evaluating an
       adverse employment action is whether it “might have dissuaded a reasonable worker from making or supporting similar
       charges.” Mullins, 626 F.3d at 53. This includes post-employment conduct that – while not classically employment-related,
       such as firing or demoting – may adversely impact the plaintiff's “future employment objectives.” Wanamaker, 108 F.3d
       at 466. DOL has plausibly alleged that Defendants’ threatened conduct may have negatively impacted the employees’
       future employment prospects, and that the threats may have dissuaded similar future complaints.

5      The Second Circuit has not spoken to this issue, but every other federal court to have considered the question agrees
       that retaliation against a close family member for another individual's protected activity qualifies as retaliation under the
       FLSA. See, e.g., Maier v. Priv. Mini Storage Manager, Inc., No. H-18-0991, 2019 WL 3753810, at *7 (S.D. Tex. Aug.
       8, 2019); Ornelas v. CD King Constr., LLC, No. MO21CV00019DCRCG, 2021 WL 8444015, at *2 (W.D. Tex. Aug. 17,
       2021), report and recommendation adopted, No. MO:21-CV-19-DC, 2021 WL 8444002 (W.D. Tex. Sept. 23, 2021); Smith
       v. Haynes & Haynes P.C., 940 F.3d 635, 649 (11th Cir. 2019) (theorizing that retaliation against a “close” third party
       might qualify under the FLSA).




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6      The Second Circuit has not issued guidance on the causation standard in FLSA retaliation claims. See Fox v. Starbucks
       Corp., No. 21-2531, 2023 WL 407493, at *1 n.1 (2d Cir. Jan. 26, 2023).



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                                       Exhibit 3


                                       Expert Insights—
 when Social Media Posts Become Workplace Harassment,
  Wolters Kluwer Employment Law Daily, August 5 2024 WL 3644805.


The final EEOC Guidance on Harassme nt in the Workplace (EEOC-CVG-2024-1) is
      ~189 pages so it is not included here, but it is posted on their website:
https://www.eeoc.gov/laws/guidance/enforcement -guidance-harassment -workplace




                     Analysis of New Precedent (FYI)




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Labor & Employment Law Daily Wrap Up

News: Story

August 05, 2024

By Jennifer Lada and Phillip Schreiber of Holland & Knight




 EXPERT INSIGHTS—WHEN SOCIAL MEDIA POSTS BECOME WORKPLACE HARASSMENT



Highlights
  • The U.S. Court of Appeals for the Ninth Circuit recently ruled that companies can be held liable for hostile work environment
  claims under Title VII of the Civil Rights Act of 1964 if an employee shares harassing content online on their personal social
  media that negatively impacts the workplace.
  • This is the first appeals court decision on employee use of social media outside of the workplace since the U.S. Equal
  Employment Opportunity Commission (EEOC) issued updated guidance on sexual harassment on April 29, 2024.
  • The updated EEOC guidance specially addresses how employee use of social media outside of the workplace can create
  or contribute to a sexually hostile work environment.

The U.S. Court of Appeals for the Ninth Circuit on July 25, 2024, ruled that under Title VII of the Civil Rights Act of 1964,
companies can be held liable for claims of a hostile work environment if an employee shares harassing content online that
negatively impacts the workplace.

Case Summary

In Okonowsky v. Merrick Garland, the Ninth Circuit overturned a trial court's decision on summary judgment in favor of the
government in a sexual harassment case brought under Title VII of the Civil Rights Act of 1964.

The case was brought by a staff psychologist working at a federal prison where she claims that her employer, the Federal Bureau
of Prisons, failed to address a sexually hostile work environment created by her co-worker. The psychologist claimed that a
co-worker posted derogatory content on social media. Despite reporting this to her employer, the co-worker continued to post
even after being directed to stop in accordance with the prison's anti-harassment policy. The psychologist eventually resigned
due to the lack of action and filed the lawsuit.

The trial court granted summary judgment to the prison, ruling that the social media posts were “entirely outside of the
workplace” because they were made on a personal account and not shared or discussed with plaintiff in the workplace. The
court found that since the posts did not constitute severe or frequent harassment within the physical workplace, there was no
triable issue regarding whether the plaintiff's work environment was objectively hostile.

The Ninth Circuit disagreed with the trial court and found that online social media contact can constitute workplace harassment.
The court noted that it “rejected” the “notion that only conduct that occurs inside the physical workplace can be actionable,


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especially in light of the ubiquity of social media and the ready use of it to harass and bully both inside and outside of the physical
workplace.” The court further warned that “[s]ocial media posts are permanently and infinitely viewable and re-viewable by
any person with access to the page or site on which the posts appear” and that “even if discriminatory or intimidating conduct
occurs wholly offsite, it remains relevant to the extent it affects the employee's working environment.” The Ninth Circuit sent
the case back to the trial court.

The Ninth Circuit's decision is consistent with recent guidance from the U.S. Equal Employment Opportunity Commission
(EEOC) on sexual harassment and the use of social media accounts by employees. It reads in part: “Although employers
generally are not responsible for conduct that occurs in a non-work-related context, they may be liable when the conduct has
consequences in the workplace and therefore contributes to a hostile work environment.” The EEOC also noted that “[c]onduct
that can affect the terms and conditions of employment, even if it does not occur in a work-related context, includes electronic
communications using private phones, computers, or social media accounts, if it impacts the workplace.”

Key Takeaways

Companies should conduct thorough investigations into any employee claims of a hostile work environment (whether based on
sex, race, origin or any other protected classification), including complaints about co-workers' social media posts. In addition,
companies should train employees in managerial positions on how to handle such claims.
  • Companies should consider updating their anti-harassment and social media policies to address strategies for preventing
  harassment and other problematic online behavior to reduce workplace issues.

The content of this article is intended to provide a general guide to the subject matter. Specialist advice should be sought about
your specific circumstances.

Jennifer Lada

Phillip Schreiber

Holland & Knight

10 St. James Avenue

11th Floor

Boston, MA 02116 United States

Tel.: +1 617 5232700

E-mail: webcontent@hklaw.com

URL: www.hklaw.com/

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Attorneys: Jennifer Lada and Phillip Schreiber (Holland & Knight).
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                                   Exhibit W


                       Excerpts of Court Filings from:

           Gjovik v. State, 2:22-cv-00807-RAJ-BAT
                 (W.D. Wash. Jun. 28, 2022).


            Request for Judicial Notice




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 1   Ashley M. Gjovik
     Juris Doctor Candidate & Public International Law Certificate Candidate
 2   Santa Clara University, Class of 2022
 3
     For Submission To:
 4    • U.S. NLRB: Region 32 & Office of General Counsel
      • U.S. Department of Labor: Whistleblower Protection Program
 5    • U.S. Attorney’s Office: Northern District of California
      • California DOJ: Office of the Attorney General
 6    • California Department of Labor: DIR Labor Commissioners
 7
 8
                                                      Case No.:
 9                                                    U,S. Dept of Labor: 9-3290-22-051
10                                                    U.S. NLRB: 32-CA- 282142, 283161,
                                                      284428 & 284441, & 288816
11                                                    U.S. EEOC 556-2021-00608
     MS. ASHLEY GJOVIK
                                                      U.S. SEC: 16304-612-987-465 & 16353-
12                                                    506-600-213
                    Complainant,
13          v.                                        CA Dept of Labor: RCI-CM-842830

14                                                    LEGAL MEMO
                                                      Date Action filed: February 7, 2022
15
     APPLE INC., et al.,
                                                      Charges:
16                                                    National Labor Relations Act §8(a)(1)
                    Respondent.                       National Labor Relations Act §8(a)(4)
17                                                    CERCLA, 42 U.S.C. §9610
18                                                    SOX 18 U.S.C.A. §1514A
                                                      OSHA §11(c) 29 U.S.C. §660
19                                                    18 U.S.C. §1512(a),(b),(c),(d)
                                                      18 U.S.C. §1505
20                                                    18 U.S.C. 1513
                                                      18 U.S.C. §371
21                                                    18 U.S.C. §876
                                                      Dodd-Frank 15 U.S.C. §78u-6(h)(1)(A)(iii)
22                                                    Racketeer Influenced & Corrupt
                                                      Organizations Act
23
                                                      Civil Rights Act Title VII, 42 U.S.C. §2000e
24                                                    CA Labor Code §232.5, §6310, §1102.5,
                                                      §6399, & §132(a)
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INTIMIDATION, RETALIATION, & PROPAGANDA CAMPAIGN


                              Conspiracy & Animus


                                       DRAFT v2




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PUBLIC INTIMIDATING & RETALIATORY STATEMENTS MADE BY NAMED APPLE INC MANAGERS &
EMPLOYEES ..............................................................................................................................................................................3
     RICKY MONDELLO (APPLE ENGINEERING MANAGER) ..............................................................................................................3
     CHER SCARLETT (APPLE LEGAL & GLOBAL SECURITY) ...........................................................................................................4
     SHANTINI VYAS (APPLE ENGINEER) .........................................................................................................................................7
     KEV KITCHENS (APPLE ENGINEER)...........................................................................................................................................8
     CHRISTY DEHUS (APPLE EMPLOYEE) ........................................................................................................................................8
PILE-ONS ....................................................................................................................................................................................9
AGENCY....................................................................................................................................................................................15
     INDIVIDUALS ...........................................................................................................................................................................15
     CONSPIRACY NETWORK ..........................................................................................................................................................19




     Public Intimidating & Retaliatory Statements made by Named
                   Apple Inc Managers & Employees


Ricky Mondello (Apple Engineering Manager)
Response to Gjovik’s Privacy/Surveillance Whistleblowing
- 30 Aug 2021 Be really careful about drawing conclusions based on someone posting out-of-
   context, scary looking screenshots that claim that an employer is violating employee privacy,
   without covering what the purpose and disclosure policy of that data is. This is definitely a subtweet.
   (Ricky Mondello)
Response to Gjovik Reporting Unlawful Conduct to the Gov
• 1 Sept 2021: But _the truth_ is critically important. We need to recognize when someone is
   manipulating the empathy and good will of others to fuel a personal vendetta and warpath.
   (Ricky Mondello) 1
Response to Gjovik’s Retaliatory Termination
- 9 Sept 2021: “Sometimes you fuck around, and then sometimes you find out.” (Ricky Mondello) 2
Response to Gjovik Reporting Wikipedia-based Harassment


1
    Twitter, Ricky Mondello, https://twitter.com/rmondello/status/1433287029089988610,
2
    Twitter, https://twitter.com/rmondello/status/1436184099987681314,
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-   4 Jan 2022: That’s right it goes in the square hole. [Video of bird placing objects in different
    shaped holes.] (Ricky Mondello) 3



Cher Scarlett (Apple Legal & Global Security)
Response to Gjovik’s NLRB Filing
• 9 Sept 2021: Important! The NLRB investigates ALL charges brought to its office. It isn't
   indicative of prosecution of cases or merit in charges. I still strongly believe in the case myself
   and Apple employees have brought regarding unlawful statements and application of rules around
   pay (Cher Scarlett) 4
Response to Gjovik’s Retaliatory Termination
• 11 Sept 2021: It was still a violation and someone else mentioned one of her tweets had
   proprietary information in it. It’s going to be hard to prove this was retaliatory. (Cher Scarlett)
• 26 Sept 2021: She leaked IP so the retaliatory discharge will be a tough one to prove. She also is
   now saying she was suspended and that’s not true. (Cher Scarlett) 5
• 29 Oct 2021 I honestly feel sorry for the people who fall for the grifts. (Cher Scarlett) 6
• 29 Dec 2021: Someone else got a Cease & Desist for printing something [Gjovik] said that wasn’t
   true from Apple. (Cher Scarlett) 7
• 20 Dec 2021: I suggested another victim get comment from Apple or proof about something she
   wrote that to my knowledge, from speaking with the person it was about, to protect herself. She did
   leak IP, and posted the evidence of it, which is now cited in Apple's defense. (Cher Scarlett) 8
• 20 Dec 2021: I quietly warned a handful of people about her behavior towards other people. I
   refused to corroborate misrepresentations of fact, and provided contrary evidence. (Cher
   Scarlett) 9
Response to Gjovik’s EEOC/DFEH Charge & “Right to Sue”
• 13 Sept 2021: The EEOC and DFEH have already declined to pursue and given her the right-to-
   sue (Cher Scarlett)
• 1 Nov 2021: “If we aren’t able to determine if the law may have been violated, we will send you a
   Notice of Right to Sue.” It DOES NOT mean the evidence justifies a verdict would be in the
   complainant’s favor. When it does, they FIRST attempt to settle. [EEOC link].” (Cher Scarlett) 10




3
  Twitter, https://twitter.com/rmondello/status/1479128619675013120 ,
https://web.archive.org/web/20220129181249/https://twitter.com/rmondello/status/147912861967501312
4
  Twitter, https://twitter.com/cherthedev/status/1436194928351014942;
5
  Team Blind, See PDF
6
  Twitter, https://twitter.com/cherthedev/status/1454319910427918344,
7
  Text messages, see screenshots
8
  Twitter, https://twitter.com/cherthedev/status/1476684139826802689 ,
9
  Twitter, https://twitter.com/cherthedev/status/1476685163660603403 ,
10
   Twitter, https://twitter.com/cherthedev/status/1455195681258237957,
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•  3 Jan 2022: Both the DFEH and EEOC issued Gjøvik right to sue letters, which indicates that
   while the agencies were unable to determine if law was violated and would not be proceeding
   on her behalf. (Cher Scarlett via Gjovik’s Wikipedia Page) 11
Admission to Blacklisting
• 12 Oct 2021: Proud of you. There’s really no point in it. Good News outlets don’t take her
   seriously because her story shifts like a chameleon, and eventually, it will all work itself out.
   (Cher Scarlett) 12
• 11 Dec 2021: I made the right choice in exercising the boundary of ejecting them from
   amplification. (Cher Scarlett) 13
• 5 Feb 2022: Multiple people reported this person for their behavior to their University as far as
   I know. (Cher Scarlett) 14
Response to Gjovik Reporting Unlawful Conduct to the Gov
• 25 Oct 2021: Anyone can file complaints with federal and state agencies. It doesn’t mean there is
   merit, and it doesn’t mean the person doing the reporting is being honest or genuine in doing
   so. Hero culture creates parasocial relationships that create scary influence that spreads. (Cher
   Scarlett) 15
• 25 Oct 2021: This is important and nuanced. Whistleblowers are human. Everyone has their own
   agenda, and if you do not temper your expectations and question motives and information — you
   can easily get caught up in supporting something completely bogus or worse… something
   harmful. (Cher Scarlett) 16
• 29 Oct 2021: So far, she has tried desperately to use other victims for her own gain, made racist
   remarks, lied to the public, to the government, about what happened to her, and about me, and
   a bunch of other people who tried to help her. I cannot stand to watch good people such as
   yourself get wrapped up in her web. (Cher Scarlett)
• 13 Dec 2021: "Lions don't concern themselves with the opinions of sheep." I used to think this quote
   was egotistical, but now, I get it. I see people misunderstand what they read, and believe full-out
   fabricated nonsense that borders conspiracy, day-in and day-out. There's no reaching them.
   (Cher Scarlett) 17
• 29 Dec 2021: I want to see her get justice, but perjuring herself and doing all of this is harmful
   (Cher Scarlett) 18
• 30 Dec 2021: I am not going to diagnose anyone, but this behavior maps to narcissistic personality
   disorder, and if it's narcissistic supply driving them, giving it ANY attention only FUELS it




11
   Wikipedia, https://en.wikipedia.org/wiki/Wikipedia:Conflict_of_interest/Noticeboard/Archive_184
12
   Twitter, https://twitter.com/cherthedev/status/1447927265166249997,
https://web.archive.org/web/20220131033740/https://twitter.com/cherthedev/status/1447927265166249997
13
   Twitter, https://twitter.com/cherthedev/status/1469706762831814657,
https://web.archive.org/web/20220129183819/https://twitter.com/cherthedev/status/1469706762831814657
14
   Twitter, https://twitter.com/cherthedev/status/1490053004791218177,
15
   Twitter, https://twitter.com/cherthedev/status/1452677821998850048,
16
   Twitter, https://twitter.com/cherthedev/status/1452677378925219845 ,
17
   Twitter, https://twitter.com/cherthedev/status/1470572468662267904,
18
   Text messages, see screenshots
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   further. Retweet: https://www.psychologytoday.com/us/blog/tech-support/201906/dealing-the-
   narcissists-smear-campaign (Cher Scarlett) 19
Response to Gjovik’s Retaliatory Suspension
• 26 Sept 2021: She asked for the leave, she just felt she had no choice after they did not want to
   give a paid exit she asked for. (Cher Scarlett) 20
• 29 Dec 2021: Please check for comment from Apple on Ashley refusing to sign an NDA and turning
   down a $600,000 settlement. She told me that 1) no lawyer would take her case unless she got fired
   and 2) they said no to her getting a paid exit and that is WHY she asked for paid administrative
   leave. (Cher Scarlett)
•  5 Jan 2022: "I found the terminology "indefinite paid administrative leave" misleading based on
   all of the materials I read, including an email from an Apple HR representative you uploaded to your
   website which states that it was not indefinite." (Cher Scarlett via Gjovik’s Wikipedia Page) 21
• 7-8 Jan 2022: Cher attempting to get me to ask the Wikipedia arbitration committee to stop
   investigating an account harassing me
• 5 Feb 2022: While I initially said you lied about being "suspended", though not publicly and to
   less than FIVE people, I never called you a liar. Those tweets were NOT about you. I was extremely
   bothered by the fact that you told me you discovered it was an adverse action, and started saying you
   were suspended, instead of that you felt forced into requesting the leave. (Cher Scarlett) 22
Response to Gjovik’s Fed Witness Intimidation / Threats / Retaliation Complaints
• 7-8 Jan 2022: Cher attempting to get me to ask the Wikipedia arbitration committee to stop
   investigating an account harassing me
• 9 Jan 2022: (Scarlett claims Gjovik was “extorting her” and tells multiple people she reported
   Gjovik to law enforcement that week, including reporting Gjovik to the U.S. FBI.) (Private
   Messages)
• 5 Feb 2022: In my conversation with the federal agency about what occurred, and to avoid
   disparagement and defamation, I told them matter-of-factly what happened and they recommended
   I report this person to the FBI for extortion. Being a witness does not give you a license to abuse.
   (Cher Scarlett)23
• 5 Feb 2022: Implying that people are trying to have you assassinated or cause you to kill
   yourself, me included, is extremely harmful, and I alerted APPLE about the chain of tweets
   involved in doing so. (Cher Scarlett) 24
• 5 Feb 2022: Please remove my tweets that cannot be reasonably justified to be connected to you
   from your January NLRB memo.(Cher Scarlett) 25
• 5 Feb 2022: You need to delete my tweets from your memo that contain personal information
   about me and my family (Cher Scarlett) 26


19
   Twitter, https://twitter.com/cherthedev/status/1476353379815223296,
20
   Team Blind, See PDF
21
   Wikipedia, https://en.wikipedia.org/wiki/Wikipedia:Conflict_of_interest/Noticeboard/Archive_184
22
   Unsolicited email via website webform on Feb 5 2022 (see PDF)
23
   Twitter, https://twitter.com/cherthedev/status/1490052091733164032,
24
   Twitter, https://twitter.com/cherthedev/status/1490053004791218177,
25
   Unsolicited email via website webform on Feb 5 2022 (see PDF)
26
   Unsolicited email via website webform on Feb 5 2022 (see PDF)
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• 5 Feb 2022: You need to remove all assertions that I am accounts trolling you] (Cher Scarlett)27
Response to Gjovik’s SEC Whistleblower Tip
• 5 Feb 2022: Do you know whose AppleInsider piece on a [SEC] whistleblower tip which
   contained absolutely no material information shareholders could use caused that? Yours. (Cher
   Scarlett) 28


Shantini Vyas (Apple Engineer)
Response to Gjovik Reporting Unlawful Conduct to the DOJ
• 1 Sept 2021: By creating bogus, unsubstantiated filings with the DOJ and other regulatory
   bodies, this person has just endangered the future cases of people with legitimate claims. (Shantini
   Vyas)29
• 1 Sept 2021: However, [Gjovik] lied about actions Apple has taken. They have misled people by
   leaving out key details. They find new angles to make all of the Apple out to be the Big Bad Guy.
   The goalposts move hourly. (Shantini Vyas) 30
• 1 Sept 2021: A certain employee has made it their mission to bring down Apple through whatever
   means necessary. Including straight LIES. 31 This is about a person whose name starts with “A.”
   (Shantini Vyas) 32
• 1 Sept 2021: This person has a lot of support. They’ve gained it by taking advantage of the anger
   and frustration of other people. It’s predatory. (Shantini Vyas) 33
• 1 Sept 2021: Through their actions [Gjovik] contributes to an insidious narrative: that women make
   things up and are trying to get attention. This is so damaging to other women. To those afraid to
   speak up. (Shantini Vyas) 34
- 1 Sept 2021: I would like to reiterate: I do believe people were really shitty to them. However, I
   think it has progressed way past that point and become a tale of vengeance. (Shantini Vyas) 35
- 2 Sept 2021: the only people benefiting from this is Apple. They can use this as precent to deny
   future reports and claims of harassment. (Shantini Vyas) 36
- 17 Sept 2021: Encouraging employees to leak is also predatory. An employee gets nothing out of
   leaking except potentially get fired. (Shantini Vyas) 37




27
   Unsolicited email via website webform on Feb 5 2022 (see PDF)
28
   Unsolicited email via website webform on Feb 5 2022 (see PDF)
29
   Twitter, https://twitter.com/_shantini_/status/1433270371915116544,
30
   Twitter, https://twitter.com/_shantini_/status/1433270364440825869 ,
31
   Twitter, https://twitter.com/_shantini_/status/1433270352919072771,
32
   Twitter, https://twitter.com/_shantini_/status/1433270361060225024 ,
33
   Twitter, https://twitter.com/_shantini_/status/1433270373500477442,
34
   Twitter, https://twitter.com/_shantini_/status/1433270370358943745,
35
   Twitter, https://twitter.com/_shantini_/status/1433274644858032128,
36
   Twitter, https://twitter.com/_shantini_/status/1433419902803759106,
37
   Twitter, https://twitter.com/_shantini_/status/1438921833852571653,
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-    12 Oct 2021: I tweeted some stuff about that one lady who got fired from Apple. But I deleted as I
     decided I’m not going to ruin my day with anger at someone inconsequential (Shantini
     Vyas)38


Kev Kitchens (Apple Engineer)
Response to Gjovik Reporting Unlawful Conduct to the Gov
• 1 Sept 2021: Women fight so hard to be believed by our fucked up, sexist society that it’s
   horrifying to see [Gjovik] hand those bastards a pile of ammunition. (Kev Kitchens)39



Christy Dehus (Apple Employee)
Response to Gjovik Speaking out the Press about Work Conditions
- 12 Aug 2021: I’ve informed Apple they should fire [Gjovik] immediately (Christy Dehus) 40
- 12 Aug 2021: If I receive anything from the police regarding a restraining order from you, the
   following below email goes directly to Tim Cook and Diedre O’Brien. (Christy Dehus) 41




38
   Twitter, https://twitter.com/_shantini_/status/1447926059903557632,
https://web.archive.org/web/20220131035341/https://twitter.com/_shantini_/status/1447926059903557632
39
   Tweet deleted after I announced NLRB charge & named Kitchens (see screenshot for reference instead)
40
   Emails, see screenshots
41
   Emails, see screenshots
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                                                  Pile-Ons

Sept 1 8:27pm – Public Twitter.com Post
• Shantini Vyas: Okay at the risk of *gestures wildly at Twitter*. Apple is a big company. It’s got
   some problems. But it’s a great place to work for a lot of people. A certain employee has made it
   their mission to bring down Apple through whatever means necessary. Including straight LIES. 42
• Retweeted by:
       o 🛑 Ricky Mondello (Employer, Authentication Experience manager, @rmondello)
• Liked by:
       o Managers: 🛑 Pinar Stanfield (@pinar747), 🛑 DJ Capelis ( @djcapelis), 🛑 Peter
           Gulezian (@petermg), 🛑 Faye Garfinkle (@faycetime), 🛑 Ricky Mondello
           (@rmondello), 🛑 Eric Vitiello (@pixel), 🛑 Rick Ballard (@rballard); 🛑 Lewis
           Thompson (@lewiz)
       o Employees: Leeann Herd (@leeannherd), Allyson Kazmucha (@iMuggle), Forest Hill
           (@foresthill), Matt Searle (@matt_s_searle), Rubén Santiago (@rubenator), Elliot Barer,
           (@ebarer), Clint Wilson (@clintw_), Devon (@devonbl), Bruno Philipe (@brunophilipe),
           BJ (@bj_spins), Devon Endlcott (@dendicott22), Jeff Koftinoff (@statusbar), Arian
           (@arian), Jonathan (@jonjesbuzz), Ray Powers (@ray_powers), Zach Gardner
           (@locriani), Karan Varindani (@karan301_), Ross Freeman (@rfree18), Drew
           (@drewocarr), Rizwan Sattar (@rizzledizzle), Kevin (@kturnt74), Kev Kitchens
           (@kitchens_sync), Hugo Kessler (@hugokessler), Owen (@me_north_of), Sarah Kim
           (@____skim), Mehdi Shibahara (@mehdishibahara), Matt (@mathemattical), Noah
           Witherspoon (@mahalis), Thomas (@tomn94), Louis D’hauwe (@louisdhauwe), Josh
           Caron (@_joshcaron), Saam Barati (@saambarati), Harrison (@hrrsn), Trever
           (@itstreverr), Kacper Harasim (@kacperharasim), Matthew Macuso (@matt8109), Steven
           McGrath (@McGrathPDX), Sebastien (@sbstnrtl), Alex Hass (@alexhaas), Vishnu Prem
           (@burnflare), Daniel Young (@dnlyoung); Van (@thevanmccoy); iRyan (@rg3116); PJR
           (@thisispjr);
       o Press: Chance Miller (editor in chief of 9to5 Mac, @chancehmiller);
       o Other: Mel Nayer (@mel_nayer); Beezie_Wacks (@beezie_wacks); Neoform (@neoform)

Sept 1 2021 9:33pm – Public Twitter.com Post
   • Retweet: Shantini Vyas: “Okay at the risk of...” 🛑 Ricky Mondello (Employer): :
       Corporations don’t need anyone’s defense. They have money, lawyers, and a brand to protect
       them. But _the truth_ is critically important. We need to recognize when someone is
       manipulating the empathy and good will of others to fuel a personal vendetta and warpath. 43


42
   Twitter, https://twitter.com/_shantini_/status/1433270352919072771,
https://web.archive.org/web/20220129111600/https://twitter.com/_shantini_/status/1433270352919072771?s=20
43
   Twitter, Ricky Mondello, https://twitter.com/rmondello/status/1433287029089988610,
https://web.archive.org/web/20220129111609/https://twitter.com/rmondello/status/1433287029089988610
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             o Retweeted by: Shantini Vyas, Thomas Naudet (@tomn94), Harrison (@hrrsn,
                 engineer), Deborah Goldsmith (@debbiegoldsmith)
             o Liked by:
                     ▪ Apple managers: 🛑 Ryan Burkhardt (@ryanburk), 🛑 Rick Ballard
                        (@rballard), 🛑 Faye Garfinkle (@faycetime)
                     ▪ Apple employees: Steven McGrath (@mcgrathpdx), Matt Searle
                        (@matt_s_searle), Kristen Kwong (@kristenkwng), Louie Livon-Bemel
                        (@livbem), Devon (@devonbl), Linda Dong (@lindadong), Sarah Kim
                        (@____skim), Zach Gardner (@lociani), Karan Varidani (@karan301_), Ross
                        Freeman (@rfree18), Neal Young (@nealyoung), Thomas Bosboom
                        (@thomasbosboom), Louis Gerbarg (@lgerbarg), Tariq Ismael (@tariqi), Alex
                        Duner (@asduner), Alex Hass
     •   🛑 Ricky Mondello (Employer): this is one of the least important things happening right now
         but the only one I feel like I can put words to. The amount of human suffering we’re all
         witnessing on a daily basis is difficult to reason about or have a useful opinion on.)
             o Shantini Vyas: So well said. I think you distilled my thread down to the essential point.
                     44

            o Liam Reimers: “Gut-wrenching” is about as far as I can get as personal opinions go. :( 45

Sept 2 6:21am – Public Twitter.com Post
   • Shantini Vyas: I just want to say I got a *lot* of messages in support of this post. A lot of
       people, like me, struggled with this situation because it feels horrible to doubt a woman who
       comes forward with allegations. I still don’t doubt that people mistreated her. That’s the sad part.
       Retweet: Shantini: “Okay at the risk of...”46
           o Liked by:
                   ▪ Managers (Employer): Rick Ballard (@rballard), DJ Capelis (@djcapelis),
                      Ricky Mondello (@rmondello), Faye Garfinkle (@faycetime)
                   ▪ Employees: Forest Hill (@foresthill), Elliot Barer (@ebarer), Josh Caron
                      (@_joshcaron), Jeff Koftinoff (@statusbar), Noah Witherspoon (@mahalis),
                      Devon (@devonbl), Bruno Philipe (@brunophilipe), Kev Kitchens
                      (@kitchens_sync), Sarah Kim (@___skim), Michael Gecht (@_mischi), Zach
                      Gardner (@locriani), Marco Carini (@locriani), Ross Freeman (@rfree18)
   • Shantini Vyas: I really honestly hope she finds a resolution that makes her happy. I hope that the
       people who harassed her have to face justice.
   • Shantini Vyas: My spouse made a really good point, in that the only people benefiting from this
       is Apple. They can use this as precent to deny future reports and claims of harassment.
           o Liked by:
                   ▪ Managers (Employer): 🛑 Ricky Mondello
                   ▪ Employees: Bruno Philipe (@brunophilipe), Zach Gardner (@locriani)

44
   Twitter, Shantini Vyas, https://twitter.com/_shantini_/status/1433287806433087488,
https://web.archive.org/web/20220129111635/https://twitter.com/_shantini_/status/1433287806433087488
45
   Twitter, https://twitter.com/wreimers/status/1433423383635509260
46
   Twitter, https://twitter.com/_shantini_/status/1433419902803759106,
https://web.archive.org/web/20220129111921/https://twitter.com/_shantini_/status/1433419902803759106
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Sept 2 2021 – Public Twitter.com Post
   • Shantini Vyas: Okay y’all. I am muting and going back to my dogs. Peace. 47
          o 🛑 Ricky Mondello (Employer): : Hi, you’re great.
                 ▪ Liked by Shantini Vyas
                 ▪ Shantini Vyas: Aw no you are!
                        • Liked by 🛑 Ricky Mondello

Sept 9 2021 9:25pm – Public Twitter.com Post
   • 🛑 Ricky Mondello (Employer): : Sometimes you fuck around, and then sometimes you find
       out.48
           o Liked & Retweeted by Shantini Vyas
           o Shantini Vyas: Ah yes, the famous FAFO queue. Not recommended compared to FIFO.
                 ▪ Liked by 🛑 Ricky Mondello, DJ Capelis, & Kev Kitchens
           o Kev Kitchens: Well, hello there consequences of my own actions
                 ▪ Liked by Shantini Vyas
   • Liked By
           o Managers (Employer): 🛑 DJ Capelis, 🛑 Jeff Kelley
           o Employees: Shantini Vyas, Kev Kitchens, Hugo Kessler (@hugokessler), Harris
              Papadopoulos (@cpapado), Patrick Metcalfe (@pducks32), Tim (human interface
              engineer, @timdesir), BJ (@bj_spins), Julio Ortiz (@_julioortiz), Alex Haas
              (@alexhaas), Ross Freeman (@rfree18), Thomas (@tomn94), Louis D’hauwe
              (@louisdhauwe), Devon (@devonbl), Raul Rea Menacho (@raul_rea),
           o Press: John Gruber (@gruber)

Sept 10 2021 9:27am – Public Twitter.com Post
   • Shantini Vyas: It’s come to my attention that there are people? Out here? Defending me?
                    49

            o Liked by Cher Scarlett
            o Shantini Vyas: A tweet of mine ended up in a news story and some people on the
               internet did not like it. 50
                   ▪ Liked by Cher Scarlett
            o Kev Kitchens: We got your back!51 (Liked by Vyas)
     •   Liked by:

47
   Twitter, https://twitter.com/_shantini_/status/1433456310582927361,
https://web.archive.org/web/20220129111957/https://twitter.com/_shantini_/status/1433456310582927361
48
   Twitter, https://twitter.com/rmondello/status/1436184099987681314,
https://web.archive.org/web/20220129205856/https://twitter.com/rmondello/status/1436184099987681314
49
   Twitter, https://twitter.com/_shantini_/status/1436361127043162114,
https://web.archive.org/web/20220129211339/https://twitter.com/_shantini_/status/1436361127043162114
50
   Twitter, https://twitter.com/_shantini_/status/1436365689154162689,
https://web.archive.org/web/20220129210059/https://twitter.com/_shantini_/status/1436365689154162689
51
   Twitter, https://twitter.com/kitchens_sync/status/1436388407463137285,
https://web.archive.org/web/20220129211411/https://twitter.com/kitchens_sync/status/1436388407463137285
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            o Managers (employer): Bryan Bartow (@bryanbartow)
            o Engineers: Ken Ryall (@kenryall), Cher Scarlett (@cherthedev), J.S. (@64bitjoe),
              Ross Freeman (@rfree18), Steven Peterson (@squeakytoy), Leandro Ivan
              (@leandroivan), Kev Kitchens (@kitchens_sync), Sarah Kim (@___skim), Andi Rohn
              (@andi_rohn)

Sept 17 2021 10:44am – Public Twitter.com Post
   • Shantini Vyas: I mean this is kind of deserved. Live-tweeting an-internal event is not really
       newsworthy. Encouraging employees to leak is also predatory. An employee gets nothing out of
       leaking except potentially get fired. [Image: Zoe Schiffer (Journalist): “Someone just said ‘fuck
       Zoe Schiffer’ in talk-apple Slack Channel. Ouch!”] 52
           o Liked:
                  ▪ Managers: Richard Landsberg (@zerointerupt), Morgan Grainger
                      (@morgangrainger), Eric Albert (@ejalbert)
                  ▪ Employees: Ray Powers, Kev Kitchens, Zach Gardner, Cher Scarlett
                      (@cherthedev), Rainer Tenhunen (@rahina), Ben (@benchr), Harrison
                      (@hrrsn), Nitesh Kant (@NiteshKant), Kevin (@kturnt74), Mehdi Shibahara
                      (@mehdishibahara), Nicholas Orsini (@nicholassorini), Devon (@devonbl),
                      Matthew Mancuso (@matt8109), Michael Gecht (@_mischi), Steven Peterson
                      (@squeakytoy), Ken Ryall (@kenryall), Ross Freeman (@rfree18), Sarah Kim
                      , Alex Lucas (@alucas96)
                  ▪ Press: Shoshana Wodinsky (Gizmodo)


Oct 12 2021– Public Post on Twitter
   - Shantini Vyas: I tweeted some stuff about that one lady who got fired from Apple. But I deleted
       as I decided I’m not going to ruin my day with anger at someone inconsequential 53
           o Liked by: Cher Scarlett, Kev Kitchens, Zach Gardner, Rick Gigger, Sarah Kim, Ross
                Freeman
   - Cher Scarlett (@cherthedev): Proud of you. There’s really no point in it. Good News outlets
       don’t take her seriously because her story shifts like a chameleon, and eventually, it will all work
       itself out. 54
           o Liked by:, 🛑 Ricky Mondello, Shantini Vyas, Brian Gannin, Sarah Kim, Zach
                Gardner,
   - Sarah (@winocm): I noticed this too.
           o Liked by: Cher Scarlett

Oct 16 2021 6:54am -- Public Twitter.com Post

52
   Twitter, https://twitter.com/_shantini_/status/1438921833852571653,
https://web.archive.org/web/20220128033555/https://twitter.com/_shantini_/status/1438921833852571653
53
   Twitter, https://twitter.com/_shantini_/status/1447926059903557632,
https://web.archive.org/web/20220131035341/https://twitter.com/_shantini_/status/1447926059903557632
54
   Twitter, https://twitter.com/cherthedev/status/1447927265166249997,
https://web.archive.org/web/20220131033740/https://twitter.com/cherthedev/status/1447927265166249997
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•    Cher Scarlett (@cherthedev): Question the ethics of others only when you, yourself, have acted
     with integrity. The truth has a way of rising to the top.55
         o Liked by: Brian Garrin (@bgannin); Sarah Kim (@___skim), Ifeoma Ozoma
             (@IfeomaOzoma); Meredith Whittaker (@mer_edith)
•    Cher Scarlett (@cherthedev): Lying while claiming others are unethical is something. 56
•    Cher Scarlett (@cherthedev): I’m talking about lying actively while claiming others are being
     unethical for not engaging with the lies. 57
•    Cher Scarlett (@cherthedev): I just don’t want to cloud what’s important with petty shit. As I said,
     the truth will prevail here. 58
•    Cher Scarlett (@cherthedev): Not every statement need's a devil's advocate, though. 59
         o [Redacted] This by itself doesn’t quite ring true for me still. “Question the ethics of others
             only when you, yourself, have acted with integrity.”
         o Cher Scarlett (@cherthedev): Yes, it does. 60
         o [Redacted] So you can’t question someone else’s integrity unless you have perfect integrity.
             Hmmm…

October 16 2021 2:06pm -- Public Twitter.com Post
   • Cher Scarlett (@cherthedev): Watch who centers themselves and acts out. Saying there is
      solidarity and acting in solidarity are two very different things. One is performative, the other
      moves the needle. Listen to women like Timnit Gerbru, Ifeoma Ozoma, Sophie Zhang, Janneke
      Parrish who are leading us.61
          o Retweeted by: Steven McGrath (McGrathPDX); Brian Gannin (@bgannin)

Jan 8 2022 – Public Twitter Post
   • Shantini Vyas: that ashley person is stoking her followers into making fun of someone's
       overdose. seems totally legit and like she's a real activist 62
          o Liked by: Managers: 🛑 Eric Vitiello; Employees: Steven McGrath, Cher Scarlett,
              Harrison, Ross Freeman, Juan Laube
          o Ankit Aggarwal: “best person”

55
   Twitter, https://twitter.com/cherthedev/status/1449373213549420546,
https://web.archive.org/web/20220129205412/https://twitter.com/cherthedev/status/1449373213549420546
56
   Twitter, https://twitter.com/cherthedev/status/1449425934679896064 ,
https://web.archive.org/web/20220130012228/https://twitter.com/cherthedev/status/1449425934679896064
57
   Twitter, https://twitter.com/cherthedev/status/1449435654408994816 ,
https://web.archive.org/web/20220130012027/https://twitter.com/cherthedev/status/1449435654408994816
58
   Twitter, https://twitter.com/cherthedev/status/1449435654408994816 ,
https://web.archive.org/web/20220203070344/https://twitter.com/cherthedev/status/1449435654408994816
59
   Twitter, https://twitter.com/cherthedev/status/1449437394529243138,
https://web.archive.org/web/20220129205458/https://twitter.com/cherthedev/status/1449437394529243138
60
   Twitter, https://twitter.com/cherthedev/status/1449446255780765696;
https://web.archive.org/web/20220129205357/https://twitter.com/cherthedev/status/1449446255780765696
61
   Twitter, https://twitter.com/cherthedev/status/1449481965862748163,
https://web.archive.org/web/20220129191704/https://twitter.com/cherthedev/status/1449481965862748163
62
   Twitter, https://twitter.com/_shantini_/status/1479974987540881410;
https://web.archive.org/web/20220129030415/https://twitter.com/_shantini_/status/1479974987540881410
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                 ▪ Liked by Shantini Vyas
            o Brian Gannin: Gotta stay on brand.
                 ▪ Liked by Shantini Vyas & Cher Scarlett

Jan 30 2021 – Public Twitter.com Post
       o Shantini Vyas (@_shantini_): It’s sometimes tough but important to remember that people
          will view your shitposting differently if you’re not a white man. People finding you
          entertaining will not always translate into them wanting to be your friend/colleague. 63
              o Liked by Andi Rohi, Zach Gardner (@locriani), Sarah Kim ((@___skim), Cher
                  Scarlett (@cherthedev)
              o 🛑 Bryan Bartow (@braynbartow) (employer): BUT SOME WANT TO BE
                  YOUR FRIEND AND COLLEAGUE EVEN MORE PLZ COME BACK I DARE
                  YOU.64
                      ▪ Liked by David Spector (@dhmspector), Shantini Vyas (@_shantini)
          o Ankit Aggarwal (@aciidb0mb3r) are you crying about shitposting 65




63
   Twitter, https://twitter.com/_shantini_/status/1487877110379204612,
https://web.archive.org/web/20220130212016/https://twitter.com/_shantini_/status/1487877110379204612
64
   Twitter, https://twitter.com/bryanbartow/status/1487898600474615818,
https://web.archive.org/web/20220130212252/https://twitter.com/bryanbartow/status/1487898600474615818
65
   Twitter, https://web.archive.org/web/20220201005747/https://twitter.com/aciidb0mb3r/status/1487960053025939457,
https://twitter.com/aciidb0mb3r/status/1487960053025939457
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                                                  Agency
Individuals
Ricky Mondello:
   • Apple Manager / Supervisor

Faye Garfinkle:
   • Apple Manager / Supervisor
   • Previous coworker on 2015-2016 Apple team

Eric Vitiello
   - Apple Manager / Supervisor
   - Friends with previous coworker in 2015-2016 Apple team

Cher Scarlett:
  - Worked in Apple Legal & Global Security until November 19, 2021
  - Scarlett entered a settlement agreement with Apple Inc with undisclosed terms
  - On Oct 20 2021, Scarlett posted she complied with Apple’s request for her to no longer speak
      publicly about Apple as a “sign of good faith” on Sept 21 for settlement contract negotiations
      with Apple. 66
      o However, during the time from Sept 21 through Oct 20, Scarlett did make the. Following
          statements about Gjovik, which are related to Apple, & under information & believe Scarlett
          has approval if not an obligation to make said statements:
            ▪   Cher Scarlett: I’m talking about [Apple] workplace issues while others are doing messy shit
                leaking IP or other actual confidential thing and I’m getting blamed for it. It’s ridiculous. You
                can both trust and believe in your leadership while recognizing and talking about issues you see.
                It’s not a dichotomy. 67
            ▪   Cher Scarlett: Unfortunately she leaked IP so the retaliatory discharge will be a tough one to
                prove. She also is now saying she was suspended and that’s not true. I’m concerned for her, but
                she made a lot of money and has no dependents. She’s almost done with her law degree. She will
                be fine.
            ▪   Cher Scarlett: She asked for the leave, she just felt she had no choice after they did not want to
                give a paid exit she asked for.
            ▪   Cher Scarlett: She stated she was being faced with a hostile work environment. She asked for a
                paid exit through Dec 2022 or a new position placement until that same date (when she
                graduates law school). They did not oblige and suggested she take medical leave (this is standard
                practice, though certainly doesn’t’ feel right). She refused and suggested Paid Admin Leave



66
   https://twitter.com/cherthedev/status/1450977193295712257,
https://web.archive.org/web/20220129213829/https://twitter.com/cherthedev/status/1450977193295712257
67
   Reddit, https://www.reddit.com/r/apple/comments/pt91m5/tim_cook_says_employees_who_leak_memos_do_not/,
https://web.archive.org/web/20220128083128/https://www.reddit.com/r/apple/comments/pt91m5/tim_cook_says_employees
_who_leak_memos_do_not/
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                instead, which they agreed to give her during the investigation, so her earned paid leave and sick
                time would be protected.
            ▪   Cher Scarlett: [now deleted post complaining about Apple’s alleged lack of support for employee
                voting in state elections, part of a project Gjovik led at Apple] 68
            ▪   Cher Scarlett (@cherthedev): People who lie about small things cannot be trusted with big
                things. 69 This is a specific thing that most people would not lie about. 70
            ▪   Shantini Vyas: I tweeted some stuff about that one lady who got fired from Apple. But I deleted as
                I decided I’m not going to ruin my day with anger at someone inconsequential. 71 Cher Scarlett
                (@cherthedev): Proud of you. There’s really no point in it. Good News outlets don’t take her
                seriously because her story shifts like a chameleon, and eventually, it will all work itself out. 72
            ▪   Cher Scarlett (@cherthedev): Judicial notice is a rule in the law of evidence that allows a fact to
                be introduced into evidence if the truth of that fact is so notorious or well known, or so
                authoritatively attested, that it cannot reasonably be doubted.73
            ▪   Cher Scarlett (@cherthedev): This week my personal growth has been in the category of
                practicing restraint. So. Much. Restraint.” 74
            ▪   Cher Scarlett (@cherthedev): Question the ethics of others only when you, yourself, have acted
                with integrity. The truth has a way of rising to the top. 75
            ▪   Cher Scarlett (@cherthedev): Lying while claiming others are unethical is something. 76
            ▪   Cher Scarlett (@cherthedev): I’m talking about lying actively while claiming others are being
                unethical for not engaging with the lies. 77
            ▪   Cher Scarlett (@cherthedev): Watch who centers themselves and acts out. Saying there is
                solidarity and acting in solidarity are two very different things. One is performative, the other
                moves the needle. Listen to women like Timnit Gerbru, Ifeoma Ozoma, Sophie Zhang, Janneke
                Parrish who are leading us.78




68
   Twitter, DELETED, see screenshots & PDFs instead.
69
   Twitter, https://twitter.com/cherthedev/status/1446937261132554243 ;
https://web.archive.org/web/20220129234354/https://twitter.com/cherthedev/status/1446937261132554243
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   Twitter, https://twitter.com/cherthedev/status/1446951800142139394 ;
https://web.archive.org/web/20220129234412/https://twitter.com/cherthedev/status/1446951800142139394
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   Twitter, https://twitter.com/_shantini_/status/1447926059903557632,
https://web.archive.org/web/20220131035341/https://twitter.com/_shantini_/status/1447926059903557632
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   Twitter, https://twitter.com/cherthedev/status/1447927265166249997,
https://web.archive.org/web/20220131033740/https://twitter.com/cherthedev/status/1447927265166249997
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   Twitter, https://twitter.com/cherthedev/status/1448056466254929926 ,
https://web.archive.org/web/20220131033517/https://twitter.com/cherthedev/status/1448056466254929926
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   Twitter, https://twitter.com/cherthedev/status/1448516756453003268,
https://web.archive.org/web/20220131083355/https://twitter.com/cherthedev/status/1448516756453003268
75
   Twitter, https://twitter.com/cherthedev/status/1449373213549420546,
https://web.archive.org/web/20220129205412/https://twitter.com/cherthedev/status/1449373213549420546
76
   Twitter, https://twitter.com/cherthedev/status/1449425934679896064 ,
https://web.archive.org/web/20220130012228/https://twitter.com/cherthedev/status/1449425934679896064
77
   Twitter, https://twitter.com/cherthedev/status/1449435654408994816 ,
https://web.archive.org/web/20220130012027/https://twitter.com/cherthedev/status/1449435654408994816
78
   Twitter, https://twitter.com/cherthedev/status/1449481965862748163,
https://web.archive.org/web/20220129191704/https://twitter.com/cherthedev/status/1449481965862748163
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     -   On Dec 20 2021, Scarlett publicly posted that Apple “threatened to sue [her]” 79 & on Dec 21
         said she had “nothing for them to take” & said she was living in “destitute” 80
     -   On Dec 22 2021, Scarlett publicly posted that Apple had tried to “coerce [her]” into signing a
         document that “solicited a list of names of those who gave [her] material information as part of
         an unfair labor charge” and to “silence [her].” She did not say if she provided the names or if
         there were was other performance required of her for the agreement, however she did confirm to
         no longer speaking about Apple as requested .
     -   On Dec 29 2021, Scarlett texted a friend of Gjovik’s and told them: “I am one of Apple’s
         witnesses against [Gjovik].”
     -   On Jan 8 2021, Scarlett again posted Apple was “threatening to sue [her]” and shared she took
         Percocet to cope but then overdosed on Fentanyl & accumulated additional debt 81
     -   On Jan 30 2022, Scarlett publicly posted that she received an Apple Global Security “Challenge
         Coin” in 2021. 82 Scarlett displayed the coin with a coin she said she received from US DHS for
         providing information as part of an investigation 83 & a coin she said she received from Orange
         County “for serving [her] community.”84 It appears she received the Apple coin in June 2021.8586
         On June 24 2021, Scarlett stated she received the coin for “for really important stuff I did that
         means a lot to me.”87




79
   https://twitter.com/cherthedev/status/1476684475677306888,
https://web.archive.org/web/20220130012743/https://twitter.com/cherthedev/status/1476684475677306888
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   https://twitter.com/cherthedev/status/1473421774607900672,
https://web.archive.org/web/20220130013438/https://twitter.com/cherthedev/status/1473421774607900672
81
   https://www.gofundme.com/f/legal-medical-expenses-for-apple-whistleblower ,
https://web.archive.org/web/20220129193051/https://www.gofundme.com/f/legal-medical-expenses-for-apple-whistleblower
82
   Twitter, https://twitter.com/cherthedev/status/1488274880319537153,
https://web.archive.org/web/20220201010536/https://twitter.com/cherthedev/status/1488274880319537153
83
   Twitter, https://twitter.com/cherthedev/status/1349507023646429189,
https://web.archive.org/web/20220210091749/https://twitter.com/cherthedev/status/1349507023646429189
84
   Twitter, https://twitter.com/cherthedev/status/731197781105217536,
https://web.archive.org/web/20220210091726/https://twitter.com/cherthedev/status/731197781105217536
85
   Twitter, https://twitter.com/cherthedev/status/1479599175474028550,
https://web.archive.org/web/20220201184303/https://twitter.com/cherthedev/status/1479599175474028550
86
   Twitter, https://twitter.com/cherthedev/status/1407811921085190149,
https://web.archive.org/web/20220210092125/https://twitter.com/cherthedev/status/1407811921085190149
87
   Twitter, https://twitter.com/cherthedev/status/1408013117347577856,
https://web.archive.org/web/20220210092411/https://twitter.com/cherthedev/status/1408013117347577856
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                        Photo of “Apple Global Security” Challenge Coin posted
                                   by Cher Scarlett on Jan 31 2022


     -    On Feb 5th 2022, Scarlett wrote Gjovik saying she notified Apple Inc of actions taken by Gjovik
          which she felt were harmful to Apple Inc
         o “I did not report any harassment to Twitter from you except yours to me. I did not say who I
           alerted, I just said "them". Implying that people are trying to have you assassinated or cause
           you to kill yourself, me included, is extremely harmful, and I alerted APPLE about the chain of
           tweets involved in doing so. I was criticizing both Apple and Twitter for applying the rules to
           the tweets about the men and current employees.” -Cher Scarlett

Shantini Vyas
   - Shantini was an engineer at Apple until some point in September when she joined Twitter
      engineering 88
   - Shantini did not explain the reasons she left Apple but she has said she was interviewing for a
      different team at Apple in January 2020,89 she posted on Aug 13 2021 that she was leaving
      Apple & called it “bittersweet,” 90 and she said she had been “battling” for accommodations.
      With Apple for “two years” and it “came to a point where [her] future with the company became
      uncertain.91




88
   Twitter, https://twitter.com/_shantini_/status/1426214408150208515,
https://web.archive.org/web/20220129110912/https://twitter.com/_shantini_/status/1426214408150208515
89
   Twitter, https://twitter.com/_shantini_/status/1468410243138871304,
https://web.archive.org/web/20220210084848/https://twitter.com/_shantini_/status/1468410243138871304
90
   Twitter, https://twitter.com/_shantini_/status/1426214409651867653,
https://web.archive.org/web/20220210085205/https://twitter.com/_shantini_/status/1426214409651867653
91
   Twitter, https://twitter.com/_shantini_/status/1426214411589537792,
https://web.archive.org/web/20220210085316/https://twitter.com/_shantini_/status/1426214411589537792
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Conspiracy Network
Sept 2 2021 – Public Twitter.com Post
   • Shantini Vyas: Okay y’all. I am muting and going back to my dogs. Peace. 92
          o 🛑 Ricky Mondello (Employer): : Hi, you’re great.
                 ▪ Liked by Shantini Vyas
                 ▪ Shantini Vyas: Aw no you are!
                        • Liked by 🛑 Ricky Mondello

Sept 6 2021 10:15pm – Public Twitter Post
   • I “follow” Ricky Mondello (Employer): on Twitter
   • 🛑 Ricky Mondello (Employer): Keep your friends close. That’s it. 93

Sept 9 2021 10:08pm – Public Twitter.com Post
- Cher Scarlett (@cherthedev): Important! The NLRB investigates ALL charges brought to its office.
   It isn't indicative of prosecution of cases or merit in charges. I still strongly believe in the case
   myself and Apple employees have brought regarding unlawful statements and application of rules
   around pay. 94
        o Liked by Shantini Vyas

Sept 10 2021 9:27am – Public Twitter.com Post
   • Shantini Vyas: It’s come to my attention that there are people? Out here? Defending me?
                    95

            o Liked by Cher Scarlett
            o Shantini Vyas: A tweet of mine ended up in a news story and some people on the
               internet did not like it. 96
                   ▪ Liked by Cher Scarlett
            o Kev Kitchens: We got your back!97 (Liked by Vyas)
     •   Liked by:
            o Managers (employer): Bryan Bartow (@bryanbartow)



92
   Twitter, https://twitter.com/_shantini_/status/1433456310582927361,
https://web.archive.org/web/20220129111957/https://twitter.com/_shantini_/status/1433456310582927361
93
   Twitter, https://twitter.com/rmondello/status/1435109440278044674,
https://web.archive.org/web/20220129205814/https://twitter.com/rmondello/status/1435109440278044674
94
   Twitter, https://twitter.com/cherthedev/status/1436194928351014942;
https://web.archive.org/web/20220128045815/https://twitter.com/cherthedev/status/1436194928351014942
95
   Twitter, https://twitter.com/_shantini_/status/1436361127043162114,
https://web.archive.org/web/20220129211339/https://twitter.com/_shantini_/status/1436361127043162114
96
   Twitter, https://twitter.com/_shantini_/status/1436365689154162689,
https://web.archive.org/web/20220129210059/https://twitter.com/_shantini_/status/1436365689154162689
97
   Twitter, https://twitter.com/kitchens_sync/status/1436388407463137285,
https://web.archive.org/web/20220129211411/https://twitter.com/kitchens_sync/status/1436388407463137285
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            o Engineers: Ken Ryall (@kenryall), Cher Scarlett (@cherthedev), J.S. (@64bitjoe),
              Ross Freeman (@rfree18), Steven Peterson (@squeakytoy), Leandro Ivan
              (@leandroivan), Kev Kitchens (@kitchens_sync), Sarah Kim (@___skim), Andi Rohn
              (@andi_rohn)

Sept 14 2021 – Public Twitter.com Post
   • Cher Scarlett (@cherthedev): Guess I found the author of the most foul anon DM I’ve ever
       received on Reddit. Meanwhile, all my past managers want to hire me back. Funny how that
       works, isn’t it? [Screenshot: “crissnovak: Better know it solid or get Gjoviked!”] 98
   • Cher Scarlett (@cherthedev): Also, who SAYS that 99
           o Liked by Shantini Vyas (@_shantini_)
   • [Redacted]: What does “get gjoviked” mean? 100
           o Cher Scarlett (@cherthedev): I think he means I’m going to get fired. 101
                  ▪ Liked by BabyHummingbird (@gbluvsf)
           o [Apple Employee]: I don’t know. I am reminded of the radar item to make her life a
              living hell. There’s a lot of evil they can do before firing and I hope neighed comes to
              pass with you. 102
                  ▪ Cher Scarlett: That was from quite some time ago, unrelated to any of this 103
                  ▪ Cher Scarlett: Also, my team is super supportive of me, and would never engage
                       in anything of the sort 104
           o [Redacted]: I just got retweeted by Ashley Gjøvik and now I get it. Jeez, what a p.o.s. to
              dm you like that. And now some unstable stalker has slid into the replies to my question
              like i care what some internet random thinks with their garbo account over a person I
              follow and admire. 105

Sept 16 2021 – Public Twitter.com Post
   • Cher Scarlett (@cherthedev): GoFundMe is a great crowdfunding resource for people in need.
       People who are extremely privileged financially should be using other mechanisms to obtain


98
   Twitter, https://twitter.com/cherthedev/status/1437858991904722944,
https://web.archive.org/web/20220129204231/https://twitter.com/cherthedev/status/1437858991904722944?s=20&t=VCeoU
4rUoZXwa74t8O5VbA
99
   Twitter, https://twitter.com/cherthedev/status/1437859383250087938 ,
https://web.archive.org/web/20220207023114/https://twitter.com/cherthedev/status/1437859383250087938
100
    Twitter, https://twitter.com/LeksiW/status/1437859860134211592 ;
https://web.archive.org/web/20220131022755/https://twitter.com/LeksiW/status/1437859860134211592
101
    Twitter, https://twitter.com/cherthedev/status/1437860176166461440,
https://web.archive.org/web/20220129204353/https://twitter.com/cherthedev/status/1437860176166461440
102
    Twitter, https://twitter.com/arjankoole/status/1437881691901763587;
https://web.archive.org/web/20220131004835/https://twitter.com/arjankoole/status/1437881691901763587
103
    Twitter, https://twitter.com/cherthedev/status/1437882008361787394,
https://web.archive.org/web/20220131022450/https://twitter.com/cherthedev/status/1437882008361787394
104
    Twitter, https://twitter.com/cherthedev/status/1437882087550246913,
https://web.archive.org/web/20220131022532/https://twitter.com/cherthedev/status/1437882087550246913
105
    Twitter, https://twitter.com/LeksiW/status/1437912003260080132;
https://web.archive.org/web/20220131004834/https://twitter.com/LeksiW/status/1437912003260080132
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         residual income from supporters. Buy Me a Coffee is a great platform. Using GFM as residual
         income is predatory. 106
             o Retweeted: Shantini Vyas

Oct 12 2021– Public Post on Twitter
   - Shantini Vyas: I tweeted some stuff about that one lady who got fired from Apple. But I deleted
       as I decided I’m not going to ruin my day with anger at someone inconsequential 107
           o Liked by: Cher Scarlett, Kev Kitchens, Zach Gardner, Rick Gigger, Sarah Kim, Ross
                Freeman
   - Cher Scarlett (@cherthedev): Proud of you. There’s really no point in it. Good News outlets
       don’t take her seriously because her story shifts like a chameleon, and eventually, it will all work
       itself out. 108
           o Liked by:, 🛑 Ricky Mondello, Shantini Vyas, Brian Gannin, Sarah Kim, Zach
                Gardner,

Nov 2 2021 – Public Twitter.com Posts
   - Shantini Vyas: Idk how, but Twitter has way more internal intrigue than Apple did
   - Shantini Vyas: Maybe I was just blissfully unaware or maybe the at Apple was just not that
       interesting
   - Shantini Vyas: I feel like I knew some people at Apple that trafficked in the drama and politics.
       It was exhaustin
   - 🛑 Eric Vitiello (Employer): : Oooooh?
   - Shantini Vyas: NOT U
   - Shantini Vyas: The amount of times I heard about the two words some guy said to Steve one
       time
   - 🛑 Eric Vitiello (Employer): I do not know of this story. Please share the drama. 109

Nov 6 2020 – Public Twitter.com Posts
   • 🛑 Ricky Mondello (Employer): Is Lower Decks worth watching?
   • Aaron Brager (Apple Manager from 2005-2012, Retail in Annapolis & Towson MD, Chicago,
       IL): Omg Ricky its so good
   • 🛑 Faye Garfinkle (Employer): Oh hello, small world! Hi Aaron!
   • Aaaron Brager: Hi Faye!
   • 🛑 Ricky Mondello (Employer): “Hi Aaron and Faye [Garfinkle]! (I too love friends meeting
       friends!)110
106
    Twitter, https://twitter.com/cherthedev/status/1438597588685492239,
https://web.archive.org/web/20220203040405/https://twitter.com/cherthedev/status/1438597588685492239
107
    Twitter, https://twitter.com/_shantini_/status/1447926059903557632,
https://web.archive.org/web/20220131035341/https://twitter.com/_shantini_/status/1447926059903557632
108
    Twitter, https://twitter.com/cherthedev/status/1447927265166249997,
https://web.archive.org/web/20220131033740/https://twitter.com/cherthedev/status/1447927265166249997
109
    Twitter, https://twitter.com/pixel/status/1455747599139438594,
https://web.archive.org/web/20220131033115/https://twitter.com/pixel/status/1455747599139438594
110
    Twitter, https://twitter.com/rmondello/status/1324785593730048006 ,
https://web.archive.org/web/20220131033056/https://twitter.com/rmondello/status/1324785593730048006
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      •   Aaron Brager: Have you seen Lower Decks, we should do a Group FaceTime when everyone is
          caught up on Season 1

Dec 2 2021 – Public Twitter.com Post
   - Shantini Vyas: I’m really struggling with all the negativity recently so I’m trying to share some
       kindness. If you like this Tweet and I know you, I’ll reply with a compliment. 111
   • Shantini Vyas: Cher Scarlett, you’re so very smart and insightful. I love your perspectives.
       Also, your ability to know when someone needs help. 112
   • Shantini Vyas: Kev Kitchens you always bring a smile to my face with your humor and
       compassion!113
   • Shantini Vyas: Bryan Bartow @bryanbartow where do I begin. There have been so many times
       I’m grumpy and I get a response from you that makes me laugh so hard. I’m still sad we never
       got to work together.
           o Brian Bartow: I was just about to ask you instead of a compliment JUST COME BACK
               PLZ, but you beat me to it.114
   - Shantini Vyas: Sarah Kim @____skim Sarah you’re so open and honest and I feel I relate to so
       much of what you share. Also you’re funny as hell.
           o Sarah Kim: o my god this was the sweetest thing thank u ;;;;;;; i also really appreciate
               your openness and honesty and your willingness to speak up on sensitive matters 115
   - Shantini Vyas: Adrian Eves: @swifteveswow where do I begin. You’re just so accepting. I
       don’t know anyone with a bigger heart 116
   - Shantini Vyas: Ben Gannin: @bganninyou’re so passionate about what you believe in!117
   - Jeff—(@Darchmare): I know what you mean about the negativity lately with... <gestures
       broadly>. The inherent toxicity can really bring a person down. Anyhow, I hope your friends
       offer up some positivity for you soon. 118
           o Liked by Shantini Vyas
Dec 30 2021 – Public Posts on Twitter.com
   - Cher Scarlett (@cherthedev): I've learned this year to ignore people defaming me and harassing
       me. I'm not perfect at it, and having people you can vent to who have all of the facts and context


111
    Twitter, https://twitter.com/_shantini_/status/1466426081792040961,
https://web.archive.org/web/20220129191425/https://twitter.com/_shantini_/status/1466426081792040961
112
    Twitter, https://twitter.com/_shantini_/status/1466543613538553857,
https://web.archive.org/web/20220129201425/https://twitter.com/_shantini_/status/1466543613538553857
113
    Twitter, https://twitter.com/_shantini_/status/1466553165126733827 ,
https://web.archive.org/web/20220129201438/https://twitter.com/_shantini_/status/1466553165126733827
114
    Twitter, https://twitter.com/bryanbartow/status/1466465800357875716 ,
https://web.archive.org/web/20220129201516/https://twitter.com/bryanbartow/status/1466465800357875716
115
    Twitter, https://twitter.com/_shantini_/status/1466452230404337669,
https://web.archive.org/web/20220129201453/https://twitter.com/_shantini_/status/1466452230404337669
116
    Twitter, https://twitter.com/_shantini_/status/1466542418828816389,
https://web.archive.org/web/20220129201459/https://twitter.com/_shantini_/status/1466542418828816389
117
    Twitter, https://twitter.com/_shantini_/status/1466543718132256769,
https://web.archive.org/web/20220129201505/https://twitter.com/_shantini_/status/1466543718132256769
118
    Twitter, https://twitter.com/Darchmare/status/1466427916213006337,
https://web.archive.org/web/20220129201513/https://twitter.com/Darchmare/status/1466427916213006337
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          is crucial. It took me a while not to feel like ignoring it made me an emotional abuse punching
          bag. I'm not. 119
              o Liked by: Shantini Vyas (@_shantini_), Steven McGrath (@McGrathPDX), Andi Rohn
                  (@andi_rohn)
      -   Cher Scarlett (@cherthedev): There is no way to correct all of the misinformation that
          circulates about you, and everyone has a different version of you in their head. No amount of
          oversharing and explaining will make that version of you reflective perfectly of who you are.
          Don't waste your time. 120
              o Liked by: Shantini Vyas (@_shantini_), Molly White (@molly0xFFF),

Jan 4 2022 – Public Twitter.com Post
- 🛑 Ricky Mondello (Employer): That’s right it goes in the square hole. 121
       o [Video of bird placing objects in different shaped holes.]
- Shantini Vyas: I understood that reference. 122

Jan 8 2022 – Public Twitter Post
   • Shantini Vyas: that ashley person is stoking her followers into making fun of someone's
       overdose. seems totally legit and like she's a real activist 123
          o Liked by: Managers: 🛑 Eric Vitiello; Employees: Steven McGrath, Cher Scarlett,
              Harrison, Ross Freeman, Juan Laube
          o Ankit Aggarwal: “best person”
                  ▪ Liked by Shantini Vyas
          o Brian Gannin: Gotta stay on brand.
                  ▪ Liked by Shantini Vyas & Cher Scarlett

Jan 12 2022 -- Public Twitter.com Post
   • Adrian Eves (@swifteves): In case you didn’t know, Shantini is good people
          o Liked by 🛑 Ricky Mondello, Cher Scarlett, Shantini Vyas, Kev Kitchens
   • Cher Scarlett (@cherthedev): We are all Shantini somewhere
          o Liked by Shantini Vyas & Adrian Eves
   • Shantini Vyas: Awww but you’re the greatest people! 124
          o Liked by🛑 Ricky Mondello, Cher Scarlett, & Adrian Eves



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    Twitter, https://twitter.com/cherthedev/status/1476351662746857474,
https://web.archive.org/web/20220129221010/https://twitter.com/cherthedev/status/1476351662746857474
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    Twitter, https://twitter.com/cherthedev/status/1476351953739268098,
https://web.archive.org/web/20220129232650/https://twitter.com/cherthedev/status/1476351953739268098
121
    Twitter, https://twitter.com/rmondello/status/1479128619675013120 ,
https://web.archive.org/web/20220129181249/https://twitter.com/rmondello/status/147912861967501312
122
    Twitter, https://twitter.com/_shantini_/status/1479128797584760835;
https://web.archive.org/web/20220202022641/https://twitter.com/_shantini_/status/1479128797584760835
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    Twitter, https://twitter.com/_shantini_/status/1479974987540881410;
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    Twitter, https://twitter.com/_shantini_/status/1481392008325439489
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      •   Cher Scarlett (@cherthedev): I think we need 1 of these a day for like a week 125
            o Liked by Shantini Vyas & Adrian Eves
      •   Adrian Eves (@swifteves): AGREED
            o Liked by Shantini Vyas & Cher Scarlett
      •   Adrian Eves (@swifteves): Cher you're good people too, in case you were wondering. 126

Jan 14 2021 – Public Twitter.com Posts
   - Shantini Vyas: So I FaceTimed with @kitchens_sync and he’s even cooler than you think! And
       no that did not rhyme on purpose127
   - Kev Kitchens: Coincidentally, I’d say exactly the same about Shantini! 11/10, would
       recommend.128

Jan 15 2022 – Public Twitter Post
 • FirstnameBunchofnumbers (@FirstNa47437596):: Retweet: 🛑 Ricky Mondello (employer):
     Corporations don’t need anyone’s defense. They have money, lawyers, and a brand to protect them.
     But _the truth_ is critically important. We need to recognize when someone is manipulating the
     empathy and good will of others to fuel a personal vendetta and warpath. 129
 • FirstnameBunchofnumbers (@FirstNa47437596): Retweet: George (gtinari): as a white person
     myself i have to say it is always amusing to me to see how other white people manage to constantly
     make the struggle about themselves. they always need the damn podium don't they? 130
           o Retweet: Shantini Vyas: (@_shantini_): Okay at the risk of *gestures wildly at Twitter*
               Apple is a big company. It’s got some problems. But it’s a great place to work for a lot of
               people. A certain employee has made it their mission to bring down Apple through
               whatever means necessary. Including straight LIES….. 131
 • FirstnameBunchofnumbers (@FirstNa47437596): Retweet: Verona Rupes
     (@MirandaRosalise): to be honest, the entire subject, the whole history, every time i dove into this
     person's history and their claims going back years, the more I came to doubt myself. I think she has
     some serious issues, and that something bad definitely was done to her, but the story is so muddy
           o Retweet: Shantini Vyas: (@_shantini_): Okay at the risk of *gestures wildly at Twitter*
               Apple is a big company. It’s got some problems. But it’s a great place to work for a lot of


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    Twitter, https://twitter.com/cherthedev/status/1481392881839472643,
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    Twitter, https://twitter.com/swifteves/status/1481393675745648644,
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    Twitter, https://twitter.com/_shantini_/status/1482097585817014272,
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    Twitter, https://twitter.com/kitchens_sync/status/1482098584669474817,
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    Twitter, https://twitter.com/rmondello/status/1433287029089988610,
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    Twitter, https://twitter.com/gtinari/status/1433452431980077057,
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    Twitter, https://twitter.com/_shantini_/status/1433270352919072771,
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                  people. A certain employee has made it their mission to bring down Apple through
                  whatever means necessary. Including straight LIES….. 132
  •    FirstnameBunchofnumbers (@FirstNa47437596): Retweet: Shantini Vyas: (@_shantini_): I
       have left race out of this, but there is a recurring theme here of white tears being used to co-opt the
       struggles of minorities. This is just like twisting the dagger: [Screenshot of Twitter replies between
       Ashley Gjovik & Mel Nayer]133
  •    FirstnameBunchofnumbers (@FirstNa47437596): Retweet: Shantini Vyas: (@_shantini_):
       Okay at the risk of *gestures wildly at Twitter* Apple is a big company. It’s got some problems.
       But it’s a great place to work for a lot of people. A certain employee has made it their mission to
       bring down Apple through whatever means necessary. Including straight LIES….. 134


Jan 30 2021 – Public Twitter.com Post
       o Shantini Vyas (@_shantini_): It’s sometimes tough but important to remember that people
          will view your shitposting differently if you’re not a white man. People finding you
          entertaining will not always translate into them wanting to be your friend/colleague. 135
              o Liked by Andi Rohi, Zach Gardner (@locriani), Sarah Kim ((@___skim), Cher
                  Scarlett (@cherthedev)
              o 🛑 Bryan Bartow (@braynbartow) (employer): BUT SOME WANT TO BE
                  YOUR FRIEND AND COLLEAGUE EVEN MORE PLZ COME BACK I DARE
                  YOU.136
                      ▪ Liked by David Spector (@dhmspector), Shantini Vyas (@_shantini)
          o Ankit Aggarwal (@aciidb0mb3r) are you crying about shitposting 137




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    Twitter, https://twitter.com/_shantini_/status/1433272794498969600,
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    Twitter, https://twitter.com/_shantini_/status/1487877110379204612,
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    Twitter, https://twitter.com/bryanbartow/status/1487898600474615818,
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    Twitter, https://web.archive.org/web/20220201005747/https://twitter.com/aciidb0mb3r/status/1487960053025939457,
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     Juris Doctor Candidate & Public International Law Certificate Candidate
2    Santa Clara University, Class of 2022
3    For Submission To:
      • U.S. NLRB: Region 32 & Office of General Counsel
4     • U.S. Department of Labor: Whistleblower Protection Program
5     • U.S. Attorney’s Office: Northern District of California
      • California DOJ: Office of the Attorney General
6     • California Department of Labor: DIR Labor Commissioners

7
8
                                                        Case No.:
9                                                       U,S. Dept of Labor: 9-3290-22-051
                                                        U.S. NLRB: 32-CA- 282142, 283161,
10                                                      284428 & 284441, & 288816
11                                                      U.S. EEOC 556-2021-00608
        MS. ASHLEY GJOVIK
                                                        U.S. SEC: 16304-612-987-465 & 16353-
12                     Complainant,                     506-600-213
               v.                                       CA Dept of Labor: RCI-CM-842830
13
                                                        LEGAL MEMO
14                                                      Date Action filed: February 7, 2022
15      APPLE INC., et al.,
                                                        Charges:
16                                                      National Labor Relations Act §8(a)(1)
                       Respondent.                      National Labor Relations Act §8(a)(4)
17                                                      CERCLA, 42 U.S.C. §9610
                                                        SOX 18 U.S.C.A. §1514A
18                                                      OSHA §11(c) 29 U.S.C. §660
                                                        18 U.S.C. §1512(a),(b),(c),(d)
19                                                      18 U.S.C. §1505
                                                        18 U.S.C. 1513
20
                                                        18 U.S.C. §371
21                                                      18 U.S.C. §876
                                                        Dodd-Frank 15 U.S.C. §78u-6(h)(1)(A)(iii)
22                                                      Racketeer Influenced & Corrupt
                                                        Organizations Act
23                                                      Civil Rights Act Title VII, 42 U.S.C. §2000e
                                                        CA Labor Code §232.5, §6310, §1102.5,
24                                                      §6399, & §132(a)
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INTIMIDATION, RETALIATION, & PROPAGANDA CAMPAIGN


                                  Evidence Report


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    •   U.S Department of Labor: Ashley Gjovik v Apple Inc., (Apple Inc/Gjovik/9-3290-22-051: CERCLA,
        SOX, & OSHA whistleblower retaliation).
    •   U.S. EEOC: Ashley Gjovik v Apple Inc., (556-2021-00608)
    •   U.S. DOJ: pending
    •   California Department of Labor: Ashley Gjovik v. Apple Inc., (RCI-CM-842830)
    •   California Civil Lawsuit: pending

See: Legal Memo for details on legal analysis

                                                    SUMMARY
        Under information & belief, Apple Inc, (via their managers, employees, & agents), have been
orchestrating an extensive propaganda & harassment campaign against Gjovik since August 2021. Under this
campaign, Apple Inc has made frequent, damaging false accusations about Gjovik’s actions and statements, her
motives and character, and her mental health. Apple Inc has also made numerous threats against her related to
retaliation, termination, litigation, blacklisting, and violence.
        The campaign started while she was still an Apple employee & has been waged by Apple managers
under their name & Apple position (i.e. Ricky Mondello, Faye Garfinkle, Eric Vitiello, DJ Capelis, Bryan
Bartow, & others) as well as current and ex-Apple employees (Cher Scarlett, Shantini Vyas, Amanda Harrison,
Kev Kitchens, Steven McGrath , Brian Ganninger Ankit Aggarwal & others), again, under their own names &
positions at Apple. There also appears to be a large online presence assumably contracted by Apple Global
Security which appears to have access to much of her private &/or personal information, and repeats, ad
nauseum, specific talking points assumably selected by Apple Inc for this campaign.
        This campaign is believed to be being waged in retaliation for Gjovik’s protected activity starting in
March 2021, and also in retaliation for her reporting Apple Inc’s unlawful conduct to the government and law


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enforcement in the summer of 2021, and continuing to participate in the government investigations. This
campaign is believed to be being waged in an effort to chill organizing & unionization efforts at Apple Inc,
intimidate witnesses from testifying to what Apple Inc did to Gjovik, coerce Gjovik to withdraw her complaints,
and to generally intimidate current Apple Inc employees from speaking out or reporting unlawful activity.
       This campaign began shortly after Gjovik started talking to the press and the government about her
safety, labor, and discrimination concerns but quickly amplified once she filed formal complaints against Apple
Inc with the NLRB, EEOC, U.S. Department of Labor, California Department of Labor, U.S. SEC, U.S. FBI,
and other regulatory & law enforcement agencies. Within days of her reports, the frequency and intensity of the
abuse dramatically increased, including threats of termination & other retaliation, threats of violence, threats of
litigation, threats of bankruptcy, threats against her friends and supporters, and much coercion to drop her
government complaints & to not file a lawsuit.
       Assumed agents of Apple Inc referred to Gjovik’s protected activities as “worthy of death,” and made
references to Gjovik dying from “double tap” gunshot wounds, that in Russia Apple whistleblowers would die
from a “car accident,” suggested Apple employee organizing around discrimination concerns be “relocated to
Afghanistan” to see how the “Taliban” would “deal” with Apple’s employee organizers, and noted Gjovik was
deserving of “death and rape threats.” One Twitter account posted the day after Gjovik was fired that the world
was “reaming” her and that Gjovik deserved it (violent anal sex).
       After Gjovik was fired, Apple Inc mailed her possessions from her office in a box full of broken glass
shards and them commented to her on her Twitter about the box before she opened it, alluding to it containing a
severed head of one of her loved ones. Agents of Apple Inc wrote Gjovik was “deserving of misery,” that they
looked forward to seeing Apple “swallow her & spit her out,” and that she is lucky Apple has not “crushed her
like a bug.” Even as of this week, an Apple Global Security employee communicated to Gjovik she did not
want Gjovik “to exist in her world.”
       Apple employees & assumed agents of Apple Inc suggested Apple Inc should / will sue Gjovik for
corporate espionage, disinformation, reputational bias, defamation, blackmail, and federal crimes, among other
things. Employees & agents suggested appropriate consequences for Gjovik’s protected activity included jail,
the death penalty, “suing her into oblivion,” “ending her,” “destroying her,” “ruining her,” and bankrupting her.
Apple managers & agents of Apple Inc referred publicly to the retaliation she faced from Apple Inc, including



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termination of her employment, as “invited upon herself” like “walking down a dark alley,” “finding out” for
“fucking around,” a “self-fulfilling prophecy,” and the “consequence” of “airing Apple’s dirty laundry.”
       Apple Inc agents also threatened to blacklist Gjovik from the technology, engineering, and legal
employment fields: including “never working in the tech industry again, never working for a large corporation
again, never getting a job as a lawyer, failing the California bar association’s Moral Character investigation, and
never getting a job anywhere again other than working in fast food.” Apple Inc, (through at least the actions of
Cher Scarlett and Shantini Vyas), effectively blacklisted Gjovik from access to the press, from access to &
support from leading activists, and certain access to social media platforms.
       Apple manager Ricky Mondello and ex-Apple employees Cher Scarlett and Shantini Vyas and other
Apple agents have referred to the journalists and publications who write about Gjovik’s protected activities as
“lacking credibility,” “anti-business,” not deserving of respect, creating “manufactured narratives,” “unethical,”
and causing “irreparable harm.” Cher Scarlett, speaking on her ”AppleToo” employee organizing platform has
stated she “ejected Gjovik from amplification,” “stopped amplifying Gjovik,” and called journalists who write
about Gjovik not “good news outlets.” Scarlett’s threatened she could “use her platform” to “destroy Gjovik.”
       Scarlett also recently began to claim Gjovik is “harassing,” “defaming,” and “extorting” her and went so
far as to report Gjovik to the U.S. FBI, though later said it was a mistake and blamed her actions on a narcotics
relapse. Gjovik has requested Scarlett stop contacting her numerous times, including requesting Scarlett stop
harassing her & her friends, and stop making defamatory statements about her. In December 2021, Gjovik
resorted to threatening she’d request a restraining order if Scarlett did not cease & desist. Scarlett did not stop.
As of the last week, Scarlett sent Gjovik a 3,000 word email making wild accusations, confirming she reported
Gjovik to the FBI, and demanding Gjovik remove certain evidence and accusations about Scarlett & her
associates from Gjovik’s federal administrative and criminal filings. When Gjovik refused to rescind her
allegations of Scarlett’s unlawful activity and refused to omit incriminating evidence, Scarlett then announced
she is pursuing frivolous, retaliatory litigation against Gjovik.
       Apple managers, employees, and agents have referred to Gjovik’s complaints to the federal and state
government about Apple Inc as “unsubstantiated,” “meritless,” “baseless,” “dead in the water,” and that there’s
“no case.” Apple’s agents referred to Gjovik as an “ambulance chaser” and her cases as “shakedown lawsuits.”
Apple manager Ricky Mondello and ex-Apple employees Cher Scarlett and Shantini Vyas have publicly called
Gjovik a “liar,” “predator,” “racist,” “inconsequential,” “not a real whistleblower,” “not a real activist.” These


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parties have described Gjovik’s protected activities as a “vendetta,” “warpath,” “perjury,” “fabricated
nonsense,” “misleading rhetoric,” & “misinformation.” Among other things, Apple Inc & their agents have
publicly called me a “liar, toxic, attention-seeking, obnoxious, vindictive, entitled, cancer, lacking credibility,
dishonest, malicious, a sociopath, a provocateur, unhinged, insane, overweight, a narcissist, ‘universally hated’,
a psychopath, paranoid, Bipolar, psychotic, schizophrenic, a grifter, a Karen, a Super Karen, Karenx100, a
‘typical feminist,’ and a ‘classic cow’.




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                                         REVIEW METHODOLOGY

        Through this unfortunate experience with Apple, I have attempted to document events and
communications that appeared odd, harmful, or which might be otherwise useful to reference later on. The
primary document collection was of screenshots and PDFs. I started writing this report based on those records,
and then gathered additional materials based on them, and for all evidence, attempted to cite a live, public
version of the communication that the reader can access themselves via the footnotes. Where possible, I
attempted to preserve digital evidence via 1) flat-file screenshot, 2) PDF, & 3) Internet Archive Wayback
Archive file.
        In effort to identify posts by Apple agents (not just random people online) I filtered & analyzed
comments looking for factors such as: overly specific to my situation & my personal information, including my
private personal information and/or information only Apple would know, lies and misrepresentations that only
benefited Apple &/or were frequently repeated, legalese, and rhetoric which fit common union-busting
techniques. I reviewed accounts looking for factors like: few/no followers, few posts and of those they are
specific to Apple, posts that are always very positive about Apple & defend Apple, lack of biographical
information provided, “liking” and “replying” to other suspicious accounts, age of account, & common
language patterns amongst accounts with similar attacks.
        The accounts and comments noted in this report are a best guess and should not be seen as exclusive.
Additional evidence should also be gathered such as IP & other account data to confirm accounts (such as
linked Apple Inc locations, employees, contractors, etc) & named employees/managers should be deposed and
asked to identify additional parties who participated. Apple Inc should be asked to confirm which accounts are
or are not acting on their behalf, directly or indirectly.




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                            UNLAWFUL THREATS MADE BY APPLE INC

THREATS OF VIOLENCE

    -   4 Aug 2021: If you didn't know that you were gonna get [death & rape] threats then you are honestly
        still a child. There's always consequences to you actions whether good or bad. I dont think you are child
        so I believe you just want attention. (Twitter)1
    -   7 Sept 2021: Espionage has long been treated as a crime worthy of death and all Apple would need to
        do is to make it apply to corporations and not just nations.” (Reddit) 2
    -   9 Sept 2021: A certified interrogator from Apple’s “Workplace Violence” team emails me and
        demands I get on the phone with him within the hour, but won’t tell me why.
    -   9 Sept 2021: “I said it in the last thread about bad, criminal employees, and I'll say it again. It's time for
        Apple to take out the trash. Do whatever it takes to identify and catch the leakers and then ruin their
        lives. Fire them, prosecute and go after them. Do whatever it takes. Hunt them down like wild
        animals. Leakers and other activist employees who believe that they can do as they please have no
        business being at Apple. I want to see them gone and I want to see them destroyed. Trashy employees
        do not belong at Apple. And who is surprised that the leakers go running to the garbage site called the
        Verge? They already had one campaign that backfired on them when the lunatic woman leaker was
        fired, now it's time to get rid of any remaining leakers and criminals. Go get 'em Tim! Espionage has
        long been treated as a crime worthy of death and all Apple would need to do is to make it apply to
        corporations and not just nations.” (Reddit) 3
    -   10 Sept 2021:): #ashleygjovik the world is both pandering to you and also reaming you. This sounds
        about right. #narcissist #youdeserveit #coward (Twitter) 4
    -   22 Sept 2021: [Tim Cook] gonna f@*k some peeps up (picture of racecar driver with a baseball bat) 5
    -   29 Sept 2021: Don’t open it! (Picture from the movie “7” with Brad Pitt in a field next to a box with a
        severed human head and the words “WHAT’S IN THE BOX”) 6
    -   30 Sept 2021: #Apple prides itself in it's packaging... but this is what arrived at my doorstep today. My
        personal effects from my office, shoved haphazardly in a random box, no packing materials, infused
        with Superfund fumes, [rocks], shards of glass, & spite. (Ashley Gjovik) 7
    -   15 Oct 2021: Maybe [Janneke} can go to Afghanistan and form her AppleToo group there , see
        how Taliban deals with her. (Apple Insider) 8


1
  Twitter, https://twitter.com/k1ngofgam3s/status/1423453566879076354
2
  Reddit, https://www.reddit.com/r/apple/comments/pt91m5/comment/hdv5qbj/ ;
https://www.reddit.com/r/apple/comments/pt91m5/comment/hdvtqqn/
3
  Reddit, https://www.reddit.com/r/apple/comments/pt91m5/comment/hdv5qbj/ ;
https://www.reddit.com/r/apple/comments/pt91m5/comment/hdvtqqn/
4
  Twitter, https://twitter.com/beezie_wacks/status/1436340545194905608,
5
  MacRumors, https://forums.macrumors.com/threads/apple-ceo-tim-cook-in-leaked-memo-we-are-doing-everything-in-our-power-to-
identify-leakers.2312633/,
6
  Twitter, DELETED, https://web.archive.org/web/20210929195613/https://twitter.com/SvatosJason/status/1443303485546532867
7
  Twitter, https://twitter.com/ashleygjovik/status/1443702363299188741
8
  Apple Insider, https://forums.appleinsider.com/discussion/224577;

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     -   15 Oct 2021: Good riddance! Another entitled brat who tried to politicize the workplace, and get a fat
         payout as a result. In a country like Russia, they would have a car accident. (Apple Insider) 9
     -   20 Dec 2021: Tomorrow's headline: Apple Whistleblower found dead of heart attack at 22 (never
         mind the double tap, nothing to see here). 10
     -   7 Jan 2022: Actual conversations" show both sides. Here's the other: [screenshot: Cher Scarlet: I said
         I’ll sign something if she writes it up. I literally don’t want her to exist in my world lol]. (Cher Scarlett)
         11

     -   30 Jan 2022: : “The nail that sticks out, gets hammered.” (Twitter) 12
     -   3 Feb 2022: Whistleblowers deserve a better voice than yours or Cheers or any one person. I hope
         Twitter shuts you down for some perspective. Your Tweets are like a feminist version of
         @ProudBoysUS @TrumpWarRoom 13
     -   5 Feb 2022: I’ll always have your back, [Cher Scarlett]. This thread [about Ashley] is very kind and
         fair, especially with everything you’ve been going through. [Pinned photo on user profile has two
         baseball bats that say “Fuck Around” & “Find Out.”]14
     -   5 Feb 2022: Implying that people are trying to have you assassinated or cause you to kill yourself,
         me included, is extremely harmful, and I alerted APPLE about the chain of tweets involved in doing
         so. (Cher Scarlett) 15




9
  Apple Insider, https://forums.appleinsider.com/discussion/224577;
10
   Reddit,
https://www.reddit.com/r/technews/comments/rkyslb/comment/hpg6bzu/?utm_source=share&utm_medium=web2x&context=3
11
   Twitter, https://twitter.com/cherthedev/status/1490097625495789569,
https://web.archive.org/web/20220205230927/https://twitter.com/cherthedev/status/1490097625495789569
12
   Twitter, https://web.archive.org/web/20220130031154/https://twitter.com/i_mspam/status/1487549097070379008
13
   Twitter, https://twitter.com/one_more_time_2/status/1489749317631967235,
14
   Twitter, https://twitter.com/medus4_cdc/status/1490167045354397699,
15
   Twitter, https://twitter.com/cherthedev/status/1490053004791218177,

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THREATS OF TERMINATION & RETALIATION

     -   4 Aug 2021: Haha and your never coming back you clown ass fool (Twitter)16
     -   4 Aug 2021: Honestly apple should probably just let her go, she seems to be the one creating the
         hostile workplace environment" (Twitter)17
     -   4 Aug 2021: As an Apple shareholder I hope they terminate her employment completely.
         (AppleInsider)18
     -   4 Aug 2021: WHERE EXACTLY DO U THINK BITING THE LITERAL HAND THAT FEEDS U
         ... WILL GET U.. HONESTLY THINK ABOUT THAT. (Twitter)19
     -   4 Aug 2021: I’m surprised Apple allowed her to work there while badmouthing the company. I would
         have gotten rid of that b**** so fast without extra compensation. Even now she’s still getting paid and
         still talking sh**. (AppleInsider)20
     -   5 Aug 2021: This woman is a psychopath and frankly is a danger to other Apple Employees! Would
         any of you feel safe working alongside a person like this? Be honest! Apple needs to bring the hammer
         and make an example of people like this, men or women (Apple Insider) 21
     -   12 Aug 2021: I’ve informed Apple they should fire [Gjovik] immediately (Christy Dehus) 22
     -   21 Aug 2021: I'd fire you in a heartbeat.(Twitter) 23
     -   23 Aug 2021: Apple - show these people the door (MacRumors)24
     -   26 Aug 2021 Leadership, if you’re reading this, punish the entitled minority and not the entire
         company.25
     -   23 Aug 2021: Seems like [Gjovik & Scarlett] just Tweet internal info all day, fire them both. They
         bring ZERO value (Apple Insider) 26
     -   26 Aug 2021 The HR conversation should be: It sounds like you are no longer happy here. I guess it’s
         time to part ways and make room for a better fit. We are looking for our next generation of leaders and
         you clearly are not it. Good luck. (MacRumors) 27
     -   26 Aug 2021: Those people wouldn’t quit. I’d have them fired 🔥🔥🔥 (MacRumors) 28



16
   Twitter, https://twitter.com/dake_smith/status/1423254970124718089,
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   Twitter, https://twitter.com/abm_11110/status/1423224560330084352
18
   Apple Insider, https://forums.appleinsider.com/discussion/223222;
19
   Twitter, https://twitter.com/dake_smith/status/1423254573393797123,
20
   Apple Insider, https://forums.appleinsider.com/discussion/223222;
21
   Apple Insider Forums, https://forums.appleinsider.com/discussion/223222/female-apple-employee-put-on-administrative-leave-
following-tweets-about-sexism-in-the-wor/p3 ,
22
   Emails, see screenshots
23
   Twitter, https://twitter.com/ashleygjovik/status/1429174603713191936
24
   MacRumors, https://forums.appleinsider.com/discussion/comment/3330761/#Comment_3330761,
25
   Team Blind, see screenshots
26
   Apple Insider, https://forums.appleinsider.com/discussion/223646, ;
27
   MacRumors, https://forums.macrumors.com/threads/apple-employees-increasingly-content-to-criticize-the-company-amid-switch-
remote-working-and-use-of-slack.2308761/
28
   MacRumors, https://forums.macrumors.com/threads/apple-employees-increasingly-content-to-criticize-the-company-amid-switch-
remote-working-and-use-of-slack.2308761/;

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     -   3 Sept 2021: They should fire her long time ago. One sick apple in the box always spoil others. The
         atmosphere and energy she was spreading especially as team leader is the worst thing. They should
         actually fire now all her team because they are all infected. Next is the one who hired her. (Twitter)29
     -   3 Sept 2021: Why people just don’t leave if they don’t like their work place? Why make it toxic for
         everyone else? This company grow too fast so a few bad apples came in and spoiling it for everyone.
         One toxic person can destroy positivity and peace anywhere. Get rid of them! (Twitter)
     -   10 Sept 2021: Apple should have fired cancer like this way earlier (Apple Insider) 30
     -   11 Sept 2021: The person who hired this wack job at Apple should also be fired 31
     -   15 Oct 2021: Companies don't hire employees so that the employees can "make change". Screw these
         people and their causes. They are hired to be employees, not activists. If the latter is more important to
         them, then they should either find another job or get fired. Either solution is fine with me. (Reddit) 32
     -   15 Oct 2021: Apple needs to fire the HR manager too for hiring these idiots. (Apple Insider) 33
     -   29 Oct 2021: I supported my coworker’s claims during an HR investigation against our Director. I was
         passed over for a promotion. The dumb fck that defended the Director got the promotion. Go figure
         (Twitter) 34
     -




29
   Twitter, https://twitter.com/DanielSavills/status/1436195552945913860,
30
   Apple Insider, https://forums.appleinsider.com/discussion/223877;
31
   Apple Insider, https://forums.appleinsider.com/discussion/223902;
32
   Reddit, https://www.reddit.com/r/apple/comments/q8y4ce/apple_fires_one_of_the_appletoo_movements_leaders/;
33
   Apple Insider, https://forums.appleinsider.com/discussion/224577;
34
   Twitter, DELETED, https://web.archive.org/web/20211028044923/https://twitter.com/LeglLovzSolr/status/1453584618729263108

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THREATS OF BLACKLISTING; RUINING LEGAL CAREER

     -   4 Aug 2021: u are delusional. You need medical help bad. Delusional fool. Hope u never get another
         job. No one needs to be around this nut case (Twitter) 35
     -   4 Aug 2021: DO U EVER WANT A JOB AGAIN ANYWHERE. (Twitter)36
     -   4 Aug 2021:: She seems more than a little unstable if you look at her Twitter history. Best if Apple
         shows her the door IMO PS - She has about a zero chance of ever working at a leading tech firm
         ever again (AppleInsider)37
     -   12 Aug 2021: Are you someone who can be trusted, like ever? If you’re gonna be a lawyer, who has
         attorney-client expectations, what client will trust you won’t use their words against them later?
         (Twitter) 38
     -   3 Sept 2021: Exactly, and she will soon be out of the compensation when investigation completes and
         find “no, your manager complimenting you is not harassment”, she will never get another job, would
         you hire her? (AppleInsider)39
     -   9 Sept 2021: Santa Clara University Law must be cringing. Prospective law students must be
         crossing that one off their list. Lol (Reddit) 40
     -   9 Sept 2021: The only thing toxic in all of this is HER. I wouldn’t hire this person. I wouldn’t rent to
         this person. I sure as hell wouldn’t date this person. She needs serious help. (Reddit) 41
     -   9 Sept 2021: Agreed. It isn't the fact that she is getting fired, it is why -Apple is alleging she deliberately
         violated the terms of employment, which sounds a lot like "dishonesty" on its face. It might not be, but
         that is enough to get a long [Moral Character] investigation going. (Reddit) 42
     -   9 Sept 2021: I know is this: I feel sorry for the next company that hires her (Reddit)43
     -   9 Sept 2021: I’d be more worried about her getting barred. This reflects badly on her character and
         it’s possible she’ll be denied to taking the bar exam. (Reddit) 44
     -   9 Sept 2021: I hope no one hire this manipulative maniac. (Reddit) 45
     -   10 Sept 2021: She’s going to find herself unemployable after this fiasco. You reap what you sow.
         Also there’s Karma, It’s a bitch. (Twitter)46
     -   10 Sept 2021:. The irony is: she's a law student graduating next year...How terrifying.
         (HackerNews.com)47


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   Twitter, https://twitter.com/dake_smith/status/1423252691464163331,
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   Twitter, https://twitter.com/dake_smith/status/1423254573393797123,
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   Apple Insider, https://forums.appleinsider.com/discussion/223222;
38
   Twitter, https://twitter.com/beezie_wacks/status/1425921919447040003,
39
   Apple Insider, https://forums.appleinsider.com/discussion/223785, ,
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   Reddit, https://www.reddit.com/r/apple/comments/plcc8i/apple_fires_senior_engineering_program_manager/;
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   Reddit, https://www.reddit.com/r/apple/comments/plcc8i/apple_fires_senior_engineering_program_manager/;
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   Reddit, https://www.reddit.com/r/apple/comments/plcc8i/apple_fires_senior_engineering_program_manager/;
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   Reddit, https://www.reddit.com/r/apple/comments/plcc8i/apple_fires_senior_engineering_program_manager/;
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   Reddit, https://www.reddit.com/r/apple/comments/plcc8i/apple_fires_senior_engineering_program_manager/;
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   Reddit, https://www.reddit.com/r/apple/comments/plcc8i/apple_fires_senior_engineering_program_manager/;
46
   Twitter, https://twitter.com/Chloeheather967/status/1436785837610504193;
47
   HackerNews, https://news.ycombinator.com/item?id=28477392;

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     -   10 Sept 2021: You think there are law firms that will want to hire her? She's toxic.
         (HackerNews.com)48
     -   10 Sept 2021: Seems like her career is done. Leaking internal stuff which marked "confidential" is
         the stuff that'll cause concerns. 49
     -   10 Sept 2021: Good luck to her getting another job in tech. $400k plus stock RSUs up in smoke -
         just like that (Apple Insider)
     -   10 Sept 2021: Lol are people just stupid and buying her 💩? stop with the stupidity, this woman is an
         absolute psychopath and I will bet no company will hire her again (Apple Insider)
     -   11 Sept 2021: Ashely Gjovik is pure evil and cancer. Hope she lose this case and never work
         anywhere again. (Reddit)
     -   11 Sept 2021: Apple is paying for her law school as well as her 386k salary. That is very nice but given
         her history, no law firm will hire her … lol 50
     -   11 Sept 2021: I don’t think she will ever get hired ever again, she has herself to thank 51
     -   11 Sept 2021: Since I doubt this psycho will ever be hired again by anyone, I would not want to
         spend the the legal fees if I were her. (Apple Insider) 52
     -   12 Sept 2021: there's no conspiracy she broke Apple's number one rule. She talked to the press while
         still employed. She is never going to work in tech again and since she is going to lose the lawsuit she
         should just apply to fast foods right away. (Twitter) 53
     -   13 Sept 2021: No Fortune 500 company will want to hire her after her public display. (Twitter) 54
     -   16 Sept 2021: You’ll never work as an attorney (Twitter). 55
     -   16 Sept 2021: I guess you'll have to make your killing in business this way, because it's the only killing
         you'll ever make. You've chosen to go radioactive. (Twitter)56
     -   15 Oct 2021: Publish their names so other employers know not to hire them. These are rotten
         apples. (Reddit) 57
     -   15 Oct 2021: What I’m saying is that industries need to keep a blacklist, names of people not to hire
         under any circumstances. (Reddit) 58
     -   20 Dec 2021: it really feels like [Gjovik’s] committing career suicide (Reddit) 59
     -   10 Jan 2022: Attn someone at @SantaClaraUniv: could you review the cyberbullying of Cher Scarlett
         coming from the account of your law student @ashleygjovik? Do you condone this behavior? Is this in
         line with the terms of your code of conduct? (Twitter)60

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   HackerNews, https://news.ycombinator.com/item?id=28477392;
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   HackerNews, https://news.ycombinator.com/item?id=28477392;
https://web.archive.org/web/20220128065558/https://news.ycombinator.com/item?id=28477392
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   Apple Insider, https://forums.appleinsider.com/discussion/223902;
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   Apple Insider, https://forums.appleinsider.com/discussion/223902;
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   Apple Insider, https://forums.appleinsider.com/discussion/223902;
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   Twitter, https://twitter.com/AllonsyAlonso85/status/1437335489611280384
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   Twitter, https://twitter.com/pri_dayal/status/1437622722662653954,
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   Reddit, https://www.reddit.com/r/apple/comments/pt91m5/tim_cook_says_employees_who_leak_memos_do_not/,
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   Twitter, https://twitter.com/i_mspam/status/1438899745557155841,
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   Reddit, https://www.reddit.com/r/apple/comments/q8y4ce/apple_fires_one_of_the_appletoo_movements_leaders/;
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   Reddit, https://www.reddit.com/r/apple/comments/q8y4ce/apple_fires_one_of_the_appletoo_movements_leaders/;
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   Reddit, https://www.reddit.com/r/technews/comments/rkyslb/apple_employee_blows_whistle_on_illegal_spying/;
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   Twitter, https://twitter.com/FirstNa47437596/status/1480750181142261760,

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     -   10 Jan 2022: @santaclarauniv this is a bad case of cyberbullying by one of your students that reflects
         poorly on your student body. Do you condone this? (Twitter) 61
     -   29 Jan 2022: [Gjovik will] never work as an attorney (Twitter)62
     -   20 Nov 2021: “Gjovik, who’s in law school” Why a change of career into law? Does it have to do with
         no employer wanting to hire a Senior Engineering Program Manager like her ever again? (Reddit)
         63

     -   20 Nov 2021: If she keeps at it, soon no law firm will want to hire her ever. (Reddit) 64
     -   20 Dec 2021: it really feels like she’s committing career suicide. (Reddit)65
     -   3 Feb 2022: Whistleblowers deserve a better voice than yours or Chers or any one person. I hope
         Twitter shuts you down for some perspective. Your Tweets are like a feminist version of
         @ProudBoysUS @TrumpWarRoom 66
     -   5 Feb 2022: Multiple people reported this person for their behavior to their University as far as I
         know, and the agencies currently involved do not know what to do as they've never had this happen in
         nearly 100 years. It's disturbing that the authorities have to get involved. (Cher Scarlett) 67




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   Twitter, https://twitter.com/FirstNa47437596/status/1481381439983685632,
62
   Reddit, https://www.reddit.com/r/apple/comments/pt91m5/tim_cook_says_employees_who_leak_memos_do_not/,
63
   Reddit, https://www.reddit.com/r/apple/comments/qymkji/bloomberg_apple_ceos_antileak_edict_broke_law/,
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   Reddit, https://www.reddit.com/r/apple/comments/qymkji/bloomberg_apple_ceos_antileak_edict_broke_law/,
65
   Reddit, https://www.reddit.com/r/iCloud/comments/rl9592/apple_employee_blows_whistle_on_illegal_spying/;
66
   Twitter, https://twitter.com/one_more_time_2/status/1489749317631967235,
67
   Twitter, https://twitter.com/cherthedev/status/1490053004791218177,

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THREATS AGAINST FRIENDS & COLLOGUES
      - 3 Sept 2021: They should fire her long time ago. One sick apple in the box always spoil others. The
        atmosphere and energy she was spreading especially as team leader is the worst thing. They should
        actually fire now all her team because they are all infected. Next is the one who hired her. (Twitter) 68
     - 29 Oct 2021: So far, she has tried desperately to use other victims for her own gain, made racist
        remarks, lied to the public, to the government, about what happened to her, and about me, and a
        bunch of other people who tried to help her. I cannot stand to watch good people such as yourself get
        wrapped up in her web. (Cher Scarlett)
      - 29 Dec 2021: You do not deserve to get sucked into this shit for standing up for someone else. I want
        to see her get justice, but perjuring herself and doing all of this is harmful to her and everyone else in
        the ripples (Cher Scarlett)69
     - 15 Jan 2022: She also seems to turn on these people pretty quick so you better watch yourself
        [directed at Apple whistleblower Dawn Underwood] (Twitter) 70
     - 15 Jan 2022: I think you need to take a look at the amount of hate that she's spewing. Look at all of the
        hate she has directed at Cher and others and anyone who says anything contrary she threatens to
        sue LOL she's not fighting Apple she's fighting everyone (Twitter) 71
     • 15 Jan 2022: Sure, if they actually broke a rule. But she thinks anyone who disagrees with her
        cyberbullying is a "troll" or works for Apple. People who haven't done anything wrong don't need to
        hide from the law, just from psycho Ashley who will stalk them and their families (Twitter) 72




68
   Twitter, https://twitter.com/DanielSavills/status/1436195552945913860,
69
   Text messages, see screenshots
70
   Twitter, https://twitter.com/FirstNa47437596/status/1482202558693212162,
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   Twitter, https://twitter.com/FirstNa47437596/status/1482202482893733892,
72
   Twitter, https://twitter.com/FirstNa47437596/status/1482214222951944192,

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                                 APPLE INC’S RETALIATORY ANIMUS
FORBIDDEN ANIMUS
     -   23 Aug 2021: Are you still a victim when you walk down a dark alley with the expectation of coming
         out unscathed, or did you invite that on yourself? (Apple Insider)73
     -   3 Sept 2021: You reap what you sow. Chalk it up to your stupidity and move on. (Twitter) 74
     -   9 Sept 2021: “Sometimes you fuck around, and then sometimes you find out.” (Ricky Mondello) 75
     -   9 Sept 2021: The way she's been attacking her employer on every possible front (including taking digs
         at the CEO and board of directors, repeatedly), this was basically a self-fulfilling prophecy. (Reddit) 76
     -   9 Sept 2021: Lmao “familiar”?! Girl, you better know it solid or get Gjøviked!... Apple is ruthless like
         that (Reddit) 77
     -   9 Sept 2021: I’m of the personal opinion she wrote her Apple obit when she posted to Twitter. As a
         seasoned employee, she more than others, we well aware of the consequences of airing ‘dirty
         laundry’ on an international social media site after all she’s signed as an employee. It backfired.
         (Twitter)78
     -   9 Sept 2021: She should have went in. Might’ve felt irreplaceable? Showed her hand when she didn’t go
         in. If went in, would’ve been severanced if fired. (Twitter)79
     -   9 Sept 2021: She deserves all the misery of being fired for violating policy. She’s a liar and she
         didn’t get away with it this time. (Twitter) 80
     -   9 Sept 2021: She was fired bc she was an awful employee (Reddit) 81
     -   9 Sept 2021: Good riddance. They should have fired her weeks ago. (Reddit) 82
     -   9 Sept 2021: Apple is allowed to keep secrets that aren’t violating any laws. What she leaked wasn’t
         violating any laws. She was fired with sufficient justification, but she’ll undoubtedly claim it was not
         justified and complain some more, maybe sue. She’ll lose, because she’s entirely to blame for her
         firing. (Reddit) 83
     -   10 Sept 2021: Apple fired you because they already know how this ends. There was no fixing the
         situation, so they waited and looked for a policy violation, found it, and booted you. They already
         know they’re shelling out money on this so why have you in the office? (Twitter)
     -   12 Sept 2021: there's no conspiracy she broke Apple's number one rule. She talked to the press while
         still employed. She is never going to work in tech again and since she is going to lose the lawsuit she
         should just apply to fast foods right away. (Twitter) 84

73
   Apple Insider, https://forums.appleinsider.com/discussion/comment/3331975/
74
   Twitter, https://twitter.com/Chloeheather967/status/1436303814236180481
75
   Twitter, https://twitter.com/rmondello/status/1436184099987681314,
76
   Reddit, https://www.reddit.com/r/apple/comments/plcc8i/apple_fires_senior_engineering_program_manager/;
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   Reddit, https://www.reddit.com/r/apple/comments/plcc8i/apple_fires_senior_engineering_program_manager/;
78
   Twitter, https://web.archive.org/web/20210910144621/https://twitter.com/DonnaW218654/status/1436332518370791425
79
   Twitter, https://web.archive.org/web/20210910144621/https://twitter.com/DonnaW218654/status/1436332518370791425
80
   Twitter, https://twitter.com/beezie_wacks/status/1436343966920679424 ,
81
   Reddit, https://www.reddit.com/r/apple/comments/plcc8i/apple_fires_senior_engineering_program_manager/;
82
   Reddit, https://www.reddit.com/r/apple/comments/plcc8i/apple_fires_senior_engineering_program_manager/;
83
   Reddit, https://www.reddit.com/r/apple/comments/plcc8i/apple_fires_senior_engineering_program_manager/;
84
   Twitter, https://twitter.com/AllonsyAlonso85/status/1437335489611280384

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     -   12 Sept 2021: oh cry me a river. She exposed herself online because she is a bitter little woman who
         broke her NDA and is now trying to cash in on it. I can't wait until Apple swallows her and spits her
         out just as fast. (Twitter) 85
     -   1 Jan 2022: it’s probably unwise to screenshot and publicly share screenshots from an employer who by
         your own account would love a reason to fire you. (David Evans) 86
     -   29 Jan 2022: “She’s a senior manager at Apple and going on a tirade against them over the ground
         beneath the building. What did she expect to have happen to her?” (Twitter) 87




85
   Twitter, https://twitter.com/AllonsyAlonso85/status/1437328481357111296
86
   Twitter, https://twitter.com/DaviddE_94/status/1477350150091780100 ,
87
   Twitter, https://twitter.com/i_mspam/status/1487889094046740483,

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                                            APPLE INC’S LAWFARE
LAWFARE: THREATS OF LITIGATION; PROSECUTION; BANKRUPTCY; “RUIN”

     -   26 Aug 2021: Send the cry babies to jail. (MacRumors) 88
     -   7 Sept 2021: Espionage has long been treated as a crime worthy of death and all Apple would need to
         do is to make it apply to corporations and not just nations.” (Reddit) 89
     -   9 Sept 2021: [Gjovik’s] lucky Apple didn't decide to crush her like a bug for violating the NDA
         (Reddit) 90
     -   9 Sept 2021: Not to mention... if she's gotten anything for the info, they may be able to also press
         charges for corporate espionage. She fucked up. (Reddit) 91
     -   9 Sept 202: I so hope Apple, Northrop Grumman, Irvine Company sue her and teach her a lesson. I
         think She thinks she going to get rich, but she’s going straight to the poor house. $300K + RSUs +
         healthcare + tuition reimbursement all up in smoke for this nonsense. Go Ashley go! (Reddit) 92
     -   9 Sept 2021: … If she wanted to send any of this to her lawyers or representatives, I can promise you
         they would be screaming lividly at her demanding she stop breaking Apple's policies and keep detailed
         records of all of this as all of my above arguments are the exact kind of things a defense lawyer would
         be pointing to, in order to disprove sincerity and good faith in her accusations. (Reddit)93
     -   9 Sept 2021:. It would be in your best interest to drop ideas of suing, or attempts at dragging them
         through any spiteful dirt, as it’ll co$t you. If not, seek counsel. (Twitter)94
     -   10 Sept 2021: Apple will sue the shit out [Gjovik] for disinformation and reputational loss.
         (Reddit)95
     -   10 Sept 2021: If there was legit something wrong don’t get yourself in trouble for defamation when
         your employer is simply treating you like an employee. (Apple Insider)
     -   10 Sept 2021: See more reason for 🍎 to sue than her. (Twitter)
     -   10 Sept 2021: Ashley is about to become a broke joke. (Apple Insider)
     -   10 Sept 2021: Apple and Irvine Company should sue her to oblivion. Considering her character, I
         highly
     -   11 Sept 2021: People say she is in law school, which Apple was paying pay, and do you see how
         Apple legal team just basically ended Epic Mobile, a billion dollar company? Good luck Ashley
         (AppleInsider) 96

88
   MacRumors, https://forums.macrumors.com/threads/apple-employees-increasingly-content-to-criticize-the-company-amid-switch-
remote-working-and-use-of-slack.2308761/;
89
   Reddit, https://www.reddit.com/r/apple/comments/pt91m5/comment/hdv5qbj/ ;
https://www.reddit.com/r/apple/comments/pt91m5/comment/hdvtqqn/
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   Reddit, https://www.reddit.com/r/apple/comments/plcc8i/apple_fires_senior_engineering_program_manager/;
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   Reddit, https://www.reddit.com/r/apple/comments/plcc8i/apple_fires_senior_engineering_program_manager/;
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   Reddit, https://www.reddit.com/r/apple/comments/plcc8i/apple_fires_senior_engineering_program_manager/;
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   Reddit, https://www.reddit.com/r/apple/comments/plcc8i/apple_fires_senior_engineering_program_manager/;
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   Twitter, https://web.archive.org/web/20210910144621/https://twitter.com/DonnaW218654/status/1436332518370791425
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   Reddit, https://www.reddit.com/r/apple/comments/plcc8i/comment/hccxlth/?utm_source=share&utm_medium=web2x&context=3
96
   Apple Insider, https://forums.appleinsider.com/discussion/223902;

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     -   11 Sept 2021: Apple could sue HER to oblivion for breaking her employment contract.
     -   11 Sept 2021: Apple just destroyed a Billion dollar company in Epic for being greedy. now they
         can turn all their attention to this ungrateful psychopath 97
     -   11 Sept 2021: Apple (w/it’s army of lawyers) can sue her and it would be an easy win because it’s a
         simple breach of contract case. Her counter suit for retaliation / harassment will be very challenging
         especially if her coworkers don’t have her back. They may be enjoying all that Apple $$$. Lawsuit
         would be chump change for Apple, but will certainly bankrupt her. I’ve never seen anyone so intent
         on ruining their own reputation / livelihood (Reddit)
     -   12 Sept 2021:. Besides it's not about her complaint, it's about the fact that she leaked info that's why
         she was fired. Apple will prove that in court and she'll disappear. (Twitter) 98
     -   15 Sept 2021: Dear Ms. Gjovik: On behalf of Apple Inc., we write to request that you remove certain
         images and video that you have displayed publicly in violation of your Confidentiality and
         Intellectual Property Agreement with Apple dated January 31, 2015 (the “IPA”). (Apple’s Lawyers)
     -   22 Sept 2021: Look at Gjøvik, went from $300K+ plus RSUs (poof!) to a GoFundMe. Keep blabbing to
         Zoe, girls, it’s clicks and money in her pocket while y’all go bankrupt going up against Apple.
         (Reddit) 99
     -   20 Oct 2021: Apple can sue her for defamation (I’m not a lawyer, but this seems obvious)
         (HackerNews) 100
     -   20 Nov 2021: The most likely outcome is that Apple connects the account to you, uses the fact that
         you’ve spoken about it to bring it up in court, and then uses your post history against you. Nuke
         the account and hope for the best. (Reddit) 101
     -   9 Jan 2022: Did you just admit to intimidating an Apple defense witness? Do you know that is a crime
     -   in the state of California? It doesn’t matter if the trail is ongoing/pending or not. I think you may have
         already committed a federal crime. Talk with your lawyer. “Applies to tampering with witness in
         “proceedings before congress, exec departments, and admin agencies, and to civil and criminal judicial
         proceedings, including grand jury proceedings….. [links]. 18 U.S. Code § 1512 (Twitter) 102
     -   3 Feb 2022: I hope all of this effort depletes your funds and support so maybe you go take a
         vacation and ponder doing something else. You are not a hero for whistleblowers, you are just a hero for
         Ashley Gjovik. (Twitter) 103
     -   5 Feb 2022: When federal agency employees are having operations meetings about someone's
         behavior because it is unprecedented -- you'd think they'd recognize they are being abusive and should
         re-evaluate their actions. (Cher Scarlett) 104
     -   5 Feb 2022: In my conversation with the federal agency about what occurred, and to avoid
         disparagement and defamation, I told them matter-of-factly what happened and they recommended I


97
   Apple Insider, https://forums.appleinsider.com/discussion/223902;
98
   Twitter, https://twitter.com/AllonsyAlonso85/status/1437331437611634689
99
   Reddit, https://www.reddit.com/r/apple/comments/pt91m5/comment/hdv964m/,
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    HackerNews, https://news.ycombinator.com/item?id=28830236 ,
https://web.archive.org/web/20220129213718/https://news.ycombinator.com/item?id=28830236
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          report this person to the FBI for extortion. Being a witness does not give you a license to abuse.
          (Cher Scarlett)105
      -   5 Feb 2022: Multiple people reported this person for their behavior to their University as far as I
          know, and the agencies currently involved do not know what to do as they've never had this happen in
          nearly 100 years. It's disturbing that the authorities have to get involved. (Cher Scarlett) 106
      -   5 Feb 2022: It is, yes, and it's why the judge found my anti-harassment order may have merit and
          ordered a hearing. (Cher Scarlett) 107
      -   "I only did this because she was asking people to take her at her word about the lies" No. She told
          *multiple people* it's because she thinks I'm testifying against her on Apple's behalf. She was even
          told by the NLRB I was only cited. And she tweeted it (physical copy) (Cher Scarlett) 108
      -   She decided to go on a tirade that ended in false CPS reports & my family being harassed (Cher
          Scarlett)109




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    Twitter, https://twitter.com/cherthedev/status/1490052091733164032,
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    Twitter, https://twitter.com/cherthedev/status/1490053004791218177,
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    Twitter, https://twitter.com/cherthedev/status/1490079021844996098,
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    Twitter, https://twitter.com/cherthedev/status/1490105751020269578,
https://web.archive.org/web/20220205233350/https://twitter.com/cherthedev/status/1490105751020269578
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    Twitter, https://twitter.com/cherthedev/status/1490106738317545472,
https://web.archive.org/web/20220205234743/https://twitter.com/cherthedev/status/1490106738317545472

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LAWFARE: COERCION TO WITHDRAW CHARGES & COMPLAINTS

      -       12 Aug 2021: If I receive anything from the police regarding a restraining order from you, the
              following below email goes directly to Tim Cook and Diedre O’Brien. (Christy Dehus) 110
      -       9 Sept 2021: Apple has determined that you have engaged in conduct that warrants termination of
              employment, including, but not limited to, violations of Apple policies. You disclosed confidential
              product-related information in violation of Apple policies and your obligations under the
              Intellectual Property Agreement (IPA). We also found that you failed to cooperate and to provide
              accurate and complete information during the Apple investigatory process. (Termination Letter)
      -       9 Sept 2021: Exactly, she’s “badass” with a part-time Santa Clara JD, she’s going to get steamrolled
              lololol (Reddit) 111
      -       9 Sept 2021: Her downfall is her hubris to think her Santa Clara law student status can battle an
              entire team of internal and external harvard/Yale/Stanford lawyers with experience (Reddit) 112
      -       9 Sept 2021: I miss the old days when we didn't let the mentally ill freely roam about the streets. We
              locked them up and put them in facilities for their own good and for the good of everybody else.
              (Reddit) 113
          -    9 Sept 2021:. It would be in your best interest to drop ideas of suing, or attempts at dragging them
               through any spiteful dirt, as it’ll co$t you. If not, seek counsel. (Twitter)114
      -       10 Sept 2021: Pride b4 fall. Got herself fired, so no settlement. Broke her contract with Apple, so no
              settlement. Made the choice to take it to Twitter, a Big mistake. Like the poster said, there are ways to do
              things, but she chose to do them her way, which led to a costly highway if sues. (Twitter)
      -       10 Sept 2021: My guess is she got greedy. The core of her issue lies in money aka “sexism.” Or Apple
              would want to settle with her, but instead she pridefully decided not to meet with them so who knows if
              she might have been fired with a healthy settlement, but instead she’s poisoned herself. (Twitter)
          -    doubt a reputable lawyer would even come near her case. A retainer fee for what she’s going up
               against will most certainly make her go broke. And then if she loses, a judge can make her pay all of
               Apple’s and Irvine Company’s legal fees. How’s that for hubris. Lol (Apple Insider)
          -    10 Sept 2021: Sure law firms will take her hard earned income/stock payout. (Twitter)
          -    11 Sept 2021: Given how weak her case is, I doubt any lawyer will take it hoping for settlement.
               (Apple Insider) 115
          -    11 Sept 2021: Apple will want to make an example of this psycho woman and will not settle. so I
               don’t think this will go forward 116
          -    11 Sept 2021: Sue Apple’s army of Ivy League lawyers with what money? Is she going to represent
               herself with a T3 law degree. I’m afraid she will get steamrolled. (Apple Insider) 117

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    Emails, see screenshots
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    Reddit, https://www.reddit.com/r/apple/comments/plcc8i/apple_fires_senior_engineering_program_manager/;
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    Reddit, https://www.reddit.com/r/apple/comments/plcc8i/apple_fires_senior_engineering_program_manager/;
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    Reddit, https://www.reddit.com/r/apple/comments/plcc8i/apple_fires_senior_engineering_program_manager/;
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    Twitter, https://web.archive.org/web/20210910144621/https://twitter.com/DonnaW218654/status/1436332518370791425
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      -   11 Sept 2021: The passive-aggressive profanity ridden vindictive Tweets will not win sympathy from
          a judge or juror. (Apple Insider) 118
      -   11 Sept 2021: Sometimes winning is learning when to walk away and starting new. Living a happy
          life (Success) is the best revenge. 119
      -   11 Sept 2021: She lost a solid Apple salary, RSUs (~millions had they vested) and platinum healthcare
          benefits plus other perks- and for what to be a “badass” ?? A very costly delusion. Good luck to Ashley
          Gjøvik, she’s going to need it! 120
      -   10 Sept 2021: Don’t sign then talk, especially when still working for a TRILLION dollar company who
          would drag a suit out until she is broke. Leave if internal methods failed. Now can’t sue since fired.
          And now HER dirty laundry is public knowledge so other companies will be hesitant to hire. (Twitter)
      -   10 Sept 2021: Since Ashley Gjovik took it to Twitter, so did Apple. If Apple employees are issued
          company iPhones they have a right to request all they did, same with non-disclosure agreements, which
          appears how the seasoned employee might end up giving them her saved pay back in legal fees.
          (Twitter)121
      -   10 Sept 2021: It's not worth it. Just let go of this whole drama, and get a job at some company that
          agrees with your views, one that can satisfy your every demand. You really are not anything in tech
          apart from some manager that once worked at Apple. Life is hard and has injustices and wrongs.
          You won't change this. (Email)122
      -   11 Sept 2011: Her suing would be the worst thing for her. They’ll throw her some equivalent of
          pocket change at her, make her sign an NDA and shut her up (AppleInsider) 123
      -   12 Sept 2021: there's no conspiracy she broke Apple's number one rule. She talked to the press while
          still employed. She is never going to work in tech again and since she is going to lose the lawsuit she
          should just apply to fast foods right away. (Twitter) 124
      -   17 Sept 2021: It will take the NRLB 5 seconds to figure out that Ms Ashley is a complete
          psychopath in addition to claiming a compliment from superior is harassment (Apple Insider) 125
      -   20 Sept 2021: “Ballpark idea how much your legal fees will be to take on Apple? I imagine $100K is
          not nearly enough.” 126
      -   9 Oct 2021: What she is doing now might really harm her ability to ever get hired again by a
          company in SV. (HackerNews) 127
      -   9 Oct 2021: She doesn’t want to move on with her life. … Who would ever want to hire her again,
          or provide her housing (after her whole anti-apartment rant toxicity rant)? (HackerNews) 128



118
    Apple Insider, https://forums.appleinsider.com/discussion/223902;
119
    Apple Insider, https://forums.appleinsider.com/discussion/223902;
120
    Apple Insider, https://forums.appleinsider.com/discussion/223902;
121
    Twitter, https://web.archive.org/web/20210910192103/https://twitter.com/MrNeoTheOne/status/1436408724839706630
122
    John Pratt, jpratt@redesign.codes; IP 68.12.230.58 (Oklahoma City, Oklahoma)
123
    Apple Insider, https://forums.appleinsider.com/discussion/223902;
124
    Twitter, https://twitter.com/AllonsyAlonso85/status/1437335489611280384
125
    Apple Insider, https://forums.appleinsider.com/discussion/224041;
126
    Twitter, https://web.archive.org/web/20210921153056/https://twitter.com/gbluvsf/status/1440010981388652545
127
    HackerNews, https://news.ycombinator.com/item?id=28813010,
128
    HackerNews, https://news.ycombinator.com/item?id=28813010,

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      -   20 Nov 2021: The most likely outcome is that Apple connects the account to you, uses the fact that
          you’ve spoken about it to bring it up in court, and then uses your post history against you. Nuke the
          account and hope for the best. (Reddit)129
      -   8 Dec 2021: Remember what Jesus Christ taught about retaliation. You are retaliating back at Apple.
          Matthew 5:38-4 "You have heard that it was said, 'An eye for an eye and a tooth for a tooth.' But I say to
          you, Do not resist the one who is evil. But if anyone slaps you on the right cheek, turn to him the other
          also. And if anyone would sue you and take your tunic, let him have your cloak as well. And if anyone
          forces you to go one mile, go with him two miles..." (Email) 130
      -   1 Jan 2022: Apple honestly doesn't care about you. (David Evans) 131
      -   7-8 Jan 2022: Cher attempting to get me to ask the Wikipedia arbitration committee to stop
          investigating an account harassing me
      -   11 Jan 2022: “I think you’re making life hard for yourself, and looking for a fight where there
          honestly wasn’t one. It’s probably best for your mental and even physical health to just move on.”
          (David Evans)132
      -   15 Jan 2022: You should probably get a clue that if Twitter doesn't even care about the alleged
          "wrongs" perpetrated against you that a court of law probably isn't going to either (Twitter) 133
      -   3 Feb 2022: I don’t think there’s nice things in there, nor do your opinions of others sound nice either. It
          seems hypocritical to make a 200+ NLRB complaint but not share written inventory of those YOU
          have offended with your words and actions. 134
      -   3 Feb 2022: Now people will associate whistleblowing with this 200+ page NLRB complaint that is
          too saturated with bias. Your bias. It’s unconscionable how you shared so many names.135
      -   3 Feb 2022: You deserve any dissent and I hope those people you named get Justice against you,
          because you have really been unfair, a bully, supremely egotistical, and just really a sad joke with
          your NRLB complaint. 136
      -   3 Feb 2022: I hope all of this effort depletes your funds and support so maybe you go take a
          vacation and ponder doing something else. You are not a hero for whistleblowers, you are just a hero for
          Ashley Gjovik. 137
      -   3 Feb 2022: I hope my opinions live on with the internet. Because I hope the internet can see how the
          200+ page NLRB complaint is a long stretch to call opinions on the internet “propaganda.” Thank
          god there is freedom on the internet to have opinions. Thank god for first amendment! 138
      -   3 Feb 2022: Also, you waste government resource on your TRO. That’s for people who are victims
          of DV, but you file it because you don’t like what someone says about you. Shame on you. 139


129
    Reddit, https://www.reddit.com/r/apple/comments/qymkji/bloomberg_apple_ceos_antileak_edict_broke_law/,
130
    The Messenger, IP 74.82.60.40 (Fremont, California 94536), (Corporate IP, Hurricane Electric)
131
    Twitter, https://twitter.com/DaviddE_94/status/1477413910680645638,
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    Email, see screenshots
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    Twitter, https://twitter.com/FirstNa47437596/status/1482203004371488771,
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    Twitter, https://twitter.com/one_more_time_2/status/1489746254372347905,
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    https://twitter.com/one_more_time_2/status/1489748197891137537,
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    Twitter, https://twitter.com/one_more_time_2/status/1489748553501057025,
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    Twitter, https://twitter.com/one_more_time_2/status/1489748938051620864,
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    Twitter, https://twitter.com/one_more_time_2/status/1489753276492881925 ,
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    Twitter, https://twitter.com/one_more_time_2/status/1489753945035526144,

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      -   5 Feb 2022: Please remove my tweets that cannot be reasonably justified to be connected to you
          from your January NLRB memo.(Cher Scarlett) 140
      -   5 Feb 2022: I am worried about what will happen to your mental health if any of your cases are
          dismissed due to any impropriety. (Cher Scarlett) 141
      -   5 Feb 2022: You need to delete my tweets from your memo that contain personal information about
          me and my family (Cher Scarlett) 142
      -   5 Feb 2022: You need to remove all assertions that I am accounts trolling you] (Cher Scarlett) 143

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140
    Unsolicited email via website webform on Feb 5 2022 (see PDF)
141
    Unsolicited email via website webform on Feb 5 2022 (see PDF)
142
    Unsolicited email via website webform on Feb 5 2022 (see PDF)
143
    Unsolicited email via website webform on Feb 5 2022 (see PDF)

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LAWFARE: DOUBT; DISINFORMATION; FALSE ACCUSATIONS

            Disinformation is deliberately deceptive. Disinformation is used today to describe a form of
        propaganda consisting of false information deliberately and often covertly spread to obscure the truth.

•     4 Aug 2021: She’s planning to blackmail Apple into getting rid of her with a large severance payment, and
      then setting herself up as a Twitter personality who advises other people on how to blackmail their
      employers into letting them work from home. (AppleInsider)144
•     4 Aug 2021: Ambulance chasing psychopath (AppleInsider)145
•     4 Aug 2021: They told her they were investigating it, gave her some paid leave options in the meantime,
      and asked her to stop posting potentially defamatory statements until the investigation was done...
      (Twitter)146
•     4 Aug 2021: This particular “alleged victim” made similar allegations back in 2018: those were found
      false. (AppleInsider)147
•     4 Aug 2021: Note that this person had filed similar allegations back in 2018 and they were proved false.
      Also keep in mind that this is the same employee who a week ago or so disclosed the Apple internal
      survey to screen for vaccination rates in its employees population, posting it on Twitter and saying: “no
      way I’ll answer to such question” (despite the survey contained also a choice as in “prefer not to answer”).
      (AppleInsider)148
•     21 Aug 2021: this is an ACTIVE @Apple investigation and the managers accused are now receiving death
      threats. Stop sharing confidential info/screenshots that could reveal identity of those involved. (Twitter) 149
•     21 Aug 2021: Managers accused are now receiving death threats. Take down the work screenshots
      because identities are being outed and lives are now at risk. (Twitter)150
•     1 Sept 2021: By creating bogus, unsubstantiated filings with the DOJ and other regulatory bodies, this
      person has just endangered the future cases of people with legitimate claims. (Shantini Vyas)151
•     3 Sept 2021: Ashley Gjovik receives $386,000 per year in compensation from Apple. Right now she is
      being paid for doing absolutely nothing as she is on paid leave while they investigate her false and
      misleading claims. She doesn’t need your sympathy money (AppleInsider) 152
•     9 Sept 2021: Apple has determined that you have engaged in conduct that warrants termination of
      employment, including, but not limited to, violations of Apple policies. You disclosed confidential
      product-related information in violation of Apple policies and your obligations under the Intellectual
      Property Agreement (IPA). We also found that you failed to cooperate and to provide accurate and
      complete information during the Apple investigatory process. (Termination Letter)

144
    Apple Insider, https://forums.appleinsider.com/discussion/223222;
145
    Apple Insider, https://forums.appleinsider.com/discussion/223222;
146
    Twitter, https://twitter.com/abm_11110/status/1423223906899529730
147
    Apple Insider, https://forums.appleinsider.com/discussion/223222;
148
    Apple Insider, https://forums.appleinsider.com/discussion/223222;
149
    Twitter, https://web.archive.org/web/20210822103330/https://twitter.com/mel_nayer/status/1429215554913533957
150
    Twitter, https://web.archive.org/web/20210822125916/https://twitter.com/mel_nayer/status/1429206330485575682
151
    Twitter, https://twitter.com/_shantini_/status/1433270371915116544,
152
    Apple Insider, https://forums.appleinsider.com/discussion/223785, ,

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•     9 Sept 2021: It was never about her wanting to win a case or fight sexism; she and everyone else at Apple
      knew the case was dead in the water. Just a semi-clever manipulation tactic to intimidate Apple…..
      Disgusting. (Reddit) 153
•     9 Sept 2021: Important! The NLRB investigates ALL charges brought to its office. It isn't indicative of
      prosecution of cases or merit in charges. I still strongly believe in the case myself and Apple employees
      have brought regarding unlawful statements and application of rules around pay (Cher Scarlett) 154
•     9 Sept 2021: I think when the NLRB, EEOC slams the door on Karen’s face because there’s no case,
      we’ll see more Twitter tirades about how corrupt these agencies are. Dear Apple please don’t pay her a
      fucking dime; awarding toxic behavior will only perpetuate it. She needs to learn a hard lesson in life and
      gain some maturity. (Reddit) 155
•     10 Sept 2021: She clearly doesn't have a lawyer, so I'd guess all of her claims are entirely baseless.
      (HackerNews.com)156
•     10 Sept 2021: Ashley Gløvik has been getting her her law degree from home while on paid sick leave from
      Apple. She will likely be spearheading her own shakedown lawsuit…(Engadget) 157
•
      10 Sept 2021: Everything I've read indicates her only goal to get hired at Apple was to build a lawsuit
      against a multi-billion dollar company. (Engadget) 158
•     10 Sept 2021: Ashley is a Sr Engineer PM. She’s been at Apple for more than 6 years and Nike before that.
      She’s made ten’s of millions in total comp. She does not need a gofundme. (Twitter)159
•     10 Sept 2021: They were investigating her for leaking internal information and she refused to participate
      unless they would give her additional documents that she could disseminate. How should we expect the
      investigation to play out after that? (Twitter) 160
•     10 Sept 2021: She lied about being doxed on Blind. (HackerNews.com)161
•     10 Sept 2021: She'll complain to the NLRB in the hopes of getting some more publicity. (Apple Insider)
•     10 Sept 2021: Apple undoubtedly followed a process that will, at the very least, withstand legal
      scrutiny. Proving wrongful termination is nearly impossible without hard evidence of things like age, sex or
      racial discrimination. She was an At Will employee, so she could be fired for nearly any reason. She also
      allegedly publicly disclosed a confidential security tool, and obviously painted her employer in a bad light
      in public. Either one is easily fireable. (Apple Insider)
•     10 Sept 2021: she wanted to go on a misinformation campaign (Apple Insider)
•     10 Sept 2021: AG seems hypochondriac taking professional criticism personally, wanted fired to sue for
      personal reasons cloaked by victimization. (Twitter)
•     11 Sept 2021: It was still a violation and someone else mentioned one of her tweets had proprietary
      information in it. It’s going to be hard to prove this was retaliatory. (Cher Scarlett)
•     11 Sept 2021: Gjovik has yet to produce any evidence of merit. (Reddit)

153
    Reddit, https://www.reddit.com/r/apple/comments/plcc8i/apple_fires_senior_engineering_program_manager/;
154
    Twitter, https://twitter.com/cherthedev/status/1436194928351014942;
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    Reddit, https://www.reddit.com/r/apple/comments/plcc8i/apple_fires_senior_engineering_program_manager/;
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    HackerNews, https://news.ycombinator.com/item?id=28477392;
157
    Engadget, https://www.engadget.com/apple-fires-ashley-gjovik-025858158.html,
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    Engadget, https://www.engadget.com/apple-fires-ashley-gjovik-025858158.html,
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    Twitter, https://twitter.com/Heffer/status/1436295747050168320,
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    Twitter, https://twitter.com/reprobations/status/1436372885870821377,
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    HackerNews, https://news.ycombinator.com/item?id=28477392;

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•     11 Sept 2021: I honestly don’t know a respectable lawyer that would go down this path with her,
      especially with all her Tweets out there. (Reddit)
•     11 Sept 2021: “Gjovik has yet to produce any evidence of merit” (Reddit) 162
•     11 Sept 2021: This just kinda means the EEOC investigated her claims and probably didn’t find anything
      they were willing to act on. The only final option for her is a private law suit. (Reddit)163
•     11 Sept 2021: The thing is…this just kinda means the EEOC investigated her claims and probably didn’t
      find anything they were willing to act on. The only final option for her is a private law suit. (Reddit)
•     11 Sept 2021: Yeah right to sue is only after EEOC decides not to sue on your behalf. (Reddit)
•     11 Sept 2021: When the EEOC gets a charge, and there is good evidence to support the charge, the EEOC
      will take it on themselves. But if there is anything other than good evidence, meaning the EEOC found
      little to nothing, they still issue "right to sue" notice. (Reddit)
•     11 Sept 2021: Her “lawsuit” against Irving Company is the definition of frivolous. (Reddit)
•     11 Sept 2021: I thought she was on a permanent paid leave of absence. I guess she misunderstood. Lol
      Yes. I think she is a lulu of a self-destructor and probably has no case. 164
•     11 Sept 2021: In case some people missed it, Ms. Gjovik is studying law at Santa Clara University School
      of Law. I would hazard a guess that she has no plans to return to the tech field as a manager of any kind,
      and really never did. The legal actions she is undertaking or about to undertake are more likely resume
      builders for future employment at law firms focused on employee advocacy and employee rights.165
•     11 Sept 2021: Karen’s always blab their mouth and want to see “the Manager”. “I will report to NLRB,
      I’m want to speak with Gavin Newsom!, I demand to speak with Joe Biden!!” 166
•     11 Sept 2021: I don’t think Apple is going to pay her a dime. 167
•     13 Sept 2021: The EEOC and DFEH have already declined to pursue and given her the right-to-sue
      (Cher Scarlett)
•     16 Sept 2021: GoFundMe is a great crowdfunding resource for people in need. People who are extremely
      privileged financially should be using other mechanisms to obtain residual income from supporters. Using
      GFM as residual income is predatory. (Cher Scarlett) 168
•     14 Sept 2021: But you said were only planning on staying at Apple until Dec 2022 though, which means
      you wouldn’t be getting all that money anyways. (Twitter) 169
•     22 Sept 2021: Right to Sue notices are the default position of the NLRB – ergo, they decided *not* to take
      action of their own, hence, you can go ahead and sue to resolve it yourself. The NLRB has no authority
      to prevent you to sue unless they’re dealing with the employer themselves. (Reddit) 170



162
    Reddit, https://www.reddit.com/r/apple/comments/pm7lio/fired_apple_employee_who_aired_workplace_concerns/;
163
    Reddit,
https://www.reddit.com/r/technology/comments/pmhkne/comment/hcibuj6/?utm_source=share&utm_medium=web2x&context=3
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    Apple Insider, https://forums.appleinsider.com/discussion/223902;
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    Apple Insider, https://forums.appleinsider.com/discussion/223902;
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    Apple Insider, https://forums.appleinsider.com/discussion/223902;
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    Twitter, https://twitter.com/cherthedev/status/1438597588685492239
169
    Twitter, DELETED, See screenshots / PDFs instead
170
    Reddit, https://www.reddit.com/r/apple/comments/pt91m5/tim_cook_says_employees_who_leak_memos_do_not/,

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•     25 Oct 2021: Anyone can file complaints with federal and state agencies. It doesn’t mean there is merit,
      and it doesn’t mean the person doing the reporting is being honest or genuine in doing so. Hero culture
      creates parasocial relationships that create scary influence that spreads. (Cher Scarlett) 171
•     29 Oct 2021: Ashley has been harassing journalists and lying about a bunch of stuff. Do you care that
      she’s lied about me too? Claiming I tried to have someone doxed for asking what case she was posting
      screenshots of? For dragging my name through the mud because editors couldn’t verify her story and
      they wouldn’t write about her? (Cher Scarlett)
•     29 Oct 2021: So far, she has tried desperately to use other victims for her own gain, made racist
      remarks, lied to the public, to the government, about what happened to her, and about me, and a
      bunch of other people who tried to help her. I cannot stand to watch good people such as yourself get
      wrapped up in her web. (Cher Scarlett)
•     1 Nov 2021: “If we aren’t able to determine if the law may have been violated, we will send you a Notice of
      Right to Sue.” It DOES NOT mean the evidence justifies a verdict would be in the complainant’s favor.
      When it does, they FIRST attempt to settle. [EEOC link].” (Cher Scarlett) 172
•     20 Dec 2021: I suggested another victim get comment from Apple or proof about something she wrote that
      to my knowledge, from speaking with the person it was about, to protect herself. She did leak IP, and
      posted the evidence of it, which is now cited in Apple's defense. (Cher Scarlett) 173
•     20 Dec 2021: I have to be cited to prove that a termination wasn't retaliatory, and somehow *I* am in
      the wrong. (Cher Scarlett) 174
•     20 Dec 2021: I quietly warned a handful of people about her behavior towards other people. I refused to
      corroborate misrepresentations of fact, and provided contrary evidence. (Cher Scarlett) 175
•     20 Dec 2021: I'd be willing to bet she has a book coming. Gotta build the hype train. Most of her
      accusations are nothing burgers.
•     29 Dec 2021: Someone else got a Cease & Desist for printing something [Gjovik] said that wasn’t true
      from Apple. (Cher Scarlett) 176
•     29 Dec 2021: I want to see her get justice, but perjuring herself and doing all of this is harmful (Cher
      Scarlett) 177
•     29 Dec 2021: Because someone else got a Cease & Desist for printing something she said that wasn’t true
      from Apple. You do not deserve to get sucked into this shit for standing up for someone else. I want to see
      her get justice, but perjuring herself and doing all of this is harmful to her and everyone else in the ripples.
      (Cher Scarlett)
•     29 Dec 2021: Ashley’s behavior has put me in a position where I am one of Apple’s witnesses against here,
      and it’s because she TOLD ME she leaked unreleased IP, and sent me the entire volume of it. It’s in our
      messages. While I could get behind “I did this because this software is invasive and constitutes necessity for
      whistleblowing.” I cannot get behind saying it didn’t happen. I’m not asking you not to believe Ashley, but


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    Twitter, https://twitter.com/cherthedev/status/1452677821998850048,
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    Text messages, see screenshots

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      please, put yourself first. What she told you is NOT what she told me. Both of these things CANNOT be
      true. (Cher Scarlett)
•     30 Dec 2021: I’d recommend ignoring it. There’s no making sense of any of it. Believe me, I tried. I also
      tried talking to her about her behavior in September. She flipped out and blocked me. (Cher Scarlett) 178
•     30 Dec 2021: I've learned this year to ignore people defaming me and harassing me. (Cher Scarlett)179
•     1 Jan 2022: you really did leak IP (David Evans) 180
•     1 Jan 2022: Hey Ashley, just a little piece of advice: if you’re going to post stuff like this please make sure
      to block all Apple engineers (myself included) who can see all of the other “living hell” Radars, that were
      jokes, and in which you were involved. It’s not a good look. Thanks! (David Evans) 181
•     3 Jan 2022: Both the DFEH and EEOC issued Gjøvik right to sue letters, which indicates that while
      the agencies were unable to determine if law was violated and would not be proceeding on her behalf.
      (Cher Scarlett via Gjovik’s Wikipedia Page) 182
•     9 Jan 2022: Did you just admit to intimidating an Apple defense witness? Do you know that is a crime in
      the state of California? It doesn’t matter if the trail is ongoing/pending or not. I think you may have
      already committed a federal crime. Talk with your lawyer. “Applies to tampering with witness in
      “proceedings before congress, exec departments, and admin agencies, and to civil and criminal judicial
      proceedings, including grand jury proceedings….. [links]. 18 U.S. Code § 1512 (Twitter) 183
•     9 Jan 2022: (Scarlett claims Gjovik was “extorting her” and tells multiple people she reported Gjovik to
      law enforcement that week, including reporting Gjovik to the U.S. FBI.) (Private Messages)
•     5 Feb 2022: Do you know whose AppleInsider piece on a [SEC] whistleblower tip which contained
      absolutely no material information shareholders could use caused that? Yours. (Cher Scarlett) 184




178
    Twitter, https://twitter.com/cherthedev/status/1476588567166029824,
179
    Twitter, https://twitter.com/cherthedev/status/1476351662746857474,
180
    Twitter, https://twitter.com/DaviddE_94/status/1477219143543889922,
181
    Twitter, [deleted, see screenshot]
182
    Wikipedia, https://en.wikipedia.org/wiki/Wikipedia:Conflict_of_interest/Noticeboard/Archive_184
183
    Twitter Direct Messages, see screenshots
184
    Unsolicited email via website webform on Feb 5 2022 (see PDF)

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                      ANTI-UNION & ANTI-LABOR THREATS & COERCION
      •   16 Sept 20 From a compensation standpoint Stock options are WAY more worth it. If Ashley showed
          her equity awarded during her 6 years and any ESPP she participated. I’ve worked union and I’ve
          purchased shares of apple at retail prices. Its life changing. (Twitter) 185
      •   17 Sept 2021: Encouraging employees to leak is also predatory. An employee gets nothing out of
          leaking except potentially get fired. (Shantini Vyas) 186
      •   22 Sept 2021: Ashley seems to be so busy with work, social media and what-have-you that she's
          obviously not been reading any 'hard' news. Stuff about, say, Amazon employees attempting to organize.
          She may also have neglected to read her employment contract. Discussing pay and benefits on a work
          Slack channel is perilously close to an activity called 'organizing a union'. Companies get really
          nervous about this sort of thing, they like to nip it in the bud, rooting out troublemakers and so on.
          As a "right to work" state both employer and employee are free to terminate their relationship at any
          time without prejudice. Put simply, you can be fired at any time from a job, no notice needed. Being a
          nice middle class professional A. will surely protest that she wasn't trying to organize anything as
          uncouth as a union on work time (The Register) 187
      •   15 Oct 2021: Worker’s rights? She’s not a fucking coal miner. She’s a Silicon Valley employee who
          works in air conditioned rooms, earns upper six-figure salaries, has healthcare, benefits, perks, free or
          subsidized childcare, housing, nap rooms, etc. that 99.99% of other employees/workers can only dream
          of. I will save my sympathy for someone else more deserving Edit: downvoting an unpopular fact
          doesn't make it any less of a fact. (Reddit) 188
      •   23 Dec 20221:From your comments it doesn’t seem like you understand how it works at all. Capitalism
          works the way capitalism works, not the way you think it should work. People are paid according to
          the prevailing market rate, not according to what they or you think they deserve to be paid. (Reddit) 189
      •   23 Dec 20221: The people against this “strike” are against it on principle and against ppl victimizing
          themselves for no reason. (Reddit) 190
      •   23 Dec 20221: you have a fundamental misunderstanding how of the market works. workers are paid
          according to prevailing market conditions (i.e. the alternates). in that regard Apple is already a
          standard-setter for other retailers. worker's aren't paid, as you suggest, based on how well the company is
          doing or how much a profit the company is making. Apple isn't a profit-sharing company. downvote if
          you want, but its the truth. (Reddit) 191
      •   6 Jan 2022: What a shame. And as a woman in tech myself (who originally followed your story on faith
          that the initial claims were real), I find this drama embarrassing and counterproductive. I am at least
          glad to see that you are struggling to get engagement in your more recent posts. 192

185
    Twitter, https://twitter.com/Heffer/status/1438625852585963520
186
    Twitter, https://twitter.com/_shantini_/status/1438921833852571653,
187
    The Register, https://www.theregister.com/2021/09/03/apple_nlrb_hostile_environment/;
https://forums.theregister.com/forum/all/2021/09/03/apple_nlrb_hostile_environment/;
188
    Reddit, https://www.reddit.com/r/apple/comments/q8y4ce/apple_fires_one_of_the_appletoo_movements_leaders/;
189
    Reddit, https://www.reddit.com/r/apple/comments/rnqlbd/updated_list_of_demands_for_applewalkout/;
190
    Reddit, https://www.reddit.com/r/apple/comments/rnqlbd/updated_list_of_demands_for_applewalkout/;
191
    Reddit, https://www.reddit.com/r/apple/comments/rnqlbd/updated_list_of_demands_for_applewalkout/;
192
    Twitter, https://twitter.com/jennybeane/status/1479731766394966016,

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                         DISCRIMINATION DUE TO SEX &/OR DISABILITY
•     4 Aug 2021: They got a bed at the luny bin waiting on you (Twitter)193
•     4 Aug 2021: This woman is the problem. Look at her Twitter , she needs a psychiatric
      evaluation (AppleInsider)194
•     20 Aug 2021: To me, it looks like the scrapbook of a paranoid schizophrenic who meticulously collects
      “evidence” on their “gangstalking”… Just look at this tweet where she talks about fighting Apple,
      Northrop Grumman (!) and the Irvine Company, and tell me with a straight face that she’s not a wacko.
      (HackerNews) 195
•     20 Aug 2021: Wow... This person is literally mentally sick and needs help. It's actually quite sad.
      (Twitter)196
•     21 Aug 2021: You are paranoid AF (Twitter) 197
•     22 Aug 2021: It seems like Ashley is a sick individual with some serious mental issues. She is incapable
      of working without causing issues. 198
•     22 Aug 2021: Giving her attention like Timnit is doing is fueling her paranoid delusions. (Twitter)199
•     23 Aug 2021: the other chick [Gjovik] seems like an absolute loon, though. full on conspiracy theories.
      her twitter feed is hilarious. checks off that she's an official whistleblower rofl (Apple Insider)200
•     30 Aug 2021: [Ashley’s] your typical feminist. (Team Blind)
•     3 Sept 2021: This woman has serious mental issues because she's mostly lying and trying to make Apple
      the bad guy (in her case). (Twitter) 201
•     9 Sept 2021: You ought bring breakfast everyday in bed to Ashley, otherwise she beats you hardly and
      also put a grudge on you for a week or so if her cappuccino had not enough foam on top. Duck life.
      (9to5Mac.com) 202
•     9 Sept 2021 Sounds more like she has mental illness (Reddit) 203
•     9 Sept 2021: Sounds like she has anxiety. (Reddit) 204
•     9 Sept 2021: “Add to that her article about how toxic waste in her apartment is adversely affecting her
      health, and I’m wondering if there are mental health issues at play here. (9to5Mac.com) 205



193
    Twitter, https://twitter.com/dake_smith/status/1423255342226493440,
194
    Apple Insider, https://forums.appleinsider.com/discussion/223222;
195
    HackerNews, https://news.ycombinator.com/item?id=28241917, https://news.ycombinator.com/item?id=28241753;
196
    Twitter, https://twitter.com/JohnTarion/status/1428574906107797504,
197
    Twitter, https://web.archive.org/web/20210822125916/https://twitter.com/mel_nayer/status/1429206330485575682
198
    Twitter, https://twitter.com/JohnTarion/status/1428689530350080006,
199
    Twitter, https://twitter.com/JohnTarion/status/1428689530350080006,
200
    Apple Insider, https://forums.appleinsider.com/discussion/223646, ;
201
    Twitter, https://twitter.com/Antrunt/status/1436315767813910529
202
    9to5Mac, https://9to5mac.com/2021/09/09/apple-fires-engineering-manager-ashley-gjovik-for-allegedly-violating-companys-
rules/;
203
    Reddit, https://www.reddit.com/r/apple/comments/plcc8i/apple_fires_senior_engineering_program_manager/;
204
    Reddit, https://www.reddit.com/r/apple/comments/plcc8i/apple_fires_senior_engineering_program_manager/;
205
    9to5Mac, https://9to5mac.com/2021/09/09/apple-fires-engineering-manager-ashley-gjovik-for-allegedly-violating-companys-
rules/;

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•     9 Sept 2021: She exhibits all the tell tail signs of bi polar manic depression and appears to be in full
      blown mania. It’s tragic really. The real enemy in this scenario is the news media, who would take
      advantage of anyone for the engagement. (Reddit) 206
•     9 Sept 2021: Based on her writings and twitter feed, I would not be surprised in the least to learn she has
      some kind of psychosis. (Reddit) 207
•     9 Sept 2021 @ashleygjovik I can see all negativity and bad vibes in this woman face. People’s thoughts
      are changing their looks. The hate and negative thoughts attracting all her issues more and more. She is
      probably vegan and protester and voted current president 😅😂😂😂 (Twitter) 208
•     9 Sept 2021: I like to call it passive stimulant psychosis. She’s probably on a low dose adderall or vyvanse
      and it’s slowly turning her crazy. (Reddit) 209
•     9 Sept 2021: I don't feel bad for her and society and media gives far too much exposure to the mentally ill
      today, even enabling them and supporting them, as they partake in their fraudulent, slanderous and lying
      crusades. This crazy lady is not the only mentally ill person infecting media today. (Reddit) 210
•     9 Sept 2021: I also believe that society has generated a group of losers, who were taught to believe in
      victimhood ideology and as the psycho lady in the OP found out, things generally wont end well for any
      of them. Thankfully. (Reddit) 211
•     9 Sept 2021: maybe she has a personality disorder or some mental health issue. (Reddit) 212
•     10 Sept 2021: #ashleygjovik was such a tool.used by others to make a point, and by her own narcissistic
      ego to be flagellated by her inner child. It’s a very sad way to live. (Twitter) 213
•     10 Sept 2021: She has mental issues. (Apple Insider)
•     10 Sept 2021: Glad they fired her and any other know it all activist employee should be terminated
      too. She had so many complaints and not just about her job but having PTSD and many other complaints
      outside of work that I would classify her as having Borderline Personality disorder. Don’t let the door hit
      you on your way out!! (Apple Insider)
•     10 Sept 2021: Not a knock, but she is obviously a little high on the body mass index. Should get her
      blood pressure checked. (Apple Insider)
•     11 Sept 2021: Is she mentally unwell? Clearly. From the bananas OpEd she wrote, to her borderline
      paranoid schizophrenic website, to the very bizarre and suspect things she’s posted to her Twitter, this
      is not a woman of sound character and mind. (Reddit)
•     11 Sept 2021: She’s a fucking nutcase lmao (Reddit)
•     11 Sept 2021: She seems unhinged from everything I've read. A person that is unhappy and cannot let go
      until it's her way. (Reddit)
•     11 Sept 2021:: Nope. Take one look at this persons Twitter and her allegations, she’s clearly mentally
      unwell. (Reddit)

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    Reddit, https://www.reddit.com/r/apple/comments/plcc8i/apple_fires_senior_engineering_program_manager/;
207
    Reddit, https://www.reddit.com/r/apple/comments/plcc8i/apple_fires_senior_engineering_program_manager/;
208
    Twitter, https://twitter.com/DanielSavills/status/1436197119589855233;
209
    Reddit, https://www.reddit.com/r/apple/comments/plcc8i/apple_fires_senior_engineering_program_manager/;
210
    Reddit, https://www.reddit.com/r/apple/comments/plcc8i/apple_fires_senior_engineering_program_manager/;
211
    Reddit, https://www.reddit.com/r/apple/comments/plcc8i/apple_fires_senior_engineering_program_manager/;
212
    Reddit, https://www.reddit.com/r/apple/comments/plcc8i/apple_fires_senior_engineering_program_manager/;
213
    Twitter, https://twitter.com/beezie_wacks/status/1436339255714848779,

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•     11 Sept 2021: Because this specific employee comes across as mentally unwell (Reddit)
•     11 Sept 2021: This woman comes across as unhinged (Reddit)
•     11 Sept 2021: Naeh, chubby side +baby teeth lol (Reddit)
•     11 Sept 2021: this chick is a hypochondriac … she’s borderline insane… … Anyways like I said chick is
      nuts AF (Reddit)
•     11 Sept 2021: This lady is a nut case. Her grievances vs the apartment complex was such bull shit.
      (Reddit)
•     11 Sept 2021: This lady is absolutely bonkers. (Reddit)
•     12 Sept 2021: you are paranoid, please seek help. (Twitter)214
•     12 Sept 2021: I've seen enough, you appear hysterical and paranoid. (Twitter)
•     12 Sept 2021: Cunt. (email)
•     11 Sept 2021: She shows traits to me of someone with Borderline Personality Disorder. And just like
      Johnny Depps ex malignant narcissist BPD wife shows the exact same victimization toolbox. People should
      report abuse but her behavior is someone indicative of BPD. 215
•     26 Sept 2021: I’m concerned for her, but she made a lot of money and has no dependents. She’s almost
      done with her law degree. She will be fine. (Cher Scarlett) 216
•     9 Oct 2021: you can quickly see she’s a nutcase who wants issues and a blind detached twitter army
      backing her to validate her despite none of these people actually having any real context to what’s going on.
      (HackerNews) 217
•     9 Oct 2021: A huge thing if true, and not worth it. However it is exactly the kind of thing a person who in
      paranoid would believe. What is more likely, a big company is breaking into employees home and
      impersonating the police, or Apple has employed somebody with an undiscovered mental illness?
      (HackerNews) 218
•     9 Oct 2021: She comes across (even while giving her side of the story) as unhinged and awful to work
      with. I have to wonder if maybe this is an ongoing mental health crisis or something. (HackerNews) 219
•     9 Oct 2021: It looks a lot like this is a mental health issue rather than actual wrongdoings at Apple.
      (HackerNews) 220
•     14 Oct 2021: This woman’s tweets show she is both unhinged and a narcissist. I don’t buy her story.
      What I do buy is that she is probably difficult to get along with and doing what many culturally brainwashed
      individuals do these days and play the victim card, hoping for attention and a payout. (Gizmodo) 221
•     14 Oct 2021: You’re telling me that this website she created, essentially recreating her Twitter account
      filled with screenshots of internal communications, does not come across as unhinged? (Gizmodo) 222

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    Twitter, https://twitter.com/AllonsyAlonso85/status/1437319925274710023
215
    Apple Insider, https://forums.appleinsider.com/discussion/223902;
216
    Team Blind, See PDF
217
    HackerNews, https://news.ycombinator.com/item?id=28813010,
218
    HackerNews, https://news.ycombinator.com/item?id=28813010,
219
    HackerNews, https://news.ycombinator.com/item?id=28813010,
220
    HackerNews; https://news.ycombinator.com/item?id=28811746 ;
221
    Gizmodo, https://gizmodo.com/apple-wanted-her-fired-it-settled-on-an-absurd-excuse-1847868789;
https://kinja.com/slushiercupid/discussions
222
    Gizmodo, https://gizmodo.com/apple-wanted-her-fired-it-settled-on-an-absurd-excuse-1847868789;
https://kinja.com/slushiercupid/discussions

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•     21 Nov 2021: This lady is suffering from paranoid delusions and mental issues. (Reddit) 223
•     3 Dec 2021: “IP leaks are something you get fired for… so you basically did it on purpose to get
      attention.” (Nebojsa Bjegovic) 224
•     13 Dec 2021: "Lions don't concern themselves with the opinions of sheep." I used to think this quote was
      egotistical, but now, I get it. I see people misunderstand what they read, and believe full-out fabricated
      nonsense that borders conspiracy, day-in and day-out. There's no reaching them. (Cher Scarlett) 225
•     13 Dec 2021: It definitely sounds like paranoid schizophrenia. Have some compassion though. It is
      literally the worst disease anyone can possibly have. (MacRumors) 226
•     13 Dec 2021: I've been following her drama on twitter since she initially requested to be placed on leave.
      This woman is deranged. She belongs in an institution. (MacRumors) 227
•     13 Dec 2021: She's gone good riddance to the kook now she's looking to cash in if anything Applies Should
      find her a good place to get the proper medical treatment. (MacRumors) 228
•     13 Dec 2021: It sounds like you believe the deranged woman who seems to have a pattern of crazy
      complaints and not just regarding apple. Ask her apartment complex where she claims fumes make her sick
      even when her own tests found nothing. (MacRumors) 229
•     20 Dec 2021: She seems like someone who suffers from paranoia.
•     20 Dec 2021:: I’ve followed Ashley pretty closely and she strikes me as either being completely paranoid
      or having minimal experiences to justify what she claims
•     29 Dec 2021: Most people like me don’t relate to those who take their emotional support animals jet
      setting while funding their law school degree while at the same time asking for $100,000 in profitable
      donations, while turning down a $600,000 settlement. (Amanda Harrison) 230
•     1 Jan 2022: As she [Gjovik] is a woman, and one who seems particularly subject to harassment, it
      would be nice to clarify how much higher education she's accomplished (Cher Scarlett via Gjovik’s
      Wikipedia page)231




223
    Reddit, https://www.reddit.com/r/bayarea/comments/qz6nkq/apple_employees_office_was_on_gross_epa_superfund/;
https://web.archive.org/web/20220129093303/https://www.reddit.com/r/bayarea/comments/qz6nkq/apple_employees_office_was_on_
gross_epa_superfund/
224
    LinkedIn
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    Twitter, https://twitter.com/cherthedev/status/1470572468662267904,
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    MacRumors, https://forums.macrumors.com/threads/u-s-labor-department-opens-investigation-into-apple.2327395/;
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    MacRumors, https://forums.macrumors.com/threads/u-s-labor-department-opens-investigation-into-apple.2327395/;
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    MacRumors, https://forums.macrumors.com/threads/u-s-labor-department-opens-investigation-into-apple.2327395/;
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    MacRumors, https://forums.macrumors.com/threads/u-s-labor-department-opens-investigation-into-apple.2327395/;
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    LinkedIn, https://www.linkedin.com/in/amanda-harrison-22aa9727
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    Wikipedia, https://en.wikipedia.org/wiki/Wikipedia:Conflict_of_interest/Noticeboard/Archive_184 ,

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                                    EVIDENCE OF PROPAGANDA BY TYPE
        Apple’s Head of Global Security & Crisis Management, Thomas Moyer, spent four years as an U.S.
Navy Intelligence Specialist from 1988 to 1992, including the Cold War & Operation Desert Strom.232 The U.S.
Navy describes the role of “Intelligence Specialist” as collecting intel on everything from data on foreign
cultures to enemy movements to current weather forecasts; then, using it to create cohesive intelligence
briefings for high-ranking Navy officials. 233
        Moyer then obtained a Bachelor degree in “Rhetoric,” followed by a Juris Doctorate. Berkley describes
their Rhetoric program as “Through its emphasis on the history and theory of rhetoric, the department provides
an understanding of the format of contemporary theories of argument and interpretation as well as an
opportunity, within this framework, to explore the role of persuasion in pragmatic and aesthetic contexts.”234

THE BIG LIE (GROßE LÜGE) + AD NAUSEAM & RATIONALIZATION

              The Big Lie: a gross distortion or misrepresentation of the truth. The repeated articulation of a
      complex of events that justify subsequent action. The descriptions of these events have elements of truth, and
      the "big lie" generalizations merge and eventually supplant the public's accurate perception of the
      underlying events. The German expression was coined by Adolf Hitler, when he dictated his 1925 book
      Mein Kampf, to describe the use of a lie so colossal that no one would believe that someone "could have the
      impudence to distort the truth so infamously.
              Ad nauseam uses tireless repetition of an idea. An idea, especially a simple slogan, that is repeated
      enough times, may begin to be taken as the truth. Rationalization: Individuals or groups may use favorable
      generalities to rationalize questionable acts or beliefs. Vague and pleasant phrases are often used to justify
      such actions or beliefs.

      -   4 Aug 2021: So an alleged victim claims sexism, creates a Twitter storm about it, sets terms for the
          company to follow, including "put me on leave" and they put her on leave... How is this remotely
          newsworthy? (Twitter)235
      -   4 Aug 2021: “I added that if there was no other option they could give me paid administrative
          leave.”… and this is where I started to get suspicious. (AppleInsider)236
      -   1 Sept 2021: A certain employee has made it their mission to bring down Apple through whatever
          means necessary. Including straight LIES. 237 This is about a person whose name starts with “A.”
          (Shantini Vyas) 238




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    Zoom Info, https://www.zoominfo.com/p/Thomas-Moyer/609061930
233
    U.S Navy, Careers, Intelligence Specialist, https://www.navy.com/careers/navy-intelligence-specialist
234
    UC Berkley, Rhetoric, https://rhetoric.berkeley.edu/undergraduate-program/
235
    Twitter, https://twitter.com/shad0wfax_/status/1423146035833040898,
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    Apple Insider, https://forums.appleinsider.com/discussion/223222;
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    Twitter, https://twitter.com/_shantini_/status/1433270352919072771,
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    Twitter, https://twitter.com/_shantini_/status/1433270361060225024 ,

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      -   1 Sept 2021: However, [Gjovik] lied about actions Apple has taken. They have misled people by
          leaving out key details. They find new angles to make all of the Apple out to be the Big Bad Guy. The
          goalposts move hourly. (Shantini Vyas) 239
      -   1 Sept 2021: Finally, if anyone was looking for receipts, this is what set me off tonight. Such a big deal
          was made over this. [Screenshot of email of Apple ER claiming Gjovik asked to be put on leave].
          (Shantini Vyas ) 240
      -   3 Sept 2021: The real gem here is that she was complaining that when she goes on the leave SHE
          wanted she didn’t have access to internal systems that ANYONE on leave would be barred from for
          security reasons at ANY normal company with a decent IT department. Also, The Verge is starting to
          seem more like that old Babe magazine that did that scummy story about Aziz Ansari that blew up in
          their face. They seem desperate to find something on this crusade even to the point of just making things
          up. (9to5Mac.com)241
      -   3 Sept 2021: Doubts have been expressed about some of Gjøvik’s claims, including evidence that
          appears to disprove one of them ... While she didn’t specifically state then that this was imposed by
          the company against her will, this was the very clear implication of her phrasing: that Apple was
          penalizing a whistle-blower rather than the offender. A former Apple employee revealed that it was in
          fact Gjøvik herself who had requested to be placed on paid leave. Apple simply agreed to her request.
          In those screengrabs, we can see that Gjøvik claims she was ‘forced’ onto administrative leave.
          (9to5Mac.com) 242
      -   9 Sept 2021: Those images are not related to the firing; they just show that she was not forced to take
          paid leave but requested it herself and could have returned to work whenever she wanted. She
          refused to respond to a timely sensitive matter where they requested her response within an hour. She
          responded by involving the National Labor and Review Board. So Apple said since she wasn’t
          willing to meet with them they’d go off the information they had already and pulled her credentials.
          Then they fired her. (Reddit) 243
      -   9 Sept 2021: This might be the truth [Zoe is] choosing to ignore - but okay. You are a journalist. Not
          like you have a job to present arguments from both sides and not push an agenda (Shantini Vyas: Okay
          at the risk of *gestures wildly at Twitter*…) (Twitter) 244
      -   9 Sept 2021: “A former coworker shared emails casting doubt on the claim that Apple had previously
          put Gjøvik on administrative leave, and that it was in fact Gjøvik who requested to be placed on leave.”
          Being caught red handed in a lie was enough for me to dismiss Gjøvik, but you are free to support her.
          (9to5Mac.com) 245
      -   9 Sept 2021 So she requested to be on a paid leave and refused to come back, yet publicly made it
          sound like she had been forced on leave? This person sounds super toxic (Reddit) 246

239
    Twitter, https://twitter.com/_shantini_/status/1433270364440825869 ,
240
    Twitter, https://twitter.com/_shantini_/status/1433297575914971136,
241
    9to5Mac, https://9to5mac.com/2021/09/03/apple-employee-complaints-labor-board/;
https://web.archive.org/web/20220128062753/https://9to5mac.com/2021/09/03/apple-employee-complaints-labor-board/
242
    9to5Mac.com: https://9to5mac.com/2021/09/03/apple-employee-complaints-labor-board/;
243
    Reddit, https://www.reddit.com/r/apple/comments/plcc8i/apple_fires_senior_engineering_program_manager/;
244
    Twitter, https://twitter.com/siddhantdas33/status/1436441696745652228
245
    9to5Mac, https://9to5mac.com/2021/09/09/apple-fires-engineering-manager-ashley-gjovik-for-allegedly-violating-companys-
rules/;
246
    Reddit, https://www.reddit.com/r/apple/comments/plcc8i/apple_fires_senior_engineering_program_manager/;

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      -   9 Sept 2021: The riposte: https://mobile.twitter.com/shantini/status/1433270352919072771?s=20
          (Reddit)247
      -   9 Sept 2021: Those images are not related to the firing; they just show that she was not forced to take
          paid leave but requested it herself and could have returned to work whenever she wanted. (Reddit)
          248

      -   9 Sept 2021:: She wasn't even fired, it seems, from some twitter person, but requested
          leave https://twitter.com/_shantini_/status/1433297575914971136/photo/2 (Reddit)249
      -   10 Sept 2021: @_shantini_ Shantini You're brilliant. About A: The company gave her paid leave, she
          wasn't satisfied. She wanted an investigation, she wasn't satisfied. Seemed like she wanted to control her
          employer. #narcissist #toxic (Twitter) 250
      -   10 Sept 2021: Just because she made a complaint, doesn't mean she is 100% accurate with her story. If
          you were following her story, and how it lead up to the point where she filed a complaint with labor
          board, you will see some of her complaints makes no sense. An example, when she spoke about
          sexism in work place, Apple offered her therapy and medical leave. But she insisted to go on paid
          leave. If you understand what paid leave meant, means you are getting paid for being away from the
          company without hurting your the allocated holiday/medical leave that every employee receives on a
          yearly basis. (Engadget) 251
      -   10 Sept 2021: She asked for paid leave and claimed it was forced on her. She asked for an exit
          package spanning 18 months covering her entire salary, RSU value, and benefits to leave.
          (HackerNews.com)252
      -   11 Sept 2021: “Despite her objections, Gjovik was placed on administrative leave on Aug. 4” Except,
          she even posted the email from Apple showing she requested to be put on leave. (Reddit)
      -   11 Sept 2021: She claimed that Apple forced her into paid leave during her investigation. There is an
          email between her and Apple where it’s clearly documented that it was HER that wanted the leave of
          absence during her investigation. She was caught lying so even if there’s a slight chance that half of
          what she says is true, she turned the tables on herself, why would you believe anything that she says
          anymore? (Reddit)
      -   11 Sept 2021: When discussing this case, you should take a look at the member of staff that leaked
          “receipts” on this woman proving that her rants were more a petty Vendetta against Apple. She
          constantly lied and twisted issues to go in her favour, while also leaving out key information. This
          makes it harder for people with genuine issues to be believed. For instance she said she was forced in
          to taking leave when it was all kicking off, yet transcript shows she requested to be put on leave.
          (Reddit)
      -   11 Sept 2021: Because there was a screenshot of her asking for annual leave while they investigated
          the issue. The person that leaked this info doesn’t work for Apple anymore and has no reason to remain
          biased. She was also a woman, calling out this woman’s issues and lies. (Reddit)


247
    Reddit, https://www.reddit.com/r/apple/comments/plcc8i/apple_fires_senior_engineering_program_manager/;
248
    Reddit, https://www.reddit.com/r/apple/comments/plcc8i/apple_fires_senior_engineering_program_manager/;
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    Reddit, https://www.reddit.com/r/apple/comments/plcc8i/apple_fires_senior_engineering_program_manager/;
250
    Twitter, https://twitter.com/beezie_wacks/status/1436474146540589061,
251
    Engadget, https://www.engadget.com/apple-fires-ashley-gjovik-025858158.html,
252
    HackerNews, https://news.ycombinator.com/item?id=28477392;

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      -   11 Sept 2021: "Approval to sue" here is a procedural step. It means she took her concerns to the EEOC
          (Equal Employment Opportunity Commission), and they decided not to look into/pursue them
          further and instead to allow her to pursue them in court. (Reddit) 253
      -   12 Sept 2021: Didn’t you request to be put on paid leave? (Twitter) 254
      -   24 Sept 2021: Maybe it's time to open your eyes and ears. Looking at your profile, you seem like a
          such big fan of hers. If you haven't yet, I suggest you read this thread.255 Retweet: Shantini Vyas: Okay
          at the risk of *gestures wildly at Twitter* ….(Twitter)
      -   26 Sept 2021: She leaked IP so the retaliatory discharge will be a tough one to prove. She also is now
          saying she was suspended and that’s not true. (Cher Scarlett) 256
      -   26 Sept 2021: She asked for the leave, she just felt she had no choice after they did not want to give a
          paid exit she asked for. (Cher Scarlett) 257
      -   26 Sept 2021: She refused and suggested Paid Admin Leave instead, which they agreed to give her
          during the investigation, so her earned paid leave and sick time would be protected. . (Cher Scarlett) 258
      -   9 Oct 2021: It's so hard to take her seriously. She's now saying she was suspended, which isn't true.
          She is on the record and quoted as saying she requested paid admin leave when they wouldn't give her
          a paid exit and offered medical leave instead. If she would lie about these things, how are we to believe
          anything else she says? (HackerNews) 259
      -   12 Oct 2021: Judicial notice is a rule in the law of evidence that allows a fact to be introduced into
          evidence if the truth of that fact is so notorious or well known, or so authoritatively attested, that it
          cannot reasonably be doubted (Cher Scarlett)260
      -   14 Oct 2021: This article seems to have forgotten the part where Ashley lied about being put on leave.
          Based on the emails that came out, she requested to be put on leave as opposed to her insinuation
          Apple forced a leave on her. (Gizmodo) 261
      -   14 Oct 2021: It’s almost as if the public fight was the true goal vs attempting to actually solve anything.
          Posting screenshots of emails from ER, misrepresenting how you went on leave. It’s all for clout vs
          real change. (Gizmodo) 262
      -   20 Oct 2021: Ashley posted a screenshot of this email from July 27, 2021, to prove that she did not
          request paid leave. In it, it shows she asks for a paid exit through the remainder of her law
          education, at which time she planned to leave Apple (Dec 31, 2022), or alternatively, to be placed in a
          temporary role within the company, without having to actually apply for the role…. She declined
          Medical Leave and asked instead for Paid Administrative Leave and they accommodated that request.

253
    Reddit, https://www.reddit.com/r/apple/comments/pm7lio/fired_apple_employee_who_aired_workplace_concerns/;
https://www.reddit.com/r/technology/comments/pmhkne/fired_apple_employee_who_aired_workplace_concerns/;
254
    Twitter, https://twitter.com/AllonsyAlonso85/status/1437301923309408261
255
    Twitter, https://twitter.com/Antrunt/status/1441502291102769154;
256
    Team Blind, See PDF
257
    Team Blind, See PDF
258
    Team Blind, See PDF
259
    HackerNews, https://news.ycombinator.com/item?id=28813010,
260
    Twitter, https://twitter.com/cherthedev/status/1448056466254929926 ,
261
    Gizmodo, https://gizmodo.com/apple-wanted-her-fired-it-settled-on-an-absurd-excuse-1847868789;
https://kinja.com/slushiercupid/discussions
262
    Gizmodo, https://gizmodo.com/apple-wanted-her-fired-it-settled-on-an-absurd-excuse-1847868789;
https://kinja.com/slushiercupid/discussions

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          After she went on leave, and immediately claimed it was forced on her, she tweeted the
          correspondence from HR expressing that if she did not want to be on leave, she was free to return at
          any time. (HackerNews) 263
      20 Oct 2021: I feel sorry for her, given the harassment she may have endured over the prior 6 years, but I
      don't understand why she felt the need to lie about what has happened in the past few months, as it
      completely destroys her credibility, and likely puts her in a situation where (HackerNews) 264
      29 Dec 2021: Please check for comment from Apple on Ashley refusing to sign an NDA and turning down
      a $600,000 settlement. She told me that 1) no lawyer would take her case unless she got fired and 2) they
      said no to her getting a paid exit and that is WHY she asked for paid administrative leave. (Cher Scarlett)
-     5 Jan 2022: "I found the terminology "indefinite paid administrative leave" misleading based on all of
      the materials I read, including an email from an Apple HR representative you uploaded to your website
      which states that it was not indefinite." (Cher Scarlett via Gjovik’s Wikipedia Page) 265
-     5 Feb 2022: While I initially said you lied about being "suspended", though not publicly and to less than
      FIVE people, I never called you a liar. Those tweets were NOT about you. I was extremely bothered by the
      fact that you told me you discovered it was an adverse action, and started saying you were suspended,
      instead of that you felt forced into requesting the leave. (Cher Scarlett) 266




263
    HackerNews, https://news.ycombinator.com/item?id=28830236 ,
https://web.archive.org/web/20220129213718/https://news.ycombinator.com/item?id=28830236
264
    HackerNews, https://news.ycombinator.com/item?id=28830236 ,
https://web.archive.org/web/20220129213718/https://news.ycombinator.com/item?id=28830236
265
    Wikipedia, https://en.wikipedia.org/wiki/Wikipedia:Conflict_of_interest/Noticeboard/Archive_184
266
    Unsolicited email via website webform on Feb 5 2022 (see PDF)

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DIVIDE & RULE; BLACK/WHITE FALLACY; FACTIONS

   Divide and rule in politics and sociology is gaining and maintaining power by breaking up larger
concentrations of power into pieces that individually have less power than the one implementing the strategy.
Black-and-white fallacy: Presenting only two choices, with the product or idea being propagated as the better
choice. (e.g., "You're either with us, or against us....")

• 21 Aug 2021: Evidently [Ashley Gjovik] may have been over exaggerating and our team caught some red
  flags. We don’t take sides unless it’s legit. So if your legit today and a con tomorrow. We back you today
  and not tomorrow. (Twitter) 267
• 30 Aug 2021: Ashley wrote this l-o-n-g article last March. This will make you feel very sorry for the
  Irvine Co, City of Santa Clara, Apple, and especially her future spouse., et al, et al.268
• 1 Sept 2021: [Gjovik] has taken the spotlight for themselves and deliberately undermined others’
  concerted efforts to improve and challenge the company. (Shantini Vyas)
• 1 Sept 2021: Women fight so hard to be believed by our fucked up, sexist society that it’s horrifying to see
  [Gjovik] hand those bastards a pile of ammunition. (Kev Kitchens)269
• 2 Sept 2021: the only people benefiting from this is Apple. They can use this as precent to deny future
  reports and claims of harassment. (Shantini Vyas) 270
• 2 Sept 2021: Keep up the good fight Cher. But why has Ashley disassociated herself from your forum.
  She is going through a lot RIGHT NOW and you two need to act in concert (Twitter) 271
• 3 Sept 2021: She makes almost $400,000 a year, has Apple-provided health insurance, is being paid to not
  work at her own request, and trying to get Apple to pay her salary and provide her benefits through the
  finishing her law degree in December of next year without actually working. But sure, use the hourly
  employees who are actually treated like dog shit and get paid poverty wages to try to get nearly a half
  million dollars for doing jack shit for the company other than make publicly misleading and maybe even
  outright false statements. (AppleInsider) 272
• 11 Sept 2021: This woman is just trying not to look stupid, but failing and making it harder for those
  facing real discrimination. (Reddit)
• 12 Sept 2021: Your aggressive and paranoid attitude is doing disservice to the cause, yes. (Twitter) 273
• 12 Sept 2021: oh Because of people like her, people with legit complaints will be ignored and dismissed.
  But she doesn’t care, she just wants to make a quick buck. (Twitter) 274
• 13 Sept 2021: She’s put the entire movement at risk with some of the decisions she’s made, and hurt her
  own case. (Cher Scarlett)


267
    Twitter, https://twitter.com/VicGardenhire77/status/1429639745018097671
268
    Twitter, https://twitter.com/porter_jared/status/1432459363956891652,
269
    Tweet deleted after I announced NLRB charge & named Kitchens (see screenshot for reference instead)
270
    Twitter, https://twitter.com/_shantini_/status/1433419902803759106,
271
    Twitter, https://twitter.com/porter_jared/status/1433630747168968726,
272
    Apple Insider, https://forums.appleinsider.com/discussion/223785, ,
273
    Twitter, https://twitter.com/AllonsyAlonso85/status/1437320220452982784
274
    Twitter, https://twitter.com/AllonsyAlonso85/status/1437330463169916933

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•      9 Oct 2021: The more I think about this the madder I get, because it discredits to me those who are
       actually getting abused and their ability to tell a story and be believed. (HackerNews) 275
•      12 Jan 2022: fck those btches, special place in hell for women who don’t help other women (Twitter)276




275
      HackerNews, https://news.ycombinator.com/item?id=28813010,
276
      Twitter, https://twitter.com/gbluvsf/status/1481706819303010305,

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 1                           Exhibit G: Web Host Complaint

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